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 1                       UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
 2                              AUSTIN DIVISION

 3    UNITED STATES OF AMERICA      ) Docket No. A 12-CR-210 SS
                                    )
 4    vs.                           ) Austin, Texas
                                    )
 5    JOSE TREVINO-MORALES (3)      )
      FRANCISCO ANTONIO             )
 6    COLORADO-CESSA (6)            )
      FERNANDO SOLIS-GARCIA (7)     )
 7    EUSEVIO MALDONADO-HUITRON(11) )
      JESUS MALDONADO-HUITRON (18) ) May 2, 2013
 8

 9                       TRANSCRIPT OF TRIAL ON THE MERITS
                          BEFORE THE HONORABLE SAM SPARKS
10                               Volume 13 of 15

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                                                                             2


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25    Proceedings reported by computerized stenography, transcript
      produced by computer.

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 1                               I N D E X

 2                               Direct      Cross       Redirect      Recross
      Witnesses:
 3

 4    Hector Moreno                                                    7

 5    Shae Cox                   21          53,64

 6                                           66          72            73

 7    Harry J. Casler            81

 8    Ruby A. Segura             94

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11    Defendant Jesse Huitron's Opening Statements                     78

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            1                               E X H I B I T S

            2                                                       Offered       Admitted
                 Government's
            3

            4    #432                                               70            70

            5    #433                                               66            66

            6

            7    Defendant Solis-Garcia's

            8    #1                                                 20            20

            9

           10    Defendant Eusevio Huitron's

           11    #EH-11 through 19                                  30            30

           12    #EH-20A through Z                                  78            78

           13

           14    Defendant Jesse Huitron's

08:18:41   15    #JH-4                                              77            77

08:34:19   16

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08:34:27    1                THE COURT:    I'll have counsel up here, please.

08:34:33    2                (At the bench, on the record.)

08:34:38    3                MR. MAYR:    Good morning, Judge.

08:34:39    4                THE COURT:    Good morning.    Get closer to this.

08:34:47    5                Have we been able to get Mr. Moreno here?

08:34:50    6                MR. GARDNER:    We've got him.

08:34:52    7                THE COURT:    All right.    Then we'll start with Mr.

08:34:54    8    Moreno.

08:34:56    9                MR. DEGEURIN:    There was one other thing that you'd

08:34:58   10    asked for the government to do is to try to verify the arrest

08:35:02   11    warrant.

08:35:02   12                THE COURT:    Yes.

08:35:03   13                MR. GARDNER:    We sent an e-mail to our liaison at the

08:35:06   14    State Department -- last night, we sent an e-mail to our liaison

08:35:11   15    in Mexico City at the State Department.         We e-mailed him the

08:35:16   16    translated portions that y'all provided, given the size and their

08:35:20   17    double-sided nature of the original documents.          He asked for our

08:35:23   18    phone number this morning.       We gave it to him about 8:00, and he

08:35:26   19    hasn't called us yet.      So the executive assistant to the United

08:35:31   20    States Attorney has been followed and waiting on his call.

08:35:35   21                MS. FERNALD:    When we get something, we'll let y'all

08:35:37   22    know.

08:35:38   23                THE COURT:    So we still don't know that there are

08:35:42   24    officially any charges or not.       We just have all of this that

08:35:46   25    imply that they are.


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08:35:47    1                MR. GARDNER:    Yes, sir.    I would like to note that on

08:35:48    2    one portion of the document it says sealed.          And so, how they

08:35:53    3    became unsealed, I'm not -- indicator of its inauthenticity.

08:36:04    4                THE COURT:    The main thing is what Moreno knows, if

08:36:08    5    anything, and y'all can explore that however you wish or not.

08:36:14    6    Depends on what you are.      I'll allow the government to reopen and

08:36:19    7    put him back on the stand.       You can ask him any questions that

08:36:22    8    you wish.    If you don't ask any questions, as far as the Court's

08:36:27    9    concerned, you'll waive the objections that you've made because

08:36:33   10    this is an opportunity to cross him on anything that you have.

08:36:37   11                All right.    Bring the jury in.

08:36:47   12                (Jury present.)

08:38:51   13                THE COURT:    Members of the jury, since you left

08:38:53   14    yesterday, has anybody attempted to talk to you about this case?

08:38:55   15                JURORS:   No.

08:38:56   16                THE COURT:    Have you talked to anybody about the case?

08:38:58   17                JURORS:   No.

08:38:59   18                THE COURT:    And have you learned anything at all about

08:39:01   19    the case, outside the presence of each other in this courtroom?

08:39:03   20                JURORS:   No.

08:39:05   21                THE COURT:    All right.    Thank you.    Show negative

08:39:07   22    responses to all questions by all jurors.

08:39:12   23                MR. GARDNER:    Thank you, your Honor.

08:39:13   24                Your Honor, at the request of defense counsel, the

08:39:15   25    government reopens its case and calls -- recalls Hector Moreno.


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08:39:18    1                 THE COURT:   All right.    Mr. Moreno, you understand that

08:39:48    2    you're still under oath?

08:39:51    3                 THE WITNESS:    Yes.

08:39:51    4                 THE COURT:   To tell the truth under the penalties of

08:39:55    5    perjury?

08:40:00    6                 THE WITNESS:    Yes.

08:40:03    7                 MR. GARDNER:    Your Honor, the government has no

08:40:04    8    questions of this witness.

08:40:07    9                 MS. WILLIAMS:    Nor do I.

08:40:11   10          HECTOR MORENO, called by the Government, duly sworn.

08:40:11   11                         RE-CROSS EXAMINATION

08:40:11   12    BY MR. DEGEURIN:

08:40:18   13    Q.    Mr. Moreno, since you left the courtroom last week, has

08:40:28   14    anyone talked to you about this case?

08:40:33   15    A.    No.

08:40:34   16    Q.    And have you spoken to anyone yourself about the case?

08:40:44   17    A.    With my attorney.

08:40:46   18    Q.    And has anyone -- have you learned anything about this case

08:40:54   19    since you left?

08:41:03   20    A.    Through the newspaper.

08:41:11   21    Q.    Have you received any money from the United States

08:41:16   22    government?

08:41:24   23    A.    Yes.    Last year, to get some permits.

08:41:28   24    Q.    And were the permits to allow you to be in the United

08:41:41   25    States?


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08:41:41    1    A.    Yes.

08:41:49    2    Q.    I believe you said you met possibly 50 times with either

08:41:55    3    prosecutors or agents of the United States?

08:42:04    4    A.    Yes.

08:42:06    5    Q.    But you -- have you met with any prosecutors or agents since

08:42:10    6    you left this courtroom last week?

08:42:23    7    A.    With the prosecutor or an agent, no.

08:42:28    8                 MR. GARDNER:   Your Honor, excuse me, for the record, I

08:42:30    9    did meet with Mr. Moreno this morning when he came in.

08:42:35   10    A.    Up here, yeah.     Okay.

08:42:38   11    Q.    (BY MR. DEGEURIN) Okay.      Only Mr. Gardner, correct?

08:42:42   12    A.    Yes.

08:42:43   13    Q.    No one else?

08:42:44   14    A.    No.

08:42:50   15    Q.    Have you told anybody about a kidnapping and murder that you

08:42:59   16    committed in Mexico?

08:43:07   17    A.    No.    I haven't committed any.

08:43:11   18    Q.    Are you maintaining that you did not kidnap three to four

08:43:19   19    people, killing two of them and one of them got away?

08:43:32   20    A.    No.

08:43:35   21    Q.    Do you know the incident which I'm asking you about?

08:43:56   22    A.    It was in the newspaper that "Poncho" and I were being

08:43:59   23    accused of murder and kidnapping.

08:44:04   24    Q.    Are you talking about the Mexican newspaper?

08:44:09   25    A.    San Antonio news.


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08:44:12    1    Q.    Sorry?

08:44:13    2    A.    The San Antonio news.

08:44:18    3    Q.    How many times did you meet with agents -- United States

08:44:25    4    agents before you were paid?

08:44:51    5    A.    It was a lot of times.      A lot of times because this was the

08:44:55    6    second time I had to get a permit.        The first time I had gotten

08:44:58    7    it, the second time the whole process had been changed, and it

08:45:02    8    was the second time I went to get my permit.

08:45:05    9    Q.    No.   I mean, how many times did you meet with them before

08:45:10   10    you were first paid money?

08:45:23   11    A.    That was -- the majority of times I already had because it

08:45:30   12    was in the second year that I was given money.

08:45:36   13    Q.    May I see Court's Exhibit 19?       What year and what month was

08:46:16   14    it that you came to the United States?

08:46:39   15    A.    It was at the end of -- the end of April -- no.            It was the

08:46:42   16    end of March or beginning of April of 2011.

08:47:31   17    Q.    Do you read English?

08:47:37   18    A.    I understand some.     I don't know exactly, but I understand.

08:47:45   19    Q.    Okay.    With permission of the Court, I want to have -- I

08:47:50   20    want to show a document to the translator and have her read

08:47:54   21    silently a few things in here and then, ask him if it refreshes

08:47:59   22    his memory.

08:48:27   23    A.    Okay.

08:48:28   24    Q.    Having seen and explained to you this particular document,

08:48:41   25    do you agree with what it says?


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08:48:46    1    A.    Yes.    I agree.

08:48:47    2    Q.    Okay.    So you were paid money for the purchase of

08:48:53    3    information, correct?

08:49:04    4    A.    That's what it says.      I signed.    They gave me -- gave it to

08:49:07    5    me so I could get my permits.

08:49:18    6                  MR. DEGEURIN:    Your Honor, I think this should remain

08:49:20    7    as a Court exhibit at this time.         Then I'll pass the witness.

08:49:31    8                  MR. WOMACK:    No questions, your Honor.

08:49:33    9                  THE COURT:    Mr. Esper.

08:49:34   10                  MR. ESPER:    Other than what Mr. DeGeurin has asked, I

08:49:36   11    have no questions.

08:49:37   12                  MR. MAYR:    Nor do I, your Honor.

08:49:39   13                  MR. GARDNER:    Your Honor, may this witness be excused?

08:49:41   14                  THE COURT:    In a minute.    I'm going to put you in the

08:49:44   15    jury room for a minute.

08:50:20   16                  (Jury not present.)

08:50:31   17                  THE COURT:    Mr. Moreno, has anybody told you that you

08:50:34   18    have criminal charges pending in Mexico?          I think in Piedras

08:50:40   19    Negras, I think is the allegation.

08:50:43   20                  MR. GARDNER:    Your Honor, that's correct.         I did show

08:50:44   21    Mr. Moreno the pending charges this morning.

08:51:03   22                  THE WITNESS:    Yeah.   They showed me the charges that

08:51:08   23    had to do with three people, a Miguel Uribe, his brother, and a

08:51:12   24    Villarreal.

08:51:12   25                  THE COURT:    And up until your coming here giving the


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08:51:20    1    testimony last week, were you aware that those charges have been

08:51:27    2    made?

08:51:31    3                 THE WITNESS:    Didn't know.

08:51:33    4                 THE COURT:   Anybody else want to ask him questions on

08:51:37    5    the record?

08:51:38    6                 MR. GARDNER:    No, sir.

08:51:40    7                 THE COURT:   All right.     I'm going to excuse Mr. Moreno.

08:51:43    8    Bring the jury back.      Well, wait a minute, John.       I assume you're

08:51:56    9    resting.

08:51:56   10                 MR. GARDNER:    Yes, sir.

08:51:59   11                 MR. FINN:    Judge, just in abundance of caution,

08:52:02   12    depending on what we've learned, if anything, from the State

08:52:04   13    Department, I would ask that he not be too far away, depending

08:52:09   14    on --

08:52:09   15                 THE COURT:   For a period of time, I'll.

08:52:17   16                 MR. DEGEURIN:    Your Honor, I would renew the request I

08:52:20   17    made yesterday that his testimony be stricken.

08:52:23   18                 THE COURT:   Okay.   That motion is denied.          Had full

08:52:33   19    opportunity to cross the witness.

08:52:34   20                 Before we bring back the jury, though, the government

08:52:36   21    has rested.     Is there anybody that wishes to make any motions,

08:52:39   22    now's time to do it, because you don't want to waive any.

08:52:42   23                 MS. WILLIAMS:    Your Honor, pursuant to Rule 29, Mr.

08:52:46   24    Trevino asks -- moves that the Court enter a judgment of

08:52:49   25    acquittal.


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08:52:55    1                MR. DEGEURIN:     Your Honor, on behalf of Mr. Colorado,

08:53:00    2    we, too, move for a judgment of acquittal under Rule 29 for the

08:53:06    3    reasons that the government has not proved each element of the

08:53:11    4    offense in the indictment, not carried their burden to do so.

08:53:18    5                THE COURT:    What item has the government not proved or

08:53:22    6    placed evidence on, anyway?

08:53:23    7                MR. DEGEURIN:     Your Honor, I don't believe that they

08:53:26    8    have proved a money-laundering activity to a reasonable mind a

08:53:33    9    juror could prove, beyond a reasonable doubt, that he knowingly

08:53:39   10    and willingly participated in a money -- in money laundering.

08:53:45   11                THE COURT:    All right.    Your motion is that there's

08:53:50   12    insufficient evidence for a reasonable jury to find the defendant

08:53:54   13    guilty, rather than there is no evidence on one element of the

08:53:59   14    offense charged, as I understand your --

08:54:02   15                MR. DEGEURIN:     Insufficient evidence on each of them.

08:54:04   16    Thank you, Judge.

08:54:06   17                THE COURT:    Mr. Womack.

08:54:07   18                MR. WOMACK:    Your Honor, on behalf of Fernando Garcia,

08:54:09   19    the same motion, the same basis.        Evidence is insufficient as a

08:54:14   20    matter of law for a jury to convict Fernando Garcia.              Also, one

08:54:19   21    other point I'd like to make, sir.         This may be something we

08:54:22   22    could cover in instructions.        But the government --

08:54:35   23                THE COURT:    Would you come up here for a minute?

08:54:50   24                (At the bench, off the record.)

08:54:58   25                MR. WOMACK:    Sir, of course, with Federal Rule of


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08:55:01    1    Criminal Procedure 29, we'd move for judgment of acquittal for

08:55:06    2    Fernando Garcia on the basis that there was insufficient evidence

08:55:09    3    as a matter of law to conclude that he joined a conspiracy

08:55:13    4    knowingly and voluntarily and intended -- specifically intended

08:55:19    5    to be involved in money laundering.

08:55:21    6                I'd like to point out one other additional fact, your

08:55:24    7    Honor, that may be more appropriate for instructions.             The

08:55:27    8    government offered evidence that in September of 2008, my client

08:55:33    9    opened a bank account for Garcia Bloodstock that, frankly, looked

08:55:37   10    like classic structuring.       But they also introduced evidence

08:55:42   11    consistently that Fernando Garcia did not join this conspiracy,

08:55:53   12    if at all, until March of -- or around March of 2010.

08:55:57   13                In other words, while he had done something in opening

08:56:00   14    his company in 2008, that would certainly look to the world like

08:56:03   15    structuring, going from place to place to place to open his

08:56:06   16    account in amounts less than $10,000, that was before there was

08:56:11   17    any evidence he even knew any of the alleged coconspirators.

08:56:14   18    Therefore, none of the coconspirators could be convicted based on

08:56:19   19    that evidence because they didn't even know him.           He couldn't

08:56:22   20    have been part of the conspiracy if there was one.

08:56:25   21                And, likewise, Mr. Garcia could not have been a member

08:56:28   22    of the conspiracy because there's no evidence he even knew these

08:56:31   23    people.    Rather, it looks like they've charged -- or they have

08:56:35   24    offered proof that he committed a substantive offense of

08:56:38   25    structuring in 2008 but not as a member of this conspiracy.             So


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08:56:45    1    that evidence by itself cannot be considered by the jury as proof

08:56:49    2    that he was involved in any conspiracy a year and a half -- or

08:56:54    3    joined a conspiracy a year and a half later.

08:56:58    4                And I think if you take out that individual

08:57:02    5    transaction, then the evidence is insufficient as a matter of law

08:57:05    6    to show that Fernando Garcia directed, structured payments to be

08:57:10    7    made, or joined a conspiracy knowingly and intentionally.         Thank

08:57:14    8    you, sir.

08:57:16    9                MR. ESPER:    Your Honor, if it please the Court.

08:57:21   10                Since the government has now rested its case-in-chief,

08:57:23   11    the Defendant Eusevio Huitron would move pursuant to Rule 29(a)

08:57:28   12    of the Federal Rules of Criminal Procedure for the Court to enter

08:57:31   13    a judgment of acquittal as to Count 1 of the indictment against

08:57:34   14    him.   And it is the contention of Mr. Huitron that no rational

08:57:39   15    trier of fact could find that the evidence is sufficient to

08:57:43   16    satisfy proof beyond a reasonable doubt each element of the

08:57:47   17    offense.

08:57:48   18                There basically is two parts to this conspiracy.       The

08:57:51   19    second part, part B involved a property involving a financial

08:57:57   20    transaction representing the proceeds of some form of unlawful

08:58:00   21    activity, and that the defendant in this case, Mr. Huitron, did

08:58:03   22    transport, transmit, and transfer, and attempt to transport, a

08:58:09   23    monetary instrument and funds from a place in the United States

08:58:12   24    to or through a place outside of United States and vice versa.

08:58:16   25                I don't think there's been any evidence to establish


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08:58:18    1    that prong of the money-laundering statutes.          Consequently, we

08:58:24    2    have the first prong, which is knowing that the property involved

08:58:28    3    in a financial transaction represented the proceeds of some form

08:58:32    4    of unlawful activity did conduct and attempt to conduct such a

08:58:36    5    financial transaction which involved the proceeds of specified

08:58:39    6    unlawful activity, conspiracy to distribute a controlled

08:58:43    7    substance, and extortion and bribery.

08:58:45    8                I submit to your Honor that what we have is Mr. Huitron

08:58:48    9    being involved in training horses.         And so, the government's

08:58:52   10    theory is that he knew that the proceeds that he was being paid

08:58:56   11    came from specified unlawful activity, which they definitely have

08:59:01   12    shown that there's been drug distribution and drug proceeds

08:59:04   13    generated from conduct involving Cuellar and others.              But I don't

08:59:09   14    believe that the evidence is sufficient to establish that Mr.

08:59:14   15    "Chevo" Huitron knew, number one, about the specified unlawful

08:59:17   16    activity and, number two, that he knew that the funds that were

08:59:21   17    being used to pay for his training services were the proceeds of

08:59:26   18    that specified unlawful activity.

08:59:28   19                And on that basis, we would move the Court to grant his

08:59:31   20    judgment of acquittal.

08:59:32   21                THE COURT:    Mr. Mayr.

08:59:35   22                MR. MAYR:    Thank you, your Honor.

08:59:36   23                May it please the Court.       At this time, on behalf of my

08:59:41   24    client Jesus Maldonado-Huitron, I would move pursuant to Rule 29

08:59:45   25    of the Federal Rules of Criminal Procedure for a judgment of


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08:59:49    1    acquittal in this case, since the government has failed to prove

08:59:52    2    all of the elements or has failed to present evidence a rational

08:59:56    3    juror could use to find beyond a reasonable doubt that this

08:59:59    4    offense was committed.       To kind of echo what Mr. Esper just

09:00:05    5    mentioned to the Court, while I believe that there's not

09:00:09    6    sufficient evidence for each one of the elements, I would direct

09:00:13    7    this court to the third element that's set forth in the Pattern

09:00:19    8    Jury Instruction that the government have to establish that my

09:00:22    9    client, Jesus Huitron, again, knew that the property involved in

09:00:27   10    the financial transactions represented the proceeds of some form

09:00:29   11    of unlawful activity.

09:00:32   12                This court recall, there's been no individual that's

09:00:35   13    come forward or no evidence presented that my client was

09:00:38   14    associated with the Zetas or associated with any of the other

09:00:40   15    codefendants.     There was no communications involving him.       And to

09:00:46   16    -- as I go through and I look at the scant evidence that was

09:00:50   17    presented regarding my client, while there's some issue about

09:00:54   18    transactions, there's no evidence whatsoever to show this court

09:00:59   19    or to show this jury that Jesse Huitron knew that those

09:01:05   20    transactions that were being conducted through his accounts were

09:01:08   21    the form -- were -- came from some illegal activity whatsoever.

09:01:13   22                And so, on that basis, we would ask the Court to grant

09:01:15   23    the motion.     Thank you, your Honor.

09:01:18   24                THE COURT:    I take it that there were no written

09:01:20   25    motions to be filed?


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09:01:23    1                MS. WILLIAMS:     That's correct.

09:01:24    2                MR. WOMACK:    That's correct, your Honor.

09:01:25    3                THE COURT:    All right.     The government want to make any

09:01:28    4    statement for the record?

09:01:29    5                MR. GARDNER:     Thank you, your Honor.

09:01:30    6                Your Honor, in order to sustain a conviction, the

09:01:34    7    government must prove that, one, defendant and one other person

09:01:36    8    made an agreement to commit money laundering and, two, the

09:01:39    9    defendant knew the unlawful purpose and joined with intent to

09:01:43   10    further the unlawful purpose.

09:01:44   11                Your Honor, in order to prove the conspiracy and money

09:01:47   12    laundering existed, the government has alleged three specified

09:01:50   13    unlawful activities:      That being drug trafficking in which Mr.

09:01:54   14    Cuellar, Mr. Vasquez, Mr. Hinojosa, Mr. Rejon, among others,

09:02:00   15    testified that they were responsible for the receipt --

09:02:02   16                THE COURT:    I don't need a review of the evidence.

09:02:04   17                MR. GARDNER:     Yes, sir.

09:02:05   18                THE COURT:    I just want to give the opportunity to the

09:02:08   19    government if you wish to -- I assume you're opposed to the

09:02:11   20    motion?

09:02:11   21                MR. GARDNER:     I am, your Honor.     Yes, sir.

09:02:19   22                THE COURT:    All right.

09:02:20   23                MR. GARDNER:     Thank you.

09:02:23   24                THE COURT:    The motions are overruled.       Bring them in.

09:02:25   25                MR. MAYR:    Your Honor, before the jury, may I approach


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09:02:28    1    the bench and just -- with Mr. Gardner?         I need to state

09:02:32    2    something for the record.

09:02:37    3                THE COURT:    Sure.

09:02:37    4                (At the bench, on the record.)

09:02:40    5                MR. MAYR:    I would just like to have a motion but it

09:02:43    6    just involves us.      I would just like the record to reflect that I

09:02:46    7    had originally given notice of my intent to call Jessica Huitron

09:02:50    8    as a witness in my case.       I gave that notice to Mr. Gardner a

09:02:55    9    couple of days ago.      I have learned that Ms. Huitron is -- I have

09:03:04   10    learned through her attorney that if called to testify, she would

09:03:07   11    invoke her Fifth Amendment right and not answer any questions

09:03:10   12    that I would present to her regarding her handling of the

09:03:13   13    transactions in question.       I believe Mr. Gardner is aware of

09:03:17   14    that, as well.

09:03:17   15                Therefore, I will not be calling her to the stand nor

09:03:22   16    will I be mentioning or alluding to that fact, in light of her

09:03:28   17    willingness to invoke her Fifth Amendment right to testify.         I

09:03:31   18    would just ask that the government also be instructed not to

09:03:34   19    mention or allude to that fact that she has -- the witness is not

09:03:38   20    being called and that's because she has invoked her Fifth

09:03:42   21    Amendment right.

09:03:45   22                THE COURT:    I don't know about that you'd rather go to

09:03:49   23    the World's Fair the next couple of years.          She hasn't come to

09:03:53   24    the stand, she hasn't taken the Fifth Amendment.

09:03:56   25                MR. MAYR:    Right.


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09:03:57    1                 THE COURT:   I don't know if the government would offer

09:03:58    2    her immunity, and therefore, she wouldn't have to testify.          I

09:04:02    3    don't know any of those things.        So it's very unique about

09:04:06    4    witnesses.     You know, I don't doubt your representations.

09:04:12    5                 MR. MAYR:    Okay.

09:04:13    6                 THE COURT:   But I'm going to make rulings just based on

09:04:16    7    what's happened in the courtroom.

09:04:17    8                 MR. MAYR:    Okay.    Thank you, sir.

09:04:25    9                 (Jury present.)

09:05:58   10                 THE COURT:   Members of the jury, the government has

09:06:01   11    rested its case-in-chief.         Mr. Finn, Ms. Williams.

09:06:06   12                 MR. FINN:    Thank you, your Honor.

09:06:07   13                 THE COURT:   Do you wish to present any evidence?

09:06:09   14                 MR. MAYR:    Your Honor, I don't mean to interrupt, but

09:06:11   15    the Court will recall, I waived my right to open but reserved --

09:06:16   16    I waived my right to open -- to give an opening statement at the

09:06:20   17    time before the government presented their case and reserve my

09:06:22   18    right to give an opening statement.

09:06:23   19                 THE COURT:   And I will give you that opportunity when

09:06:25   20    it's your turn.

09:06:26   21                 MR. MAYR:    Okay.    Thank you, your Honor.

09:06:27   22                 THE COURT:   Yes, sir.     Mr. Finn.

09:06:29   23                 MR. FINN:    Thank you, your Honor.

09:06:30   24                 May it please the Court, members of the jury, based on

09:06:33   25    the government's case-in-chief, Ms. Williams and I rest.           Thank


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09:06:36    1    you.

09:06:39    2                 MR. DEGEURIN:    Your Honor, we rest, also.

09:06:44    3                 THE COURT:    That's for Francisco Antonio

09:06:48    4    Colorado-Cessa.     How about Fernando Solis?

09:06:51    5                 MR. WOMACK:    Yes, your Honor.

09:06:53    6                 The defense now offers what has been marked as Garcia

09:06:56    7    Exhibit 1.     Your Honor, these are the original transcripts from

09:07:00    8    the University of Arizona, evidencing Mr. Garcia's pursuit of a

09:07:04    9    Bachelor of Science Degree that's been talked about in court.

09:07:07   10                 MR. GARDNER:    We have seen these, your Honor.      We have

09:07:08   11    no objection.

09:07:09   12                 THE COURT:    All right.   Garcia 1 is received.

09:07:11   13                 MR. WOMACK:    Thank you, your Honor.      And with that,

09:07:12   14    defense rests.

09:07:14   15                 THE COURT:    Mr. Esper.

09:07:16   16                 MR. ESPER:    Defendant Eusevio Huitron would call Ms.

09:07:19   17    Shae Cox, your Honor.

09:07:50   18                 (Witness sworn.)

09:08:08   19                 THE COURT:    Tell us your full name and spell your last,

09:08:15   20    please.

09:08:15   21                 THE WITNESS:    Shae Cox, C-O-X.

09:08:19   22                 THE COURT:    You may proceed.

09:08:19   23              SHAE COX, called by the Defendant, duly sworn.

09:08:19   24

09:08:20   25


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09:08:20    1                            DIRECT EXAMINATION

09:08:20    2    BY MR. ESPER:

09:08:21    3    Q.    Thank you, your Honor.

09:08:21    4                  Ms. Cox, tell the ladies and gentlemen of the jury what

09:08:25    5    you do for a living.

09:08:26    6    A.    I train race horses.

09:08:28    7    Q.    Okay.    And how long have you been doing that?

09:08:31    8    A.    About eight years, licensed, and I grew up in the industry.

09:08:39    9    Q.    Okay.    And where were you raised, Ms. Cox?

09:08:42   10    A.    I was raised in El Paso, Texas.

09:08:45   11    Q.    Okay.    And is that where you sort of cut your teeth learning

09:08:50   12    the horse-training business?

09:08:51   13    A.    Yes.

09:08:51   14    Q.    And where would that have been?

09:08:53   15    A.    I was working for a gentleman named Armando Orosco.

09:08:56   16    Q.    And where at?

09:08:57   17    A.    El Paso, Sunland Park Racetrack.

09:09:00   18    Q.    Okay.    Now, tell the ladies and gentlemen of the jury a

09:09:02   19    little bit of the geographics of El Paso and Sunland Park.

09:09:06   20    A.    Sunland Park itself, pretty much all it has is a racetrack.

09:09:09   21    So it's pretty much in El Paso, Texas, but it is New Mexico.

09:09:14   22    Q.    Okay.    And does El Paso border New Mexico and the Republic

09:09:19   23    of Mexico?

09:09:19   24    A.    Yes.

09:09:19   25    Q.    Okay.    So they're all kind of one big metropolitan area?


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09:09:23    1    A.    Yes.

09:09:23    2    Q.    Is that a fair statement?       Okay.   And so, you went to

09:09:26    3    work -- how old were you when you went to work for Mr. Orosco?

09:09:29    4    A.    I was about 13.

09:09:31    5    Q.    Okay.    And do you ride horses yourself?

09:09:34    6    A.    Yes.

09:09:35    7    Q.    Okay.    And --

09:09:37    8    A.    Not race horses.

09:09:38    9    Q.    Pardon me?

09:09:38   10    A.    Not race horses.

09:09:39   11    Q.    Okay.    So you got involved in working for him and him being

09:09:43   12    Mr. Orosco, he had some horses, correct?

09:09:46   13    A.    Yes.

09:09:46   14    Q.    And did you work with other trainers when you were starting

09:09:51   15    at age 13?

09:09:52   16    A.    Yes.    He was a trainer.

09:09:54   17    Q.    Okay.    And he was a trainer and owner --

09:09:57   18    A.    Yes.

09:09:58   19    Q.    -- was he?    And was he a Mexican national, if you know?

09:10:02   20    A.    Yes.

09:10:03   21    Q.    Okay.    Did he reside in Mexico, if you know?

09:10:06   22    A.    No.

09:10:07   23    Q.    Okay.    Did he reside in El Paso?

09:10:09   24    A.    Yes.

09:10:09   25    Q.    Okay.    But he was a citizen of the Republic of Mexico --


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09:10:14    1    A.    Yes.

09:10:15    2    Q.    -- correct?     And so, did he have horses there at Sunland

09:10:18    3    Park Racetrack?

09:10:19    4    A.    Yes.    He had private property attached to the racetrack.

09:10:22    5    Q.    Okay.    And as you are in your teenage years, you're going to

09:10:27    6    high school, would it be fair to say, and working at the

09:10:30    7    racetrack?

09:10:30    8    A.    Yes.    I would usually go to his property about 4:00 a.m. and

09:10:33    9    then, at -- go to school about 8:00.         And then, as soon as I got

09:10:37   10    out of school, I'd go back to work.         I loved it.

09:10:39   11    Q.    Okay.    Tell the ladies and gentlemen of the jury, do you

09:10:42   12    know Mr. "Chevo" Huitron?

09:10:43   13    A.    Yes, I do.

09:10:44   14    Q.    And where was it or when was it that you first came to meet

09:10:49   15    "Chevo" Huitron?

09:10:50   16    A.    I met him about ten years ago or so at Sunland Park.

09:10:57   17    Q.    Okay.    And was he there -- in what capacity was he there at

09:11:02   18    Sunland Park?

09:11:02   19    A.    He had taken a horse there to race.

09:11:05   20    Q.    Okay.    And would it be fair to say that in the

09:11:11   21    horse-training or the horse-racing business, it's kind of a small

09:11:16   22    group where everybody probably knows somebody else?

09:11:18   23    A.    Oh, yes.

09:11:19   24    Q.    Okay.    So there's a lot of people that you know in the

09:11:22   25    horse-racing business, both as owners and trainers.           Would that


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09:11:25    1    be a fair statement?

09:11:26    2    A.    Yes.

09:11:26    3    Q.    Okay.    Now, tell the ladies and gentlemen of the jury

09:11:29    4    basically what you charge as a fee to train a horse.

09:11:35    5    A.    I charge 35 a day.

09:11:37    6    Q.    Okay.    And you charge 35 a day.      Do you have your own

09:11:41    7    facilities or do you train at the track?

09:11:43    8    A.    At times, I will train on the racetrack.         At times, I will

09:11:47    9    train off the racetrack where I have to rent stables.

09:11:49   10    Q.    Okay.    Does the fee change if you are training at the track,

09:11:54   11    as opposed to not at the track?

09:11:56   12    A.    If you are in the racetrack and allotted stalls, then

09:11:59   13    they're free.     If you are off the racetrack, then you have to pay

09:12:03   14    stall rent.

09:12:03   15    Q.    Okay.    And that would be charged to the owner, correct?

09:12:06   16    A.    Correct.

09:12:07   17    Q.    Okay.    Now, what does the -- I forgot the amount that you

09:12:12   18    told me.     How much per day?

09:12:14   19    A.    Thirty-five.

09:12:15   20    Q.    Okay.    So if I as an owner had ten horses that you were

09:12:18   21    training, I'd be paying $350 a day, correct?          Would that be

09:12:23   22    right?

09:12:23   23    A.    Yes.

09:12:23   24    Q.    And what would that $350 a day for those ten horses include

09:12:29   25    with respect to you as a trainer?


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09:12:32    1    A.      I'd include feed, vitamins that go inside the feed, shavings

09:12:37    2    for the stalls.      It includes the grooms that I would be

09:12:40    3    responsible for, the gallop people that I would be responsible

09:12:42    4    for, pony people that I'm responsible for, and that's about it.

09:12:52    5    Q.      Would it be a fair statement to say that every owner that

09:12:56    6    you train a horse for is looking to see if that horse can be

09:13:00    7    entered in races?

09:13:00    8    A.      Oh, yes.    Definitely.

09:13:02    9    Q.      Okay.    And, of course, would it be fair to say that not

09:13:05   10    every horse is going to turn out to be a good one?

09:13:07   11    A.      No.   Unfortunately.

09:13:08   12    Q.      Okay.    It's somewhat of a high-risk business.      Would that be

09:13:11   13    fair?

09:13:11   14    A.      It is.    It's a gamble.

09:13:13   15    Q.      Okay.    Now, what -- that $35 a day for ten horses, 350 a

09:13:20   16    day, what does that not include?

09:13:22   17    A.      It doesn't include vet bills and it does not include the

09:13:25   18    stall rent, if paid, and it does not include shoeing.

09:13:30   19    Q.      Okay.    What about entry fees if I want to race any of those

09:13:37   20    horses in any races?

09:13:39   21    A.      If they're going toward any races that need entry fees,

09:13:43   22    that's the owner would pay that.

09:13:44   23    Q.      Okay.    Now, how can an owner pay those additional fees?

09:13:51   24    Tell us the different ways.

09:13:52   25    A.      Sometimes the owners -- most of the time, the owners that


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09:13:58    1    own race horses are businessmen.        So sometimes they'll just let

09:14:02    2    the trainer take care of it.        So I would pay it and then, they

09:14:06    3    would give me a check for that; or they would give me a check and

09:14:09    4    I would pay the track.       Or sometimes the owners take care of

09:14:13    5    their own nomination fees and the owners pay it, and they just

09:14:16    6    call and notify the trainer, hey, this horse is nominated for

09:14:18    7    this race.     Get it ready.

09:14:20    8    Q.    Okay.    What about vet bills?

09:14:22    9    A.    Same thing.     Pretty much the same thing, yeah.

09:14:24   10    Q.    Okay.    Now, you have trained how many horses in your short

09:14:29   11    career or your eight-year career?

09:14:32   12    A.    A lot.

09:14:33   13    Q.    A lot?

09:14:34   14    A.    I've probably gone through a thousand.

09:14:36   15    Q.    Okay.    And are a number of the owners who own these horses

09:14:41   16    from Mexico?

09:14:42   17    A.    Yes.

09:14:43   18    Q.    Would it be fair to say that the quarter horse-racing

09:14:47   19    business is non-U.S.-based?

09:14:52   20    A.    I think that would be fair to say.        The quarter horse

09:14:55   21    industry or quarter horses in general have always been a

09:14:58   22    foundation of the Mexican culture.         Horse racing and horses, it's

09:15:03   23    part of their culture.

09:15:05   24    Q.    Okay.    Now, are you -- let's talk about how you are paid by

09:15:11   25    these owners that you've trained close to a thousand horses.


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09:15:17    1    What type of forms of payment have you received as a trainer?

09:15:21    2    A.      I've received mostly checks, but on occasion, I've received

09:15:25    3    cash.

09:15:26    4    Q.      And when you receive cash, have you -- how have you received

09:15:30    5    cash?

09:15:32    6    A.      Usually --

09:15:33    7    Q.      Hand-to-hand?

09:15:33    8    A.      Yeah.   Hand-to-hand.

09:15:35    9    Q.      Okay.   Has any owner ever asked you for your bank account

09:15:39   10    number to where they could deposit cash into your account?

09:15:42   11    A.      No.

09:15:43   12    Q.      If they did, would you allow that?

09:15:46   13    A.      Yes.

09:15:48   14    Q.      Would you want to know about the owner?       Would it be

09:15:52   15    conditional on how well you knew the owner?

09:15:54   16    A.      Yes.

09:15:55   17    Q.      Okay.   Now, you say that you met Mr. Huitron about 2005?

09:16:06   18    Would that be fair?      Six?

09:16:09   19    A.      Yeah.   That would be fair.    Somewhere in there.

09:16:12   20    Q.      Okay.   And did you and he establish a rapport with each

09:16:15   21    other?

09:16:15   22    A.      Yes.

09:16:16   23    Q.      Okay.   And to this day, he's still your friend, is he not?

09:16:19   24    A.      Yes.

09:16:20   25    Q.      Okay.   But you established that rapport there at Sunland


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09:16:26    1    Park in New Mexico?

09:16:28    2    A.    Yes.

09:16:28    3    Q.    Did you become kind of a mentee with Mr. Huitron?

09:16:32    4    A.    We immediately became really good friends.          I helped him

09:16:35    5    because he needed help as far as entering his horses.             I knew the

09:16:41    6    people that could help him at race time, take horses to the

09:16:44    7    paddock.     Or whatever he needed, I would help him set up whenever

09:16:47    8    he would come into Sunland Park.

09:16:48    9    Q.    Okay.    And this was when he was at Sunland Park?

09:16:51   10    A.    Yes.    He just hauled in for races.      He never stayed there.

09:16:54   11    Q.    Okay.    Do you know -- and if you don't, simply say so --

09:16:58   12    whether at that time Mr. "Chevo" Huitron had his actual trainer's

09:17:02   13    license?

09:17:02   14    A.    No.    He did not.

09:17:03   15    Q.    And do you know why he didn't?

09:17:05   16    A.    At the time, I don't think he had the knowledge of racing

09:17:09   17    and the rules.     He still needed guidance before taking it a step

09:17:13   18    further and having his own license.         He still needed some more

09:17:17   19    time to become more familiar with the racetracks, the way they

09:17:20   20    work, the rules.      And he was working so hard, I don't think he

09:17:26   21    wanted that responsibility.

09:17:27   22    Q.    Now, do you speak Spanish, Ms. Cox?

09:17:30   23    A.    Fairly well.

09:17:31   24    Q.    Okay.    Does Mr. Huitron speak English well?

09:17:34   25    A.    No.    Not very well.    A little bit.


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09:17:37    1    Q.    Is he able to communicate if the subject matter deals with

09:17:41    2    horses?

09:17:42    3    A.    Yes.

09:17:42    4    Q.    In English?

09:17:44    5    A.    Yes.    Pretty well.

09:17:45    6    Q.    Okay.    Do you know whether Mr. "Chevo" Huitron can read and

09:17:48    7    write?

09:17:48    8    A.    No.    He cannot.

09:17:49    9    Q.    Cannot at all?

09:17:50   10    A.    No.

09:17:50   11    Q.    Okay.    And you know this from your interaction with him?

09:17:55   12    A.    Yes.    I worked for him for two years after that.

09:17:59   13    Q.    Okay.    Now, I'm going to get to that in just a minute.       Did

09:18:04   14    there come a time when Mr. "Chevo" Huitron offered you a job to

09:18:08   15    come work for him?

09:18:08   16    A.    Yes.

09:18:09   17    Q.    And did you accept that job?

09:18:11   18    A.    Yes.

09:18:11   19    Q.    Was it a conditional acceptance?

09:18:15   20    A.    Conditional?

09:18:17   21    Q.    Well, were you still in high school?

09:18:19   22    A.    Oh, yes.    I was still in high school whenever he offered me

09:18:22   23    the job, and I said, I have to finish high school first.          But I

09:18:26   24    didn't even walk for graduation.        The day after school was out, I

09:18:28   25    moved to Austin.


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09:18:29    1    Q.    Okay.    You moved here to Austin, Texas?

09:18:31    2    A.    Yes.

09:18:35    3    Q.    May I approach the witness, your Honor?

09:18:37    4                  THE COURT:   You don't have to have my permission.

09:18:38    5    Q.    (BY MR. ESPER) I'm showing you some photographs.            Do you

09:18:41    6    recognize what has been marked as Defendant EH-11 and EH-12?

09:18:46    7    A.    Yes.    That's his house.

09:18:47    8    Q.    Okay.    And I'm also showing you Defendant's Exhibits EH-13,

09:18:56    9    EH-14, EH-15, EH-16, EH-17, EH-18.         Do you recognize those

09:19:06   10    exhibits?

09:19:07   11    A.    Yes.    That's his farm where he trains his race horses.

09:19:10   12    Q.    Okay.    I'm also showing you Defendant's Exhibit EH-19.             Do

09:19:13   13    you recognize that?

09:19:14   14    A.    Yes.    That's the office.

09:19:15   15    Q.    Okay.    Tendering these exhibits, your Honor, to Mr. Gardner

09:19:30   16    for inspection and objection, if any.

09:19:50   17                  MR. GARDNER:   No objection, your Honor.

09:19:52   18                  MR. ESPER:   Your Honor, Defendant Huitron -- Eusevio

09:19:55   19    Huitron would move for the admission of Defendant's Exhibit

09:19:59   20    EH-11, 12, 13, 14, 15, 16, 17, 18 and 19.

09:20:07   21                  THE COURT:   They are received.

09:20:09   22                  MR. ESPER:   And permission to publish, your Honor,

09:20:12   23    through this Elmo, if I could figure out how it works.

09:20:16   24                  MR. MAYR:    It's on.

09:20:18   25                  MR. ESPER:   It's on.


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09:20:20    1                    MR. MAYR:   Yeah.

09:20:21    2    Q.      (BY MR. ESPER) Now, Ms. Cox, you've identified EH-11.      Can

09:20:25    3    you tell us what that is?

09:20:26    4    A.      Yes.    That's the street going to his house.

09:20:28    5    Q.      Okay.    And did you actually come and live with "Chevo"

09:20:31    6    Huitron and his family?

09:20:32    7    A.      Yes.

09:20:33    8    Q.      Okay.    They took you in like a daughter?     Would that be

09:20:37    9    fair?

09:20:38   10    A.      Well, we weren't home very much because we were on the road.

09:20:40   11    But yes.

09:20:41   12    Q.      Okay.    Now, EH -- Defendant's EH-12.

09:20:47   13    A.      That's his house.

09:20:48   14    Q.      Okay.    Now, Defendant's Exhibit EH-13?

09:20:54   15    A.      That's the entry to the training facility.

09:20:57   16    Q.      Okay.    Now, would it be fair to say that Mr. Huitron's

09:21:00   17    training facility is -- and I don't say this demeaningly --

09:21:06   18    somewhat basic?

09:21:08   19    A.      Yes.

09:21:08   20    Q.      Okay.    Is it kind of rundown a little bit?

09:21:11   21    A.      Yes.

09:21:12   22    Q.      It's nothing elaborate, is it?

09:21:13   23    A.      Not at all.

09:21:14   24    Q.      Okay.    Defendant's Exhibit 14, can you tell the ladies and

09:21:22   25    gentlemen of the jury what that is?


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09:21:23    1    A.    Yes.    The building where the white truck is parked is one of

09:21:28    2    the barns that the race horses are kept in.          And the house is

09:21:32    3    where the workers live in.

09:21:34    4    Q.    Okay.    Now, are the workers that work for Mr. Huitron when

09:21:38    5    you were there, are any of them illegal aliens to your knowledge?

09:21:42    6    A.    Not to my knowledge.

09:21:43    7    Q.    Okay.    Defendant's Exhibit 15, is that the house from the

09:21:48    8    back side of the training facility?

09:21:49    9    A.    Yes.

09:21:50   10    Q.    Okay.    EH-16, can you identify what these are?

09:21:56   11    A.    Yes.    Those are just some turnout pens with some younger

09:22:00   12    horses that are not ready for training yet.

09:22:02   13    Q.    Okay.    Turnout pen?

09:22:04   14    A.    Yes.    Basically horses that are not in training yet.

09:22:06   15    Q.    Okay.    Defendant's Exhibit EH-17?

09:22:14   16    A.    Yes.    The racetrack where they gallop.

09:22:18   17    Q.    Okay.    And how long is that racetrack?

09:22:22   18    A.    Maybe about 500, 600 yards.

09:22:26   19    Q.    Okay.    And this racetrack, of course, the surface area is

09:22:30   20    nothing like what we see at --

09:22:34   21    A.    No.

09:22:34   22    Q.    -- racetracks, correct?

09:22:35   23    A.    No.    He takes pretty good care of it, but it's nothing like

09:22:38   24    a racetrack.

09:22:39   25    Q.    Okay.    And EH-18.


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09:22:47    1    A.    That's just, specifically -- I think that's one of his

09:22:55    2    horses.

09:22:55    3    Q.    Okay.    You don't know who this horse is?

09:22:57    4    A.    I think it's -- I think it may be one of his better horses

09:23:02    5    that went to California.

09:23:03    6    Q.    Okay.    And EH-19, do you recognize this?

09:23:07    7    A.    Yes.    That's his office.

09:23:08    8    Q.    Okay.    Now, does he share that office with anybody?

09:23:12    9    A.    Well, it's the office of Huitron Homes, Huitron Painting

09:23:17   10    and, also, the race horse business.

09:23:19   11    Q.    Okay.    Now, Eusevio Huitron has a rather large family, does

09:23:22   12    he not?

09:23:23   13    A.    It's a huge family.

09:23:24   14    Q.    Okay.    And, first of all, he's married, correct?

09:23:28   15    A.    Yes.

09:23:28   16    Q.    And how many children do he and his wife have?

09:23:32   17    A.    They have five.

09:23:39   18    Q.    Okay.    And you've come to know all of them?

09:23:41   19    A.    Yes.

09:23:42   20    Q.    Now, do you know Jesus Huitron?

09:23:45   21    A.    Yes.

09:23:45   22    Q.    And that is -- is that Eusevio's brother?

09:23:48   23    A.    Yes.

09:23:48   24    Q.    And do you know what business he's in?

09:23:52   25    A.    He does the Huitron Homes and the Huitron Painting.


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09:23:55    1    Q.     Okay.   Now, you've come to live -- and there's a third

09:23:58    2    brother that lives in the same vicinity; is that correct?

09:24:00    3    A.     Yes.

09:24:01    4    Q.     And what is his name?

09:24:02    5    A.     Isabel.

09:24:03    6    Q.     Okay.   His name is Isabel but he obviously is a man?

09:24:07    7    A.     It is a brother.

09:24:07    8    Q.     Okay.   Now, Jesus Huitron, you've come to know him, have you

09:24:11    9    not?

09:24:11   10    A.     Yes.

09:24:12   11    Q.     And how many children does he have?

09:24:21   12    A.     I believe there are ten.

09:24:25   13    Q.     Ten?    Was -- were any of them working there in this office

09:24:30   14    that you've identified as Defendant's EH-19?

09:24:35   15    A.     Yes.

09:24:36   16    Q.     And who is that?

09:24:37   17    A.     Jessica.

09:24:38   18    Q.     Okay.   And I want to get to the business end of the

09:24:46   19    situation first.      You came to work here with "Chevo" Huitron in

09:24:49   20    2006, and how long did you work there?

09:24:52   21    A.     Till mid or late 2008.

09:24:55   22    Q.     Okay.   And did you and he -- did he enter a number -- how

09:25:01   23    many horses did he have on a regular basis there at his farm

09:25:05   24    there?

09:25:06   25    A.     Thirty-five, more or less.


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09:25:09    1    Q.    Okay.    On a consistent basis?

09:25:11    2    A.    Yes.

09:25:11    3    Q.    Okay.    And do you know what he charged owners?

09:25:15    4    A.    I believe back at that time, it was 1,100 a month per horse.

09:25:20    5    Q.    Okay.    And the 1,100 a month covers the same expenses that

09:25:24    6    you cover with the $35 a day?

09:25:26    7    A.    Yes.    Oh, plus hauling.     Anytime he hauled because he was

09:25:30    8    always stabled off the racetrack, so he would charge for hauling

09:25:32    9    anytime we went in or out of the racetrack.

09:25:34   10    Q.    Okay.    When you say hauling, hauling --

09:25:36   11    A.    The horses.

09:25:37   12    Q.    -- whatever horse is going to be entered, horse or horses

09:25:40   13    that are going to be entered in an event?

09:25:41   14    A.    Yes.

09:25:42   15    Q.    When I say event, that's an actual race, correct?

09:25:45   16    A.    Race.

09:25:46   17    Q.    Okay.    And, first of all, let's talk about Sunland Park in

09:25:49   18    New Mexico.     Do they have a specified racing period, season?

09:25:52   19    A.    Yes.

09:25:53   20    Q.    What is that?

09:25:54   21    A.    They usually start around December and end in the late part

09:26:00   22    of April or mid part of April.

09:26:01   23    Q.    Okay.    And are they governed by the New Mexico -- state of

09:26:05   24    New Mexico racing commission?

09:26:06   25    A.    Yes, they are.


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09:26:06    1    Q.      Now, let's talk about Ruidoso.      How far is Ruidoso from El

09:26:11    2    Paso?

09:26:11    3    A.      About two-and-a-half hours.

09:26:12    4    Q.      Okay.    And is it up in the mountains?

09:26:15    5    A.      Yes.

09:26:15    6    Q.      Okay.    It's kind of a ski, horse-racing resort, is it not?

09:26:22    7    A.      Yes.

09:26:22    8    Q.      Okay.    And what is their racing season in Ruidoso?

09:26:27    9    A.      They start in May is when the schooling races start and

09:26:33   10    then, they end on -- is it Labor Day, I believe?

09:26:37   11    Q.      Okay.    They obviously -- there's no racing going up there

09:26:40   12    during the winter season, correct?

09:26:42   13    A.      No.

09:26:43   14    Q.      Now, when we say racing, this is all quarter horse racing,

09:26:46   15    is it not?

09:26:47   16    A.      They actually have a mixed meet.       There will be

09:26:49   17    thoroughbreds there, as well, but "Chevo" never trained

09:26:54   18    thoroughbreds.

09:26:55   19    Q.      Okay.    Never trains thoroughbreds.

09:26:57   20                    Okay.   What about Los Alamitos?   Have you ever entered

09:27:01   21    any horses or been out to Los Alamitos?

09:27:03   22    A.      Yes, I have.

09:27:04   23    Q.      Okay.    And that's in the Los Angeles metroplex area, is it

09:27:07   24    not?

09:27:07   25    A.      Yes.


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09:27:07    1    Q.    And do they race all year, to your knowledge?

09:27:09    2    A.    To my knowledge, yes.

09:27:10    3    Q.    Okay.    Now, what about here in Texas?       What race tracks are

09:27:15    4    there?

09:27:16    5    A.    You have Retama, Sam Houston.        Retama is at Selma, Texas,

09:27:22    6    close to San Antonio.      You have Sam Houston in Houston.       You have

09:27:24    7    Lone Star Park in Grand Prairie, Texas.         And back at that time,

09:27:26    8    we had Manor Downs, which is in Manor.

09:27:29    9    Q.    Okay.    And there's race tracks or racing events take place

09:27:34   10    in some other neighboring --

09:27:35   11    A.    And also, Fredericksburg, Gillespie County Fair.

09:27:38   12    Q.    Are there racing venues in other surrounding states?

09:27:42   13    A.    Yes.

09:27:43   14    Q.    And what states would those be?

09:27:44   15    A.    Oh, pretty much every state has a racetrack, but the ones

09:27:47   16    that we would go to would be Louisiana, Oklahoma, Texas and New

09:27:51   17    Mexico.

09:27:51   18    Q.    Okay.    And during this two-year period, you were working

09:27:55   19    every day with Mr. Huitron, correct?

09:27:56   20    A.    Every day.

09:27:57   21    Q.    Okay.    And tell the ladies and gentlemen of the jury what

09:28:00   22    his work schedule is like on a daily basis.

09:28:04   23    A.    It's nonstop.     A lot of the race tracks run at night, but

09:28:08   24    then, you'll have some that run during the day.           And, of course,

09:28:12   25    you have to be at the training facility in the morning time


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09:28:14    1    because that's training hours.        So it was very normal for us to

09:28:18    2    be on the road all night long, get to the farm, rest for a couple

09:28:22    3    of hours, watch the horses gallop, pony, make sure they're not

09:28:26    4    injured, take them to the vet, if need be, and then, hit the road

09:28:30    5    again to wherever our next race is for the next night.

09:28:34    6    Q.      Okay.   So would it be fair to say that if you're not here on

09:28:39    7    the property -- this property where the training facilities are

09:28:42    8    at, is that in Dale, Texas?

09:28:44    9    A.      Dale, Texas.   Yes.

09:28:45   10    Q.      Okay.   And how far is that from Austin?

09:28:47   11    A.      About 30, 45 minutes, I guess.

09:28:52   12    Q.      Okay.   And if you're not there working, you're at a

09:28:55   13    racetrack preparing for an event, correct?

09:28:58   14    A.      Yes.

09:28:59   15    Q.      Okay.   And you say that this is a seven-day, ten-hour-a-day

09:29:04   16    work schedule?     Would that be correct?

09:29:06   17    A.      Seven-day, 24-hour-a-day.

09:29:08   18    Q.      Okay.   Very little time for rest?

09:29:10   19    A.      Very little.

09:29:11   20    Q.      Okay.   And is that year-round?

09:29:13   21    A.      Year-round.

09:29:14   22    Q.      Okay.   And let's talk about futurities.      What is a futurity

09:29:21   23    race?

09:29:21   24    A.      A futurity races are for two-year-olds.

09:29:23   25    Q.      Okay.   And it's limited to a horse being a horse -- a


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09:29:30    1    two-year-old, correct?

09:29:30    2    A.    They have to be two years of age, and they have to be

09:29:33    3    nominated for that specific race.

09:29:35    4    Q.    Okay.    And what is a derby?

09:29:37    5    A.    A derby is for three-year-olds.

09:29:39    6    Q.    Okay.    And what are stakes races?

09:29:41    7    A.    Stakes races are for older horses and most of the time they

09:29:46    8    have to be eligible.      They have to have made certain amount of

09:29:48    9    money to be qualified to go into the race.

09:29:50   10    Q.    Okay.    And challenge races?

09:29:52   11    A.    Challenge races, they have to have been nominated to the

09:29:57   12    challenge program through the AQHA.         Normally you do it when

09:30:00   13    they're very young, but you can supplement them in later and it's

09:30:04   14    very expensive to do that.

09:30:05   15    Q.    Okay.    Did you ever go to the Republic of Mexico with

09:30:09   16    "Chevo" Huitron the time you were working for him?

09:30:12   17    A.    No.    Never.

09:30:12   18    Q.    Okay.    Do you know -- and if you don't, simply say so --

09:30:15   19    whether the horses that he was training were owned by people who

09:30:20   20    resided in Mexico?

09:30:21   21    A.    Yes.

09:30:23   22    Q.    A small percentage?      Large percentage?

09:30:29   23    A.    I would say about 50/50.

09:30:31   24    Q.    Okay.    And were you involved in any of the billing

09:30:38   25    activities of Mr. "Chevo" Huitron's horse business?


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09:30:42    1    A.    I would go to the office on a regular basis.          Yes.

09:30:46    2    Q.    Okay.    But were you actually involved in --

09:30:48    3    A.    Yes.    I would sit down with -- I did all the entries for the

09:30:52    4    races.

09:30:53    5    Q.    Okay.

09:30:53    6    A.    And I would -- sat down with Jessica and figure out if we

09:30:56    7    had hauled a horse somewhere and make sure that the owner was

09:31:00    8    billed for it, who owed money, who didn't owe money.

09:31:04    9    Q.    Okay.    That was for the years 2006, 2007, 2008?

09:31:08   10    A.    Yes.

09:31:09   11    Q.    And, in essence, you were going there to make sure that

09:31:12   12    whatever expenses were incurred were being billed to the owners?

09:31:16   13    A.    Correct.

09:31:17   14    Q.    And hopefully that they were being collected, correct?

09:31:19   15    A.    Correct.

09:31:19   16    Q.    And but who carried out that function?         Was it you or?

09:31:24   17    A.    Jessica.

09:31:25   18    Q.    Okay.    But you just provided her the information?

09:31:28   19    A.    Yes.

09:31:28   20    Q.    And the data.     Okay.   Did Mr. "Chevo" -- the information you

09:31:33   21    got came, of course, from "Chevo" Huitron, did it not?

09:31:35   22    A.    Yes.

09:31:36   23    Q.    Okay.    Did you ever see "Chevo" Huitron in this office here

09:31:44   24    or with any --

09:31:45   25    A.    Very rarely, but yes.


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09:31:46    1    Q.     Okay.    And that office is supplied with computers, is it

09:31:50    2    not?

09:31:51    3    A.     Yes.

09:31:51    4    Q.     Have you ever seen "Chevo" Huitron operate a computer?

09:31:55    5    A.     I don't think he could even turn one on.

09:31:57    6    Q.     Okay.    How about -- what kind of cellphone did he have?

09:32:03    7    A.     He still has a flip phone.

09:32:05    8    Q.     A flip phone?      Okay.   And has he had that flip phone the

09:32:09    9    whole time you've known him?

09:32:10   10    A.     Yes.

09:32:10   11    Q.     Has his number ever changed?

09:32:12   12    A.     No.

09:32:13   13    Q.     Never changing his cellphone numbers?

09:32:18   14    A.     Never.

09:32:19   15    Q.     Okay.    Was it difficult to get a hold of Mr. Huitron on a

09:32:23   16    phone?

09:32:24   17    A.     Depended who you were.

09:32:26   18    Q.     All right.      Was it difficult for you?

09:32:28   19    A.     No.    Never.

09:32:30   20    Q.     Did he -- other than yourself, did you ever see him on the

09:32:34   21    phone much?

09:32:35   22    A.     A lot.

09:32:36   23    Q.     Okay.    Now, let's say that a horse is entered in a race and

09:32:46   24    Mr. Huitron is the trainer and the horse -- the purse is, say,

09:32:51   25    $5,000 and the horse wins.        Now, how much does Mr. Huitron get as


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09:32:57    1    a percentage of that purse?

09:32:59    2    A.    It would depend on the state, certain states vary.          But it

09:33:03    3    would be any where from 45 to 50 percent usually.

09:33:06    4    Q.    The trainer gets that?

09:33:07    5    A.    That's the owner of the race horse gets.

09:33:10    6    Q.    Okay.

09:33:10    7    A.    Then the owner gives ten percent of that to the trainer, ten

09:33:13    8    percent of that to the rider.

09:33:14    9    Q.    Okay.    Now, I believe you may have already answered that,

09:33:19   10    but there is -- what is a horsemen's account?

09:33:21   11    A.    A horsemen's account is basically a bank account that the

09:33:26   12    winnings of the horse will go into that belongs to the owner.

09:33:29   13    Q.    Okay.    And that money that's deposited in that account, is

09:33:33   14    that done by the owner, or by the trainer, or both?

09:33:38   15    A.    The trainer is usually not too involved with the horsemen's

09:33:42   16    account unless if he owns a horse himself.          But, for example, if

09:33:48   17    a jock mount fee is owed, or something like that, the owner would

09:33:52   18    put the money into the account or, at times, the trainer would if

09:33:55   19    the owner was not available to be there.

09:33:56   20    Q.    Okay.    Let's say as I an owner of --

09:33:59   21    A.    And the racetrack puts the winnings in there.

09:34:01   22    Q.    Okay.    Let's say I as an owner want to enter two horses that

09:34:04   23    you're training for me in a particular event.          Do I deposit the

09:34:08   24    money into the horsemen's account, or do I give it to you to

09:34:11   25    deposit?


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09:34:11    1    A.      If it's a regular day race, really no money needs to be

09:34:15    2    deposited.      But if it is a big race, normally you would either

09:34:20    3    send me a check and I would go put it in, or you would do it

09:34:24    4    yourself if you were there.

09:34:25    5    Q.      Okay.   So it wouldn't be unusual for me to give the money to

09:34:29    6    you to enter into that horsemen's account?

09:34:32    7    A.      No.

09:34:32    8    Q.      Okay.   Now, and so, if my horse wins some of that money is

09:34:38    9    -- comes back to you as the trainer.         I mean, how is it

09:34:42   10    distributed back?

09:34:42   11    A.      The owner is responsible for paying the trainer.

09:34:46   12    Q.      Okay.   And so, that money -- the racing commission doesn't

09:34:53   13    make sure that the trainer doesn't get stiffed out of that?

09:34:56   14    A.      No.    And there are many times that we have difficulty

09:35:00   15    collecting.

09:35:00   16    Q.      Okay.   So if my horse wins, I could very easily just scoop

09:35:08   17    up that money and not pay my trainer?

09:35:10   18    A.      Yes.    Oftentimes, the race tracks will help you.        You'll

09:35:15   19    have a statement to give to the owner, and then, you can take it

09:35:18   20    before the stewards at the racetrack and they can prevent the

09:35:22   21    owner from racing.

09:35:23   22    Q.      Okay.   Now, did you ultimately take another job sometime in

09:35:28   23    2008?

09:35:29   24    A.      Yes.    I went out on my own for a little while.

09:35:32   25    Q.      Okay.   And where did you -- did you work by yourself or did


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09:35:35    1    you work for somebody?

09:35:36    2    A.    Yeah.    I went track to track from mostly Texas.           I ran a

09:35:41    3    little bit in Louisiana.       But mostly Texas.

09:35:44    4    Q.    Okay.    Did that last very long?

09:35:46    5    A.    No.    I actually I ended up getting offered a job with Heath

09:35:51    6    Taylor, so I went to work for him.

09:35:53    7    Q.    With what?

09:35:53    8    A.    Heath Taylor, H-E-A-T-H.

09:35:57    9    Q.    And he's a trainer?

09:35:58   10    A.    Yes.

09:35:58   11    Q.    Where is he a trainer at?

09:36:00   12    A.    He's got a farm in Ledbetter, Texas.

09:36:04   13    Q.    And where is Ledbetter?

09:36:06   14    A.    Are you familiar with Giddings, Texas?

09:36:08   15    Q.    No.

09:36:09   16    A.    Okay.    It's about, I would say, 150 miles east of here.

09:36:14   17    Q.    Okay.    And is he a well-renowned trainer?

09:36:18   18    A.    Yes.    At the time, he was second in the nation.

09:36:20   19    Q.    Okay.    And you've come to know a lot of trainers in the

09:36:23   20    horse business, correct?

09:36:24   21    A.    Yes.

09:36:24   22    Q.    Do you know a trainer Paul Jones?

09:36:26   23    A.    Yes.

09:36:27   24    Q.    And is he a very recognized and established trainer?

09:36:30   25    A.    Yes.    He's number one in the nation.


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09:36:33    1    Q.    As a quarter horse trainer?

09:36:34    2    A.    As a quarter horse trainer.

09:36:35    3    Q.    Okay.    In your opinion, is "Chevo" Huitron an excellent

09:36:38    4    trainer?

09:36:39    5    A.    Yes.

09:36:39    6    Q.    Is he in the same category in your opinion as Mr. Ledbetter

09:36:44    7    or Mr. Jones?

09:36:45    8    A.    His horsemanship is, yes.

09:36:47    9    Q.    His horsemanship.      Define what that means.

09:36:52   10    A.    His knowledge of horses and the way he can handle a horse

09:36:56   11    and get a horse to perform to its fullest is definitely up to par

09:37:01   12    with the top in the nation.       I believe the only thing that's

09:37:04   13    really held him back from being at the top is his education and

09:37:09   14    being able to handle himself in a professional way to get more

09:37:13   15    owners and be able to go to -- it's kind of like real estate, I

09:37:19   16    suppose.     You kind of have to wine and dine sometimes to get the

09:37:21   17    top owners.

09:37:22   18    Q.    Okay.    Now, did there come a time where you left the state

09:37:28   19    of Texas and took a job?

09:37:30   20    A.    Yes.

09:37:32   21    Q.    Where was that at?

09:37:33   22    A.    I went back to El Paso, but before that, I actually worked

09:37:37   23    at Elgin Veterinary Hospital.

09:37:38   24    Q.    Okay.    Now, when you came back to work at Elgin Veterinary

09:37:43   25    Hospital, what year would that have been?


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09:37:46    1    A.     That would have been 2010.

09:37:50    2    Q.     Okay.   And how far is Elgin Veterinary Hospital from Mr.

09:37:56    3    Huitron's farm there?

09:37:59    4    A.     About an hour.

09:38:00    5    Q.     About an hour.    Did you resume -- did you stay in contact

09:38:04    6    with "Chevo" Huitron during this time period?

09:38:06    7    A.     Oh, forever.

09:38:07    8    Q.     And when you came back -- when you were here in 2010 at

09:38:10    9    Elgin Veterinary Hospital, were you in constant contact with him?

09:38:14   10    A.     Yes.

09:38:25   11    Q.     Did there come a time when you notified Mr. Huitron about --

09:38:31   12    when you were working for Elgin Veterinary Hospital about vet

09:38:37   13    bills?

09:38:38   14    A.     Yes.    I had kind of been put in charge of the accounts for

09:38:45   15    the Hispanics because I could talk to them.          I spoke enough

09:38:49   16    Spanish to be able to collect from them.          And I had noticed on

09:38:55   17    Eusevio's account that there were a lot of horses on it, and I

09:39:00   18    know how he runs his operation, so I knew that chances were, most

09:39:03   19    of the horses didn't belong to him.

09:39:05   20    Q.     When you say didn't belong to him, you mean weren't owned by

09:39:08   21    him?

09:39:09   22    A.     Correct.

09:39:09   23    Q.     Okay.   I'm showing you what's previously been admitted as

09:39:13   24    Government's Exhibit 55A.       This is a facsimile cover sheet.      Do

09:39:18   25    you recognize that?


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09:39:19    1    A.    Yes.    I do.

09:39:19    2    Q.    And can you -- the date on it is February 24, 2011?

09:39:24    3    A.    Yes.

09:39:25    4    Q.    And it looks like you faxed some documents to Jessica?

09:39:29    5    A.    Yes, I did.

09:39:29    6    Q.    Who is Jessica?

09:39:31    7    A.    Jessica Huitron.     She was still in the office.

09:39:34    8    Q.    Okay.    And these are -- I'm showing you these documents.   Do

09:39:41    9    you recognize what they are?

09:39:43   10    A.    Yes.    I do.

09:39:44   11    Q.    Okay.    What are they?

09:39:46   12    A.    They're a list of all the horses that were on the account,

09:39:49   13    and we had to figure out how much was owed on each horse before I

09:39:55   14    could move the horse off of Eusevio's account and put them on the

09:39:59   15    correct owner's account.

09:39:59   16    Q.    Okay.    Is all these horses, for example, how did Mr. "Chevo"

09:40:05   17    Huitron get the horses he was training to Elgin Veterinary clinic

09:40:08   18    if they needed vet work?

09:40:10   19    A.    Oftentimes, he would on the road going from track to track.

09:40:14   20    So if he entered a horse and it got in, let's just say, for

09:40:18   21    example, in Lone Star Park but he was in Louisiana, he would just

09:40:23   22    tell the workers at the ranch, hey, get that horse to the vet

09:40:26   23    clinic and have him -- have a pre-race check done and make sure

09:40:31   24    that he's ready to run and that he has no problems.

09:40:34   25                  And so, the workers would bring them in, they wouldn't


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09:40:38    1    know the names of the horses or they wouldn't know the owners.

09:40:40    2    We would finally figure out what the name of the horse was

09:40:43    3    usually because they would make a couple of phone calls.          But

09:40:45    4    they wouldn't know who the owners were.         So the office had been

09:40:49    5    just putting them under Eusevio's account, which happens often,

09:40:52    6    and it happened to a lot of other trainers, too.           But I wanted

09:40:55    7    him to understand that if, for some reason, he was fired by these

09:40:58    8    people, that he would be ultimately responsible for paying the

09:41:02    9    vet bills on horses he didn't own.

09:41:04   10    Q.    Okay.    And that was the reason for the fax from you to

09:41:08   11    Jessica?

09:41:08   12    A.    Yes.

09:41:09   13    Q.    Okay.    And Government's Exhibit 55B, there's some

09:41:16   14    handwriting or some handwriting, looks like hearts on it.           Do you

09:41:20   15    recognize that handwriting?

09:41:21   16    A.    Yes.    It's Jessica's.

09:41:23   17    Q.    Okay.    And did you establish a friendship with Jessica?

09:41:26   18    A.    Oh, yes.    We had been friends even before this.

09:41:29   19    Q.    Okay.    And this document, do you recognize that writing on

09:41:34   20    it?

09:41:34   21    A.    Yes.

09:41:35   22    Q.    Who is that?

09:41:36   23    A.    It's also Jessica's.

09:41:38   24    Q.    Okay.    And what's happened -- it looks like somebody has

09:41:42   25    written in, or arguably her, what's happened with all these


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09:41:46    1    horses, correct?

09:41:47    2    A.    Yes.    I typed out the list of each horse's name that was on

09:41:50    3    her account or on "Chevo's" account, and she went through and

09:41:54    4    figured out where the horses were.

09:41:56    5    Q.    Okay.

09:41:56    6    A.    Or who they belonged to.

09:41:58    7    Q.    Now, this Government's Exhibit 55C, is this the typed-up

09:42:06    8    list that is consistent with what's on -- was on 55B?

09:42:10    9    A.    Yes.

09:42:10   10    Q.    Okay.    So even though you weren't working for "Chevo"

09:42:17   11    Huitron at the time, as a friend, you were trying to help them

09:42:22   12    out a little bit?

09:42:23   13    A.    Yes.

09:42:24   14    Q.    Now, did you in 2010 know or meet an individual by the name

09:42:36   15    of Carlos Nayen?

09:42:37   16    A.    No.

09:42:39   17    Q.    Did you ever meet a Jose Trevino?

09:42:42   18    A.    Yes.

09:42:42   19    Q.    Do you see him here in the courtroom?

09:42:44   20    A.    Yes, I do.

09:42:44   21    Q.    Okay.    And where did you meet him at?

09:42:47   22    A.    I met him at the office at Huitron's office.

09:42:51   23    Q.    Okay.    And did you engage in conversations with?

09:42:55   24    A.    Yes, I did.

09:42:56   25    Q.    Okay.    Do you know -- and if you don't, simply say so --


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09:42:59    1    whether or not he had some horses there at Mr. Huitron's farm?

09:43:06    2    A.      Yes.    He was training for him at the time, and he had gone

09:43:09    3    to the office to talk about how much he owed.

09:43:14    4    Q.      Do you know -- or if you don't, simply say so -- whether Mr.

09:43:17    5    Trevino had brought some of his own people to work there at the

09:43:22    6    farm looking after his horses with Mr. Huitron?

09:43:25    7    A.      Not that I'm aware of.

09:43:26    8    Q.      Okay.   Do you know an individual named -- whose nickname is

09:43:31    9    "Saltillo"?

09:43:32   10    A.      Yes.

09:43:32   11    Q.      And you didn't know his -- do you know his real name?

09:43:35   12    A.      I never really got to know him very well.

09:43:37   13    Q.      Okay.   Was he a worker for Mr. Trevino, if you know?

09:43:42   14    A.      I never really knew who he worked directly for.           He would

09:43:46   15    haul the horses sometimes.

09:43:48   16    Q.      Okay.   Now, you were at the Elgin vet clinic in all of 2010

09:44:04   17    and 2011, correct?

09:44:06   18    A.      Yes.

09:44:06   19    Q.      Did you ultimately leave the Elgin vet clinic in August of

09:44:12   20    2011?

09:44:12   21    A.      Yes.    I did.

09:44:13   22    Q.      And where did you go?

09:44:17   23    A.      I went to El Paso.

09:44:18   24    Q.      Did you stay in contact with Mr. Huitron?

09:44:19   25    A.      Yes.


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09:44:20    1    Q.    Okay.    Did you see him frequently or less frequently now?

09:44:23    2    A.    I saw him less frequently until 2012.

09:44:29    3    Q.    Okay.    And where did you see him at 2012?

09:44:31    4    A.    In 2012, he called me and said that he was in Tularosa,

09:44:35    5    which is about a 30-minute drive to Ruidoso.          It's about an hour

09:44:40    6    and 15 minutes from El Paso.        And he said that he was training

09:44:43    7    horses there and, you know, so I could go say hello.              So I ended

09:44:49    8    up going up there and visiting with him and.

09:44:53    9    Q.    What was --

09:44:54   10    A.    Watch the horses.

09:44:55   11    Q.    Did you assist him with any of the horses or just kind of

09:44:57   12    watched?

09:44:57   13    A.    At that time, I just watched.        But he had a broken leg at

09:45:01   14    the time and he looked very weathered, I suppose you could say.

09:45:06   15    Q.    Very what?

09:45:06   16    A.    Weathered.

09:45:07   17    Q.    Weathered?    Okay.    You hadn't seen him a while, correct?

09:45:11   18    A.    At that time, I hadn't seen him in probably about a year.

09:45:13   19    Q.    Okay.    And you say did his physical appearance seem to be

09:45:18   20    diminished?

09:45:18   21    A.    Yes.

09:45:19   22    Q.    Okay.    And he had a broken leg?

09:45:24   23    A.    Yes.

09:45:25   24    Q.    Okay.    May I have just one moment, your Honor?

09:45:46   25                  THE COURT:    You may.


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09:45:51    1    Q.    (BY MR. ESPER) Do you know in your dealings with "Chevo"

09:45:56    2    Huitron, what type of person he is as far as being honest?

09:46:01    3    A.    He doesn't have time not to be honest.         He couldn't keep up

09:46:06    4    with it if he wasn't.      He's extremely honest.

09:46:09    5    Q.    Okay.    The financial part of the business, did Mr. "Chevo"

09:46:16    6    Huitron participate in any of that, to your knowledge?

09:46:18    7    A.    Very little.

09:46:20    8    Q.    Okay.    Do you know ultimately -- well, strike that.

09:46:27    9                  He also -- although you weren't working there at the

09:46:30   10    time, he trained this horse called Tempting Dash, did he not?

09:46:33   11    A.    Yes.

09:46:33   12    Q.    And you're familiar with that?

09:46:34   13    A.    Yes.

09:46:34   14    Q.    Okay.    And apparently that horse won a very big race?

09:46:40   15    A.    Yes.    He won the Texas Classic in Lone Star Park at Grand

09:46:44   16    Prairie.

09:46:44   17    Q.    Okay.    Were you there at that race?

09:46:46   18    A.    No.    I wasn't.

09:46:47   19    Q.    Okay.    Is it normal procedure when a horse wins a big race,

09:46:55   20    the trainers and a lot of other people show up at the winner's

09:46:58   21    circle?

09:46:58   22    A.    Yes.    You hug whoever's close to you.

09:47:00   23    Q.    Okay.    You've done that before?

09:47:02   24    A.    Yes.

09:47:08   25    Q.    What about a horse -- let me ask you this.          Does a trainer,


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09:47:16    1    does Mr. Huitron have specific colors that he puts on a horse or

09:47:23    2    -- explain that.

09:47:23    3    A.    Yes.    Most trainers have their racing colors.        His are

09:47:26    4    usually pink and black.

09:47:28    5    Q.    Okay.

09:47:29    6    A.    And sometimes, though, for the racing silks, you do have to

09:47:32    7    use the owner's if they ask you to.         But most of the time, the

09:47:35    8    trainers use their own.

09:47:36    9    Q.    Their own color?      Does the jockey wear the same colors as

09:47:39   10    the trainer or --

09:47:41   11    A.    Well, the jockey would wear the racing silks that were

09:47:44   12    provided by either the owner or the trainer.

09:47:45   13    Q.    Okay.    I think I'll pass the witness, your Honor.

09:47:54   14                  THE COURT:   Mr. Mayr.

09:47:56   15                  MR. MAYR:    Yes, Judge.

09:47:59   16                               CROSS-EXAMINATION

09:47:59   17    BY MR. MAYR:

09:48:13   18    Q.    Ms. Sims, I'm going to JH-4.

09:48:17   19                  Ms. Cox, I'm going to show you what I've marked as

09:48:22   20    Defendant's Exhibit JH-4.       Do you recognize that?

09:48:24   21    A.    Yes.    That's Jesse Huitron's house.

09:48:27   22    Q.    I believe you testified under examination from Mr. Esper

09:48:30   23    that you do, in fact, know my client Jesse Huitron; is that

09:48:33   24    right?

09:48:33   25    A.    Yes, I do.


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09:48:33    1    Q.    Ms. Sims, could I have the lights for just a moment, please?

09:48:41    2                 I'm showing Defendant's Exhibit EH-11.        Actually, let's

09:48:52    3    look at JH-4.     You testified this is my client's house, correct?

09:49:02    4    A.    Correct.

09:49:03    5    Q.    It's a converted mobile home, right?

09:49:06    6    A.    Yes, it is.

09:49:08    7    Q.    And you know that because you're living right across the

09:49:12    8    street with "Chevo" Huitron?

09:49:13    9    A.    Correct.

09:49:14   10    Q.    Has he always lived in that house to your knowledge?

09:49:18   11    A.    To my knowledge.

09:49:20   12    Q.    And looking at Defendant's Exhibit EH-11, the way this works

09:49:27   13    is looking up here -- I know it's kind of hard.           Just come show

09:49:36   14    you the actual photograph.       That's Isabel's house right there to

09:49:44   15    the left?

09:49:47   16    A.    Yes.   I believe that would be Isabel's and then, that would

09:49:51   17    be Eusevio's, and then, across the street would be Jesse's.

09:49:54   18    Q.    Jesse's.    All right.    There on Seeling, right?

09:49:57   19    A.    Yes.

09:49:58   20    Q.    So correct me if I identify improperly, but right over here

09:50:06   21    is where Isabel, the brother lives?

09:50:09   22    A.    Isabel.

09:50:09   23    Q.    "Chevo" lives in the house next door?

09:50:11   24    A.    Yes.

09:50:11   25    Q.    And my client lives right across the street?


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09:50:13    1    A.    Yes.

09:50:13    2    Q.    You could turn the lights back on.

09:50:19    3                  At the time that you lived there, you got to know my

09:50:22    4    client Jesse Huitron pretty well, also; is that right?

09:50:24    5    A.    Yes.    He signed my paychecks.

09:50:27    6    Q.    Did you spend a lot of time with him or did you spend more

09:50:31    7    time with "Chevo"?

09:50:31    8    A.    "Chevo."

09:50:32    9    Q.    Okay.    Let's talk a little bit about your interaction that

09:50:36   10    you did have with my client, with Jesse.          Tell the ladies and

09:50:41   11    gentlemen of the jury what his role was when you were there

09:50:43   12    working with him.

09:50:44   13    A.    He is pretty much the backbone of the family.          He is

09:50:52   14    literate, he can read, he can write.         He handles the business.

09:50:57   15    He handles the finances by having people that know what they're

09:51:02   16    doing around him.      And he always checks in on the horsemen or --

09:51:09   17    not the horsemen's account but the horse's account to make sure

09:51:14   18    that everything's running properly, owners are paying correctly.

09:51:17   19    Q.    What is his business, though?        What is his --

09:51:19   20    A.    Huitron Homes.

09:51:20   21    Q.    When you saw Huitron Homes, what is that business?

09:51:23   22    A.    He builds houses, remodels houses, paints houses.           He does

09:51:27   23    amazing work.

09:51:28   24    Q.    Now, like "Chevo," he's also from Mexico, correct?

09:51:31   25    A.    Correct.


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09:51:31    1    Q.    And like "Chevo," he also only has a sixth-grade education?

09:51:35    2    A.    Yes, he does.

09:51:36    3    Q.    But in his business in his dealings, he's come to learn a

09:51:42    4    little bit more about certain business aspects, right?

09:51:44    5    A.    Yes.

09:51:45    6    Q.    But you say that he would -- what can you tell this jury

09:51:48    7    about his reliance on other individuals to help him run his

09:51:53    8    business?

09:51:54    9    A.    Well, located also in the office with him was his

09:51:58   10    accountant, and before any decisions were made financially, he

09:52:03   11    would always turn to Arturo to make sure that it was right.

09:52:08   12    Q.    Did he have -- you say that had a very intricate knowledge

09:52:13   13    of how banking worked and accounting worked?

09:52:18   14    A.    He was always sure to turn to Arturo before making any

09:52:20   15    decisions.

09:52:21   16    Q.    Okay.    You talked about -- you've talked a little bit about

09:52:29   17    "Chevo's" ability to use a computer.         What can you tell the jury

09:52:32   18    about Jesse's ability to use a computer, modern technology, and

09:52:36   19    whatnot?

09:52:37   20    A.    The same.    None.

09:52:39   21    Q.    Who would type his letters?       Who would handle his billing?

09:52:44   22    Who would do all of this for him?

09:52:45   23    A.    Jessica.

09:52:46   24    Q.    Okay.    And let's talk a little bit about what Jessica's role

09:52:52   25    was there in the office.       Was she just dealing with the horse


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09:52:56    1    racing?     Was she dealing with the painting?       The home?    What was

09:52:58    2    she doing?

09:52:59    3    A.    Everything.     She handled everything with Arturo.         She

09:53:02    4    handled the Huitron Homes, Huitron Painting, and the horse

09:53:06    5    racing.

09:53:06    6    Q.    Okay.    When you say everything, are we talking billing?

09:53:10    7    Bank accounts?     What?

09:53:10    8    A.    She handled billing, deposits, collecting, ordering the

09:53:19    9    materials for whatever projects were coming up, seeing to it that

09:53:25   10    the workers were there, and checking with Arturo along the way.

09:53:32   11    Q.    You said that my client Jesse signed her paychecks.           Who was

09:53:36   12    the one that was actually responsible for preparing the

09:53:38   13    paychecks?

09:53:39   14    A.    I believe at that time, it was Arturo who would prepare

09:53:41   15    checks.

09:53:41   16    Q.    Okay.    Would Jessica ever -- would you ever see Jessica

09:53:46   17    writing checks or handling checks?

09:53:47   18    A.    Yes.

09:53:48   19    Q.    Okay.    Now, likewise, in the time that you were there, would

09:53:56   20    you see -- there's computers in the office, right?

09:54:01   21    A.    Yes.

09:54:02   22    Q.    Did you ever see Jesse on those computers?

09:54:04   23    A.    No.

09:54:04   24    Q.    Who was on the computer all the time?

09:54:05   25    A.    Jessica.


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09:54:07    1    Q.      And Jessica, do you know if she had access to the bank

09:54:13    2    accounts via online banking?

09:54:14    3    A.      Yes.

09:54:15    4    Q.      She had access to the checkbooks?

09:54:17    5    A.      Yes.

09:54:18    6    Q.      Did she -- do you know how she kept track of expenses?        Did

09:54:23    7    she use any accounting software like QuickBooks or anything like

09:54:27    8    that?

09:54:27    9    A.      I believe -- I know she used some sort of system.         I believe

09:54:32   10    it was QuickBooks, but I could be wrong about that.

09:54:35   11    Q.      So she has access to the bank accounts.       You actually had

09:54:38   12    seen her maybe like log into, like, the Wells Fargo account?

09:54:41   13    A.      Oh, yes, all the time.

09:54:42   14    Q.      I want to talk with you and have you explain to the jury a

09:54:45   15    little bit about the horsemen's account that you were talking

09:54:47   16    about with Mr. Esper.

09:54:48   17                   These horsemen's accounts are set up for race-related

09:54:55   18    expenses to come in and out of; is that right?

09:54:58   19    A.      Yes.   Except for if a trainer is paid by the owner, it would

09:55:03   20    go into your business account.        It wouldn't go into horsemen's

09:55:08   21    account.

09:55:09   22    Q.      How does -- how would Jessica -- or how would Jessica go

09:55:14   23    about dealing with transactions that need to occur with the

09:55:18   24    horsemen's account?      Would she call them up on the phone?       Would

09:55:24   25    she send a letter?      Would she go into a bank?      What would she --


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09:55:28    1    A.    She would call them pretty often.

09:55:29    2    Q.    Okay.    Does she have the ability to transfer funds into and

09:55:32    3    out of the horsemen's account?

09:55:34    4    A.    For Huitron or for the owner?

09:55:36    5    Q.    For Huitron Homes --

09:55:38    6    A.    For Huitron Homes?

09:55:39    7    Q.    For horses that were being raced under Huitron Homes.

09:55:42    8    A.    Out, no.    In, yes.

09:55:45    9    Q.    Okay.    In order to have money transferred out, you'd have to

09:55:50   10    have authorization from the owner, correct?

09:55:52   11                  MR. GARDNER:       Your Honor, at this point, I'm going to

09:55:53   12    object to leading.        Mr. Mayr's been leading for a significant

09:55:57   13    amount of time.

09:55:57   14                  THE COURT:    He was.    The objection is sustained.

09:56:01   15                  MR. MAYR:    Thank you, your Honor.     Rephrase.

09:56:03   16    Q.    (BY MR. MAYR) How would someone pull money out of the

09:56:06   17    horsemen's account?

09:56:07   18    A.    In order to pull money out of the horsemen's account, the

09:56:10   19    actual owner of the account has to call and request the money

09:56:15   20    sent to their address, and they will ask you usually the last

09:56:18   21    four digits of your Social Security number.

09:56:21   22    Q.    Do you know whether or not Jessica ever did that on behalf

09:56:23   23    of any owners?

09:56:25   24    A.    On any owners?       No.

09:56:28   25    Q.    Okay.    Now, how much time would you say that Jesse spent in


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09:56:38    1    the office working at a desk or doing whatever he was there at

09:56:41    2    the office?

09:56:41    3    A.    He's never at a desk.      He's always at his job site.

09:56:44    4    Q.    When you say job sites, you're talking about?

09:56:47    5    A.    Homes.

09:56:52    6    Q.    What sort of -- tell the jury, if you would, about his level

09:56:56    7    of interaction with Jessica during the time that you're there

09:56:59    8    from 2006, 2007, 2008.

09:57:02    9    A.    Very often on the phone.       He probably stopped by the office

09:57:06   10    once or twice a day just to make sure that paints had been

09:57:10   11    ordered, materials had been ordered, workers were in line.        If

09:57:15   12    somebody owed for a house being built, make sure that the money

09:57:18   13    had come in whenever it was time, or that the companies had been

09:57:21   14    paid for the supplies or, you know, anything like that.

09:57:25   15    Q.    As time sort of went on, what sort of level of trust did he

09:57:33   16    put in Jessica, based on what you observed?

09:57:35   17    A.    Once Jessica knew the business forwards and backward, Jesse

09:57:40   18    relied on her.     And both Jesse and "Chevo" are the type people

09:57:46   19    that when they say do something, they just expect it to be done.

09:57:48   20    And at that time, Jessica knew what to do, so it just got done.

09:57:53   21    Q.    There's been testimony before that Jesse and "Chevo" were

09:57:58   22    the decisionmakers.      Is that a fair statement?

09:58:02   23    A.    Jesse is more of a decisionmaker.

09:58:06   24    Q.    Whose responsibility was it, though, to put those things

09:58:10   25    into effect and do those things that he was asking to have done?


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09:58:14    1    A.    To make sure that they happened?        Jessica.

09:58:17    2    Q.    All right.    Now, after you left in 2008, you continued to

09:58:29    3    deal with and maintain contact with all the Huitrons, right?

09:58:33    4    A.    Yes.

09:58:34    5    Q.    I want to go back and show you Government's Exhibit 55B.

09:58:54    6    Actually, let me bring it up to you and just have you flip

09:58:57    7    through it.

09:59:02    8    A.    Yes.    This is a fax that I sent to Jessica.

09:59:06    9    Q.    You remember this fax pretty well?

09:59:08   10    A.    Like it was yesterday.

09:59:09   11    Q.    Why don't you tell the ladies and gentlemen of the jury

09:59:11   12    about it?

09:59:11   13    A.    I spent hours working on it.       It was whenever I was working

09:59:15   14    on clearing up the problem on his accounts at Elgin Veterinary

09:59:19   15    Hospital, and going through horse by horse, figuring out how much

09:59:24   16    was owed on each horse, because each visit would be listed

09:59:27   17    differently.     Then figuring out which owner was responsible for

09:59:31   18    paying and then, collecting from that owner.          Some of which did

09:59:34   19    not live here.     They lived in Mexico.      And so, she helped out

09:59:38   20    with that.     She helped clear out who the owners were.          And slowly

09:59:42   21    but surely, I managed to get the horses off of his account and

09:59:45   22    onto the correct accounts.

09:59:46   23    Q.    You said she.     Who is she?

09:59:47   24    A.    Jessica.

09:59:48   25    Q.    Did you ever discuss this issue with Jesse?


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09:59:55    1    A.    With Jesse, no.

09:59:56    2    Q.    So why are you dealing with Jessica?

10:00:00    3    A.    Because she knew what was going on.         She handled the office.

10:00:04    4    She was the office manager.

10:00:08    5    Q.    And, again, that handwriting on there on the other documents

10:00:12    6    that Mr. Esper showed you, that -- to the best of your knowledge,

10:00:15    7    that's Jessica's writing, correct?

10:00:17    8    A.    On this one, yes.

10:00:18    9    Q.    And you've seen her writing plenty of times, right?

10:00:21   10    A.    Yes.

10:00:21   11    Q.    Now, this fax was sent in March of 2011; is that right?

10:00:46   12    A.    I believe that's what the date on it was.

10:00:48   13    Q.    In May of 2011, did Jessica -- was she still working there

10:00:56   14    at Huitron Homes?      Let me ask it this way.      At some point around

10:01:04   15    May of 2011, did she cease working at Huitron Homes?

10:01:07   16    A.    It was somewhere in that period of time, yes, that she quit.

10:01:11   17    Q.    Do you have any reason why she quit -- have any reason --

10:01:15   18    I'm sorry.     Do you have any knowledge as to why she quit?

10:01:19   19    A.    I was not there.     I know it had to do with some family

10:01:25   20    issues.

10:01:26   21                 MS. WILLIAMS:    Objection.    Hearsay.

10:01:28   22    Q.    (BY MR. MAYR) You don't -- you don't have any personal

10:01:30   23    knowledge as to why she left, do you?

10:01:31   24    A.    No.

10:01:32   25                 THE COURT:   That's what she said.


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10:01:35    1    Q.    (BY MR. MAYR) Once she left, you continued to have to deal

10:01:40    2    with Huitron Homes and the racing; is that right?

10:01:43    3    A.    Yes.

10:01:43    4    Q.    Who took over at that point?

10:01:45    5    A.    Adrian Huitron.

10:01:46    6    Q.    And that would be "Chevo's" son, right?

10:01:48    7    A.    Eusevio's son, yes.

10:01:50    8    Q.    Did he have the same level of involvement as Jessica did in

10:01:53    9    terms of bank account access, checks?         Or what was he doing?

10:01:57   10    A.    He was doing the same thing that she had been doing.

10:02:00   11    Q.    If you know, did he -- was he able just to pick it right up?

10:02:09   12    Or was there sort of a learning curve he had to go through?

10:02:11   13    A.    There was a learning curve.

10:02:13   14    Q.    All right.    And he continued to manage the business in 2012?

10:02:18   15    A.    Yes.

10:02:20   16    Q.    In terms of business, if I were to ask you what Jesse

10:02:38   17    Huitron, what his primary interest is, what would that be?

10:02:41   18    A.    His houses.

10:02:43   19    Q.    Okay.    Pass the witness, your Honor.

10:02:47   20                  THE COURT:    Ms. Williams?

10:02:51   21                  MS. WILLIAMS:    I'm sorry, your Honor.     No questions.

10:02:53   22                  MR. DEGEURIN:    No, your Honor.

10:02:55   23                  MR. WOMACK:    Your Honor, briefly.    Thank you.

10:02:55   24

10:02:58   25


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10:02:58    1                             CROSS-EXAMINATION

10:02:59    2    BY MR. WOMACK:

10:02:59    3    Q.    Good morning, Ms. Cox.      I'm Guy Womack from Houston.    We've

10:03:02    4    never met before, have we?

10:03:03    5    A.    No.

10:03:03    6    Q.    We have exchanged e-mails?

10:03:04    7    A.    Yes.

10:03:04    8    Q.    I represent Fernando Garcia.       Fernando, could you stand?

10:03:09    9    You know Fernando Garcia?

10:03:10   10    A.    Yes, I do.

10:03:11   11    Q.    And you know Fernando Garcia professionally from his

10:03:15   12    activities in the horse-racing business?

10:03:16   13    A.    Yes.

10:03:17   14    Q.    You know that he interacted with you as the owner of horses?

10:03:21   15    A.    Yes.

10:03:22   16    Q.    And also as the agent for others who owned race horses?

10:03:27   17    A.    I didn't really know too much about him being an agent at

10:03:30   18    the time.

10:03:30   19    Q.    Okay.    Well, are you aware that he has had horses treated at

10:03:34   20    your vet clinic at Elgin?

10:03:36   21    A.    Yes.

10:03:36   22    Q.    And some of these horses were his own horses, correct?

10:03:38   23    A.    Yes.    Many of them.

10:03:39   24    Q.    And some of them were not his own horses, were they, or do

10:03:44   25    you know?


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10:03:44    1    A.    He pretty much kept the accounts separate, so I was not

10:03:48    2    aware of that at the time.

10:03:48    3    Q.    Okay.    And from your observation of -- and this would be

10:03:53    4    from around 2010 through around -- I'm sorry, 2010 to 2012?

10:04:01    5    A.    Well, 2010 was when I met him and then.

10:04:05    6    Q.    And that's when you were at the Elgin clinic?

10:04:07    7    A.    At Elgin Veterinary Hospital.        Yes.

10:04:09    8    Q.    And then, you've interacted with him some after you opened

10:04:11    9    your stables in El Paso?

10:04:12   10    A.    Yes.

10:04:13   11    Q.    So that would cover the period from around 2010 to 2012?

10:04:18   12    A.    Yes.

10:04:20   13    Q.    And from your observation, did Fernando Garcia always

10:04:25   14    conduct himself as a professional in the horse-racing business?

10:04:27   15    A.    Always.

10:04:28   16    Q.    In 2012, about a month before he was arrested, your stable

10:04:38   17    was offered to let him use some stables preparing some horses,

10:04:41   18    didn't he?

10:04:41   19    A.    Yes.

10:04:41   20    Q.    Since his arrest, he's been living in Mission, Texas with

10:04:45   21    his family.     Have you had any contact with him since June of last

10:04:48   22    year when he was arrested?

10:04:51   23    A.    Maybe once or twice just on Facebook though.          Nothing big.

10:04:54   24    Q.    Okay.    But he hasn't interacted with you professionally

10:04:59   25    since that time?


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10:04:59    1    A.    No.

10:04:59    2    Q.    Thank you.    No further questions, your Honor.

10:05:06    3                 THE COURT:   Mr. Esper, any redirect?

10:05:09    4                 MR. ESPER:   I think Mr. Gardner wanted to cross.

10:05:11    5                 THE COURT:   Oh, I'm sorry.

10:05:13    6                 MR. GARDNER:    Thank you, your Honor.      Appreciate it,

10:05:15    7    Mr. Esper.

10:05:16    8                              CROSS-EXAMINATION

10:05:17    9    BY MR. GARDNER:

10:05:17   10    Q.    Ms. Cox, you stated that you recognize Jessica Huitron's

10:05:20   11    handwriting.     Do you recognize that blue ink on the bottom

10:05:23   12    right-hand corner?

10:05:24   13    A.    Yes.

10:05:25   14    Q.    Offer Government's Exhibit 433, your Honor.

10:05:47   15                 MR. ESPER:   I have no objection.

10:05:52   16                 MR. MAYR:    No objection, your Honor.

10:05:53   17                 THE COURT:   433 is received.

10:05:55   18    Q.    (BY MR. GARDNER) Could you read the handwriting of Jessica

10:05:58   19    Huitron, please, Ms. Cox?

10:05:59   20    A.    My dad told me that you and him have discussed the invoices.

10:06:04   21    So if you have any questions, please discuss it with him.

10:06:08   22    Q.    So at least on this occasion, Jesse Huitron was taking care

10:06:12   23    of the invoices.      You would agree with that, right?

10:06:13   24    A.    Yes.

10:06:14   25    Q.    Now, you've testified before on behalf of "Chevo" Huitron at


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10:06:17    1    his detention hearing?

10:06:18    2    A.    Yes, sir.

10:06:18    3    Q.    That was June 18th of 2012?

10:06:22    4    A.    Yes, sir.

10:06:22    5    Q.    Sounds about right?      You also accompanied Mr. "Chevo"

10:06:27    6    Huitron and Mr. Esper in my offices to help him look through the

10:06:30    7    evidence in this case, correct?

10:06:31    8    A.    Yes, sir.

10:06:34    9    Q.    And you also contacted Jessica Huitron to let her know law

10:06:38   10    enforcement may be coming to talk to her.

10:06:40   11    A.    No, sir.

10:06:41   12    Q.    So would it surprise you when Jessica Huitron was

10:06:44   13    interviewed by agents --

10:06:47   14                 MR. ESPER:   Objection, your Honor, to form of the

10:06:48   15    question.    Assumes facts not in evidence.

10:06:51   16    Q.    (BY MR. GARDNER) Were you aware that Jessica Huitron told

10:06:54   17    agents that you contacted her and told her that law enforcement

10:06:58   18    would be coming to visit her?

10:06:59   19    A.    No, sir.

10:07:03   20    Q.    Now, you also stated that "Chevo" Huitron -- in response to

10:07:11   21    Mr. Esper's question, that "Chevo" Huitron is an excellent

10:07:15   22    trainer?

10:07:16   23    A.    Yes.

10:07:17   24    Q.    And you also stated that he was extremely honest?

10:07:20   25    A.    Yes.


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10:07:23    1    Q.    Do you recall the question at your detention hearing when

10:07:27    2    you stated, nobody cares more about his career with horses than

10:07:30    3    he does?

10:07:31    4    A.    Yes.

10:07:32    5    Q.    Do you also recall your response to the question, did you

10:07:37    6    ever see him do things that were illegal or underhanded?

10:07:41    7    A.    Do I recall the question?       Yes.

10:07:44    8    Q.    Do you recall that?

10:07:44    9    A.    Yes, I do.

10:07:46   10    Q.    Were you aware that on August 26th of 2011, "Chevo" Huitron

10:07:59   11    was suspended and fined --

10:08:01   12                 MR. ESPER:   Objection, your Honor.      Objection under

10:08:03   13    404(b), your Honor.

10:08:04   14                 THE COURT:   The objection is overruled.       You placed all

10:08:07   15    of this in evidence on your direct examination.

10:08:10   16    Q.    (BY MR. GARDNER) On August 26th of 2011, were you aware that

10:08:16   17    "Chevo" Huitron was fined and suspended for doping, drugging two

10:08:21   18    horses with Clenbuterol at Retama Park?

10:08:25   19    A.    Yes.   I'm aware of those problems.

10:08:26   20    Q.    On June 17th, 2011, were you aware that "Chevo" Huitron was

10:08:31   21    fined for doping a horse with polyethylene glycol?

10:08:36   22    A.    I didn't know what the penalty was.

10:08:38   23    Q.    Were you aware on July 26th of 2010, that "Chevo" Huitron

10:08:43   24    was fined and suspended for obtaining and bribing workout -- for

10:08:49   25    obtaining fraudulent workouts through the bribe of track


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10:08:51    1    personnel?

10:08:52    2    A.    He has many.

10:08:56    3    Q.    And were you aware that he failed to appear at that hearing?

10:08:58    4    A.    No.

10:08:59    5    Q.    Were you aware on May 29th of 2010, at the Sam Houston Race

10:09:03    6    Park where a horse called Chip Jess Got Magic, "Chevo" Huitron

10:09:07    7    was fined and suspended for doping his horse with Clenbuterol?

10:09:11    8    A.    No.

10:09:11    9    Q.    Were you aware on April 30th, 2010, again, at the Sam

10:09:16   10    Houston Race Park, "Chevo" Huitron was suspended and fined for a

10:09:20   11    horse called Au Contraire for Clenbuterol?

10:09:23   12    A.    No.

10:09:23   13    Q.    Were you aware he failed to appear at that hearing?

10:09:26   14    A.    No.

10:09:27   15    Q.    Were you aware on October 24th of 2009, "Chevo" Huitron was

10:09:32   16    fined for not adhering to track regulations?

10:09:35   17    A.    No.

10:09:35   18    Q.    Were you aware that on February 28th of 2009, "Chevo"

10:09:39   19    Huitron was fined and suspended for doping a horse with

10:09:43   20    Dextrorphan?

10:09:45   21    A.    No.

10:09:45   22    Q.    That horse was called Charal Kid.

10:09:48   23                 I'm going to show you Government's Exhibit 432.      Do you

10:09:54   24    recognize "Chevo" Huitron in that winning circles photo?

10:09:57   25    A.    Yes.


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10:09:58    1    Q.    Your Honor, I offer Government's Exhibit 432.

10:10:09    2                 MR. ESPER:    I have no objection, your Honor.

10:10:16    3                 MR. WOMACK:    No objection.

10:10:25    4    Q.    (BY MR. GARDNER) Ms. Cox, were you aware when you get fined

10:10:27    5    or suspended --

10:10:28    6                 THE COURT:    Hold on.   You're asking to be admitted?

10:10:31    7                 MR. GARDNER:    Yes, your Honor.     I apologize.

10:10:32    8                 THE COURT:    It's admitted.

10:10:34    9    Q.    (BY MR. GARDNER) Each time you're suspended, the Texas

10:10:36   10    Racing Commission says you're denied access to all facilities,

10:10:41   11    and horses owned or trained by the trainer are denied entry.          Are

10:10:45   12    you aware of that?

10:10:46   13    A.    Yes.

10:10:47   14    Q.    Who is the listed trainer on this horse?

10:10:53   15    A.    Erika Huitron.

10:10:55   16    Q.    So this is Charal Kid, the same one for which Mr. "Chevo"

10:11:00   17    Huitron was suspended for doping?

10:11:02   18    A.    Yes.

10:11:04   19    Q.    Are you aware that anytime Mr. Chevo Huitron got suspended,

10:11:07   20    he would simply put his daughter's name on the entry fee and

10:11:10   21    continue to train the horses?

10:11:12   22    A.    As do many others.

10:11:14   23    Q.    I didn't ask that question.       I asked about "Chevo" Huitron.

10:11:16   24    A.    Yes.

10:11:17   25    Q.    You're aware of that?


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10:11:18    1    A.    Yes.

10:11:22    2    Q.    Were you aware that on November 29th of 2008, "Chevo"

10:11:26    3    Huitron was fined for having two hypodermic needles that were

10:11:30    4    illegal according to the Texas Racing Commission?

10:11:32    5    A.    No.

10:11:33    6    Q.    Were you aware on September 6th, 2008, that "Chevo" Huitron

10:11:37    7    was fined for entering an ineligible horse, also failed to appear

10:11:41    8    at that hearing?

10:11:42    9    A.    No.

10:11:43   10    Q.    Were you aware on August 16th, 2008, "Chevo" Huitron was,

10:11:48   11    again, fined for ineligible horse and failed to appear at that

10:11:51   12    hearing?

10:11:51   13    A.    No.

10:11:52   14    Q.    Were you aware on March 23rd of 2008, that "Chevo" Huitron

10:11:57   15    doped a horse called Rare Leader with Lidocaine?

10:12:00   16    A.    No.

10:12:01   17    Q.    Were you aware on September 7th of 2007, that "Chevo"

10:12:05   18    Huitron was discovered in a trailer injecting a horse with

10:12:10   19    nicotinamide and suspended?

10:12:11   20    A.    No.

10:12:12   21    Q.    Were you aware on October 4th of 2007, that "Chevo" Huitron

10:12:16   22    was suspended for injecting a horse with phenylbutazone?

10:12:21   23    A.    No.

10:12:22   24    Q.    Were you aware on August 25th of 2007, that "Chevo" Huitron

10:12:27   25    was suspended for injecting three horses with that same drug?


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10:12:31    1    A.    Yes.

10:12:32    2    Q.    Were you aware on September 7th, 2007, injecting a horse

10:12:36    3    prior to his arrival at the horse training area?

10:12:39    4    A.    No.

10:12:40    5    Q.    Having known all that, would that change your opinion that

10:12:44    6    he's a good trainer?

10:12:45    7    A.    Not at all.

10:12:47    8    Q.    Were you aware that he applied batteries to a fixed horse

10:12:51    9    race to Tempting Dash?

10:12:54   10    A.    No.

10:12:54   11    Q.    You weren't aware of that?       So, again, being aware of all

10:12:58   12    that, would that change your opinion as to whether he's an

10:13:01   13    extremely honest person?

10:13:05   14    A.    I still believe he's honest.       Yes.

10:13:07   15    Q.    Pass the witness, your Honor.

10:13:10   16                          RE-DIRECT EXAMINATION

10:13:11   17    BY MR. ESPER:

10:13:11   18    Q.    Mrs. Cox, Mr. Gardner was asking you about your testimony at

10:13:14   19    a detention hearing.      That was sometime last year, correct?

10:13:16   20    A.    Yes, sir.

10:13:16   21    Q.    And the government at that detention hearing was trying to

10:13:19   22    detain Mr. Huitron without bond?

10:13:21   23    A.    Correct.

10:13:22   24    Q.    Pending trial.     And you testified, did you not, that you

10:13:26   25    were absolutely certain that if he was released on bail, he would


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10:13:30    1    appear for trial?

10:13:30    2    A.    Yes.

10:13:31    3    Q.    And you were as confident about that as you are about the

10:13:34    4    rest of your testimony.       Would that be fair?

10:13:36    5    A.    Yes, sir.

10:13:36    6    Q.    Okay.    And at that hearing, you were under oath, just like

10:13:44    7    you are now, correct?

10:13:45    8    A.    Yes, sir.

10:13:45    9    Q.    Okay.    No further questions.

10:13:48   10                            RE-CROSS EXAMINATION

10:13:48   11    BY MR. MAYR:

10:13:53   12    Q.    Ms. Cox, let's take a closer look at this Government's

10:13:57   13    Exhibit 433 that the government handed you.          Did you have an

10:13:59   14    opportunity to closely examine it?

10:14:03   15    A.    No.

10:14:03   16    Q.    He just sort of flashed it to you.        I want you to just take

10:14:07   17    a look at this really quick.

10:14:10   18                  First of all, what is the date sent on that document?

10:14:15   19    A.    5-17 of 2008.

10:14:17   20    Q.    Okay.    5-17, 2008.    So was that about the time that you were

10:14:22   21    still working there?

10:14:26   22    A.    I remember the horses, so it's possible.

10:14:30   23    Q.    Kind of towards the end?

10:14:32   24    A.    Yeah.    Probably.

10:14:35   25    Q.    You testified earlier that Jesse was involved but that with


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10:14:37    1    time -- the passage of time, he came to trust and rely on her

10:14:41    2    more; is that right?

10:14:42    3    A.    Correct.

10:14:42    4    Q.    Okay.    So this is before Tempting Dash.       This is before any

10:14:47    5    of these horses that we're talking about here in this courtroom

10:14:50    6    today, right?

10:14:50    7    A.    Yes.

10:14:51    8    Q.    And this individual, Jaime Torres, who is that?

10:14:54    9    A.    He was one of the owners.

10:14:55   10    Q.    Okay.    And, more specifically, he was one of Jesus Huitron's

10:15:01   11    friends, right?

10:15:02   12    A.    Yes.

10:15:03   13    Q.    And wasn't just some random owner who showed up and wanted

10:15:06   14    to have his horses trained, was it?

10:15:09   15    A.    Correct.    He always got a little special treatment.

10:15:11   16    Q.    Now, I want to look at the second page here and these are

10:15:18   17    the invoices that are attached.        We see this is to -- this is an

10:15:22   18    invoice to Jaime Torres, who lives on Springdale in Austin,

10:15:28   19    Texas.    Do you see that right there --

10:15:29   20    A.    Yes.

10:15:29   21    Q.    -- at the top?     Okay.   And then, right back here, right down

10:15:32   22    here at the bottom, it says -- what does it say right there?

10:15:35   23    A.    Huitron's half.

10:15:37   24    Q.    And over here?

10:15:38   25    A.    Negative 520.


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10:15:41    1    Q.    And let's go to the next page.

10:15:45    2    A.    Huitron's half.     Negative 1,065.50.

10:15:51    3    Q.    Next page?

10:15:52    4    A.    Huitron's one third, Jesus Huitron's one third.

10:15:56    5    Q.    And on the next passage, does it show the same thing?

10:15:59    6    A.    Jesus Huitron's half.

10:16:00    7    Q.    And again -- and on that last page.         But it appears that --

10:16:12    8    you would agree with me that it appears that she's referring to

10:16:14    9    her dad here because he has a half interest in this horse, right?

10:16:19   10    A.    Yes.

10:16:20   11    Q.    And so, obviously he is going to be vested and interested in

10:16:24   12    the invoices, right?

10:16:26   13    A.    Yes.

10:16:26   14    Q.    Was he this concerned and interested in every single horse

10:16:29   15    that came through that facility?

10:16:30   16    A.    He was that interested in business in general.          But no.   He

10:16:36   17    wasn't that --

10:16:36   18    Q.    Would Jessica communicate in this same manner regarding

10:16:40   19    every single horse that came through there?

10:16:41   20    A.    No.

10:16:42   21    Q.    No further questions.

10:16:47   22                 THE COURT:   Anybody else have any questions?

10:16:49   23                 MR. GARDNER:    Based on that, your Honor, I have no

10:16:50   24    further questions.

10:16:51   25                 THE COURT:   May the witness be excused?


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10:16:53    1                MR. GARDNER:     No objection, your Honor.

10:16:54    2                MR. ESPER:    Yes.

10:16:55    3                THE COURT:    You may be excused, ma'am.

10:17:03    4                Members of the jury, I want to give you your morning

10:17:07    5    recess.    Fifteen minutes.      Use the facilities.     Be ready to come

10:17:12    6    back.

10:17:49    7                (Jury not present.)

10:17:49    8                THE COURT:    Fifteen-minute recess.

10:17:52    9                (Recess.)

10:30:16   10                MR. FINN:    Your Honor, before the jury comes in, would

10:30:17   11    you ask the government about the State Department, whether or not

10:30:19   12    they called, please?

10:31:05   13                (Jury present.)

10:31:27   14                THE COURT:    I'll have counsel up here, please.

10:31:32   15                (At the bench, on the record.)

10:31:40   16                THE COURT:    Mr. Finn has inquired if you have heard

10:31:44   17    anything.

10:31:45   18                MR. GARDNER:     I've got the attaché in Mexico.      There's

10:31:52   19    no NCIC in Mexico to confirm the presence of an arrest warrant.

10:31:56   20    DOJ has no authority to request the State Department obtain

10:32:01   21    documents in Mexico.

10:32:02   22                MS. FERNALD:     Mr. Gardner, you're going to have to

10:32:04   23    speak --

10:32:06   24                MR. GARDNER:     Excuse me, Mr. DeGeurin.

10:32:10   25                The attaché says the Court, assume you, your Honor,


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10:32:13    1    have the authority to make such request pursuant to Title 28

10:32:16    2    U.S.C. 1781 through the use of letters rogatory from U.S. court

10:32:21    3    to Mexican court.      This process is lengthy.      MLAT is the method

10:32:27    4    by which DOJ obtains information from Mexico for criminal

10:32:30    5    prosecutions.     And obviously, your Honor, I did not request an

10:32:33    6    MLAT, based on what was recently discovered.          And recently,

10:32:37    7    Mexico would remind the U.S. that the MLAT process was the

10:32:41    8    exclusive method by which we, meaning the government, could

10:32:44    9    obtain information from Mexico for criminal prosecutions.

10:32:48   10                 The treaty expressly excludes assistance to private

10:32:55   11    parties in Mexico.       They do not oblige to provide it.        That's our

10:33:00   12    answer from our attaché.

10:33:02   13                 THE COURT:    Okay.

10:33:19   14                 MR. MAYR:    Judge, for the record, I know that opposing

10:33:23   15    counsel was given an opportunity to raise the objections to

10:33:27   16    Defendant's Exhibit JH-4, but I don't know if I actually formally

10:33:30   17    offered and if it was admitted by you.         So I'd like to do that at

10:33:34   18    this time.

10:33:34   19                 MS. FERNALD:    No objection, your Honor.

10:33:35   20                 THE COURT:    Okay.   J-4 is admitted.     Mr. Mayr, you may

10:33:42   21    make your opening statement if you're going to present any

10:33:44   22    evidence.

10:33:45   23                 MR. MAYR:    I believe Mr. Esper still has his case open,

10:33:47   24    your Honor.

10:33:48   25                 THE COURT:    Oh, I'm sorry.    Do you have an additional


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10:33:50    1    witness?

10:33:51    2                 MR. ESPER:   Yes, your Honor.      Mr. Gardner and I have

10:33:56    3    agreed to a stipulation, with apologies to the jury.              We have

10:34:01    4    Exhibits EH-20A through Z that we've by stipulation agreed to

10:34:08    5    have admitted.

10:34:09    6                 THE COURT:   20A through Z?

10:34:12    7                 MR. ESPER:   Yes.     EH-20A through Z, 27 boxes of

10:34:18    8    documents that were seized pursuant to a search warrant issued at

10:34:23    9    Huitron Homes.     And with the Court's permission, we can have

10:34:27   10    those boxes brought later on, because I still have to tag them.

10:34:33   11                 MR. GARDNER:    No objection, your Honor.

10:34:34   12                 THE COURT:   Okay.    All right.   A through Z being

10:34:42   13    documents taken at a search warrant will be admitted.             EH-20A

10:34:51   14    through Z.

10:34:52   15                 MR. ESPER:   Correct, your Honor.      And with that, the

10:34:54   16    Defendant Eusevio Huitron rests, your Honor.

10:34:57   17                 THE COURT:   Now, Mr. Mayr.

10:35:00   18                 MR. MAYR:    Thank you, your Honor.     Ms. Sims, could you

10:35:04   19    drop the screen?      Thank you.

10:35:08   20    DEFENDANT JESSE HUITRON'S OPENING STATEMENTS

10:35:15   21                 MR. MAYR:    If it please the Court, opposing counsel.

10:35:18   22    Ladies and gentlemen of the jury, it's finally my time but --

10:35:22   23                 THE COURT:   And your time's at the lectern, too.

10:35:24   24                 MR. MAYR:    Oh, thank you.

10:35:27   25                 THE COURT:   You could move around the jury, but don't


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10:35:30    1    get any closer than that table.

10:35:33    2                MR. MAYR:    Fair enough.

10:35:34    3                It is my time, but I'm not going to take too much of

10:35:38    4    it.    You've heard a lot of the evidence in the case, and this is

10:35:41    5    what I would tell you in my opening statement.           This man right

10:35:44    6    here is my client, Jesus Maldonado-Huitron.          He is an innocent

10:35:49    7    man.    He's not a Zeta.     He's not a drug dealer.      He is not a

10:35:55    8    money launderer.

10:35:56    9                THE COURT:     And this is not time for argument.      This is

10:35:58   10    an opening statement.      If you have an opening statement, please

10:36:01   11    make it.

10:36:01   12                MR. MAYR:    I will.

10:36:02   13                What the evidence will show, ladies and gentlemen, is

10:36:04   14    -- some of it has already shown is that he is a home builder.

10:36:09   15    You're going to hear from two witnesses who work with him in the

10:36:13   16    home-building business, two realtors who represented him in real

10:36:18   17    estate transactions for all of the homes that he built and sold,

10:36:22   18    and they will tell you about the intricacies involved and

10:36:26   19    everything that he did in that process.

10:36:28   20                And what you will hear from them is that his commitment

10:36:31   21    is not to the horse-racing business.         His commitment is to his

10:36:34   22    home-building business.       And that he was never at his office

10:36:39   23    looking over every single thing that came through.           That he was,

10:36:43   24    in fact, out in the field working on his homes.

10:36:46   25                You'll hear that, like you've already heard, he wasn't


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10:36:50    1    a well-educated man, but he was very good at building homes.            But

10:36:55    2    you'll hear from them how he put trust in other people, like

10:36:58    3    themselves, to handle the intricacies of the real estate

10:37:02    4    transactions.     He had no idea what an origination fee was, what

10:37:06    5    certain terms were in the contract, but he questioned other

10:37:10    6    people, just like he put his trust in his daughter.           But his

10:37:14    7    commitment was to the home building.         That's what the evidence

10:37:16    8    will show.

10:37:20    9                 Ladies and gentlemen, the evidence in this case has

10:37:22   10    shown that the Zetas are committed to destroying lives.           The

10:37:26   11    evidence that I will present will show that my client is

10:37:29   12    committed to helping build people's lives.          Thank you, your

10:37:32   13    Honor.

10:37:33   14                 THE COURT:   Call your witness.

10:37:35   15                 MR. MAYR:    Your Honor, we could call Harry Casler to

10:37:37   16    the stand.

10:38:10   17                 THE COURT:   If you'll come forward.       This is Mrs. Sims.

10:38:12   18    She's going to administer an oath to you, sir.

10:38:15   19                 (Witness sworn.)

10:38:33   20                 THE COURT:   Just tell us your full name, please, sir.

10:38:35   21                 THE WITNESS:    My name is Harry John Casler.

10:38:37   22                 THE COURT:   Spell your last, please.

10:38:39   23                 THE WITNESS:    Spell my name, sir?

10:38:40   24                 THE COURT:   Just your last.

10:38:41   25                 THE WITNESS:    C-A-S-L-E-R.


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10:38:44    1                  THE COURT:   You may proceed.

10:38:45    2          HARRY J. CASLER, called by the Defendant, duly sworn.

10:38:45    3                               DIRECT EXAMINATION

10:38:45    4    BY MR. MAYR:

10:38:46    5    Q.    Thank you, your Honor.

10:38:47    6                  Good morning, Mr. Casler.

10:38:49    7    A.    Hi.

10:38:49    8    Q.    Would you please introduce yourself to the ladies and

10:38:52    9    gentlemen of the jury and just tell them a little bit about

10:38:54   10    yourself?

10:38:55   11    A.    Okay.    Where I came from.     Again, my name is Harry Casler.

10:39:00   12    I'm originally from upstate New York.         I grew up at a dairy farm

10:39:04   13    milking cows as a kid and pursued my -- in my late 20s, finished

10:39:09   14    college and came to Texas, worked for the government for a couple

10:39:12   15    of years in North Texas.       Pursued a career in restaurant industry

10:39:17   16    and then, finally, entered the real estate business in 1998,

10:39:23   17    which I am today.

10:39:23   18    Q.    Tell us a little bit about your involvement in the real

10:39:25   19    estate business.

10:39:26   20    A.    Well, I'm currently a real estate broker out of my home.         I

10:39:30   21    used to be with Keller Williams for 10 years.          Since 1998 to

10:39:35   22    2008, I was with Keller Williams realty, got my broker's license,

10:39:39   23    and basically semiretired now.

10:39:41   24    Q.    All right.    Tell the ladies and gentlemen of the jury how

10:39:44   25    you know Jesus Huitron.


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10:39:46    1    A.    I met Jesse or Jesus -- I know him as Jesse -- in the middle

10:39:52    2    of 1998.    I was brand new in doing real estate.         I was a licensed

10:40:00    3    -- been licensed since 1989.         Finally, nine years later, went

10:40:04    4    into the business full-time.         And in my first year, a lot of

10:40:11    5    training that I had was to find listings to sell, and my very

10:40:16    6    first listing was in southeast Austin.         And there was this cute

10:40:21    7    little house around the corner, which it was a new home.          I had a

10:40:26    8    three-year-old resell home.       And people used to say -- they'd

10:40:29    9    come to my open houses and say, what's that house around the

10:40:32   10    corner?    They said, well, let's go look at it.         I could sell that

10:40:35   11    one, too.

10:40:36   12                So we would go look at it and it was listed with

10:40:38   13    another brokerage.      And then, it had a, we call, expired listing

10:40:43   14    when we can solicit listings from people that want to sell their

10:40:46   15    homes.    And the Huitron home --

10:40:49   16                THE COURT:    Let's go back to asking questions.

10:40:51   17                MR. MAYR:    Sure.

10:40:53   18                THE COURT:    And, sir, if you'll listen to the question

10:40:55   19    and just answer the question, then we won't be here for a month

10:40:57   20    or two.

10:40:58   21                THE WITNESS:     Okay.

10:40:58   22                THE COURT:    All right.

10:40:59   23    Q.    (BY MR. MAYR) And I think you're right about to get to the

10:41:01   24    answer.

10:41:02   25    A.    I was.


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10:41:02    1    Q.    Tell us.

10:41:03    2    A.    I called Mr. Huitron and tried to solicit the business.           I

10:41:08    3    wanted some business.      And so, that's how I initiated the call

10:41:12    4    and met him.

10:41:12    5    Q.    All right.    And was this a home that he had built or a home

10:41:16    6    that he had purchased?

10:41:18    7    A.    It was under the name of Huitron Homes, so it was a new

10:41:21    8    constructed home.      Newly constructed home.      It was a vacant lot

10:41:25    9    that he previously purchased and built the home.

10:41:27   10    Q.    How approachable was he when you first came into contact

10:41:30   11    with him?

10:41:30   12    A.    A little -- I remember on the phone, it was okay.           He said,

10:41:35   13    well, he was going to stay with the same realtor he was with that

10:41:38   14    had accidentally let it expire.        But the next day, he called me,

10:41:41   15    said, come talk to me and I did.        Evidently, I don't, to this

10:41:46   16    day, know what happened to the other realtor.          I did meet him

10:41:50   17    later.    But I don't know what happened to their relationship, but

10:41:52   18    he was willing to give me a try.

10:41:54   19    Q.    Sure.    And from there, is it safe to say your all

10:41:59   20    relationship grew?

10:41:59   21    A.    Oh, yeah.    Again, initially, we had a language barrier.         I

10:42:05   22    speak very little Spanish.       Virtually, I cannot construct

10:42:08   23    sentences in Spanish.      I hear key words.      Again, brought up near

10:42:13   24    Canada, I did not grow up near here, and I don't find it easy to

10:42:16   25    learn the language.      But Jesse speaks broken English and people


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10:42:21    1    used to say, how do you understand?         I said, well, you listen.

10:42:25    2    Takes a little extra time, but we would communicate.              So there

10:42:30    3    was official communication problem, which we would get through

10:42:32    4    through a lot of discussion.

10:42:34    5    Q.      But eventually, despite the language barrier, you were able

10:42:39    6    to develop a good, going relationship with him.

10:42:40    7    A.      Very much so.    Well, as I mentioned, I grew up on a dairy

10:42:44    8    farm, and I know what a strong work ethic is.

10:42:47    9    Q.      Mr. Casler, let me stop you there so we could keep

10:42:51   10    everything in question-and-answer format.

10:42:53   11                    As your relationship with him grew, your business

10:42:56   12    relationship with him grew, did you sort of develop a personal

10:42:58   13    relationship with him and his family?

10:43:00   14    A.      Yes, because many of the transactions -- because we started

10:43:04   15    with that one home and then, Jesse started -- or Huitron Homes

10:43:06   16    started building more and I would get the listings, and most of

10:43:10   17    the communication was done either onsite or at Jesse's personal

10:43:15   18    home.

10:43:15   19    Q.      Okay.    I'm going to show you what's been previously admitted

10:43:18   20    as JH No. 4, Defendant's Exhibit JH-4.         Do you recognize that?

10:43:23   21    A.      I do.

10:43:23   22    Q.      Is that his home?

10:43:25   23    A.      It is.

10:43:27   24    Q.      We see the outside.    Can you just tell us, first of all, who

10:43:30   25    all lives in that house?


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10:43:34    1    A.    When I would arrive there with offers on the homes that we

10:43:37    2    had listed, usually his wife and his lovely daughter Ashley was

10:43:44    3    there, and occasionally one of his other sons would be there, and

10:43:48    4    I believe he has stepsons, which I would see.          Didn't know them

10:43:53    5    real well, but I could see them there in that home.

10:43:55    6    Q.    And a total how many children does he have, whether stepsons

10:44:01    7    or not?

10:44:02    8    A.    To my knowledge, he had nine with his first wife, one with

10:44:05    9    his second wife, and I believe she has two stepsons.

10:44:08   10    Q.    Okay.

10:44:09   11    A.    He has two stepsons of hers.

10:44:10   12    Q.    And does he support all of those children?

10:44:13   13    A.    I don't really know.

10:44:16   14    Q.    Okay.    Fair enough.

10:44:17   15    A.    I assume so.     They lived in his home.      They ate well.

10:44:20   16    Q.    How much time would you spend with him -- let's just focus

10:44:25   17    on a personal level.      How much time would you spend with him and

10:44:27   18    his family on a personal level?        Are we talking like maybe once

10:44:31   19    every six months?      Every week?    What are we talking about?

10:44:33   20    A.    I would be at his home maybe every couple of months.           Yeah,

10:44:38   21    maybe every two or three months.        But we did most of our

10:44:44   22    communication onsite, too.

10:44:45   23    Q.    And we're going to get to that in a second.          Let's talk

10:44:47   24    about your business dealings with him.

10:44:50   25                  How often -- as the relationship grew, just so we're


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10:44:56    1    clear with the jury, what was your -- the nature of your

10:44:58    2    relationship with Mr. Huitron and his business dealings?

10:45:03    3    A.    I'm not sure I understand the question.

10:45:05    4    Q.    Were you his broker?      Were you representing him?        What was

10:45:08    5    your role?

10:45:09    6    A.    My main role with him was as his real estate agent and then,

10:45:13    7    later, broker.     Yes, he was my client.

10:45:14    8    Q.    How often did you have these sort of transactions where you

10:45:18    9    were dealing with him?

10:45:21   10    A.    Almost on a daily basis at least by phone.

10:45:23   11    Q.    All right.

10:45:24   12    A.    Multiple times.

10:45:25   13    Q.    And just so we've got a good time period in which you're

10:45:28   14    working for him, this is beginning in 1998 all the way to 2010?

10:45:32   15    A.    That's correct.

10:45:33   16    Q.    All right.    Daily contact with him?

10:45:36   17    A.    Virtually daily.     Occasionally, it would be a couple of days

10:45:40   18    wouldn't talk to each other, but that was rare.

10:45:41   19    Q.    All right.    When you did talk with him -- or when you did

10:45:45   20    interact with him, what was he doing?

10:45:48   21    A.    Usually busy coordinating subcontractors, following through,

10:45:54   22    needing things that I would need to provide or I would need from

10:46:00   23    him, documentation, things like that.

10:46:02   24    Q.    Now, you know that he maintained an office over on Highway

10:46:07   25    183 by the airport; is that right?


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10:46:09    1    A.    Yes.

10:46:09    2    Q.    How often were you at his office working on business

10:46:11    3    transactions?

10:46:14    4    A.    Very rarely.     I was there -- I couldn't give you a time.           I

10:46:19    5    mean, if I was at that office three times a year, maybe.

10:46:23    6    Q.    Okay.    And to your knowledge, how often was he in that

10:46:28    7    office?

10:46:29    8    A.    Not very often because I would see him, we were doing a lot

10:46:32    9    work into remote areas around Austin, like the city of Kyle and

10:46:35   10    places like that, that we were doing a lot of -- he was doing a

10:46:38   11    lot of constructing and I was around there to be the real estate

10:46:45   12    agent and do my work.

10:46:46   13    Q.    You mentioned a little bit earlier about him always being at

10:46:49   14    the job site.

10:46:50   15    A.    Frequently.

10:46:51   16    Q.    Explain -- describe what he is doing at these job sites.

10:46:56   17    A.    He is coordinating his subcontractors in which there were

10:47:01   18    many that would appear on the scene.         He would make sure that

10:47:07   19    they were doing the work and the quality that he was expecting

10:47:09   20    for his soon-to-be customers buying the homes.           Mainly that.   And

10:47:19   21    we would discuss future projects, trying to find other lots to

10:47:23   22    build on things like that would come up.

10:47:25   23    Q.    When it comes to the manual labor, would he get involved in

10:47:28   24    that or was he letting his subcontractors handle that?            Or what

10:47:31   25    was his level of physical involvement?


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10:47:33    1    A.    In most cases, the subcontractors would do the work, and he

10:47:37    2    would just inspect the work and maybe offer advice.           But many

10:47:41    3    times, Jesse and I, I along with him as we became friends, also,

10:47:49    4    we've been at homes as late as midnight getting them ready for

10:47:52    5    the next day closing, whether it be sweeping.          I mean, he and I

10:47:55    6    have been on the streets sweeping the streets, sidewalks, cutting

10:47:57    7    the grass, making sure everything was perfect, and we would work

10:48:01    8    so he would do it, as well.

10:48:02    9    Q.    Let's go ahead and move on and talk to that actual process

10:48:06   10    of selling the actual home.

10:48:08   11    A.    Uh-huh.

10:48:09   12    Q.    None of the jurors, I believe, are in real estate.          I think

10:48:12   13    they all own their own homes.        But just so it's clear and the

10:48:15   14    record is clear, just briefly take us through the steps in

10:48:21   15    assisting Mr. Huitron in selling one of his homes.

10:48:26   16    A.    Once they are under construction or near completion is when

10:48:30   17    we would decide that -- he would decide on my advice to wait till

10:48:35   18    they were nearly finished to put them up for sale because we were

10:48:38   19    concerned about safety, people walking on the properties.           Once

10:48:41   20    they were on the market listed in the MLS -- and I could say for

10:48:45   21    probably eight of the ten years I worked with Huitron Homes, that

10:48:50   22    every one of his homes were listed were sold within 30 days upon

10:48:54   23    completion because he built such a good quality product it was

10:48:57   24    great for me because --

10:48:58   25                THE COURT:    Well, I'm very happy about that.


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10:48:59    1                    THE WITNESS:   I'm sorry.

10:49:00    2                    THE COURT:   I want you to listen to the question and

10:49:01    3    answer the question.         We've been in this room for a great many

10:49:06    4    days.

10:49:08    5                    THE WITNESS:   I'm sorry.

10:49:08    6                    THE COURT:   And if you'll just listen to the question

10:49:10    7    and answer the question.        See all of these people, they're all

10:49:13    8    lawyers, and they're all going to get to ask you questions.

10:49:15    9                    THE WITNESS:   Okay.

10:49:16   10                    THE COURT:   So let's --

10:49:18   11                    THE WITNESS:   I'll try to do better.    I'm sorry, sir.

10:49:20   12    Q.      (BY MR. MAYR) I'm going to try to guide you just a little

10:49:24   13    bit.    If you could listen to my question, Mr. Casler.

10:49:26   14                    When we get the actual sale process.

10:49:29   15    A.      Okay.

10:49:29   16    Q.      How involved are you in working with Jesse once there's an

10:49:34   17    offer made on the home?

10:49:35   18    A.      Very involved.

10:49:36   19    Q.      Okay.    And then, going through there's an actual closing?

10:49:40   20    A.      Yes.

10:49:40   21    Q.      Would Jesse and you go to closing together?

10:49:42   22    A.      Yes.    Always.

10:49:44   23    Q.      All right.    Now, would you interact with the home buyers?

10:49:54   24    Would he interact with the home buyers?

10:49:55   25    A.      Yes.


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10:49:56    1    Q.    Both of y'all would?

10:49:56    2    A.    Yes.

10:49:57    3    Q.    How is he in interacting with customers buying his homes?

10:50:03    4    A.    Excellent.

10:50:04    5    Q.    All right.    When we get to the actual closings and you're

10:50:12    6    going through the real estate transactions, I don't want to have

10:50:14    7    to go through the details.       But there's a lot of documents

10:50:17    8    involved --

10:50:18    9    A.    There is.

10:50:18   10    Q.    -- is that correct?      Is Mr. Huitron -- is Jesse, is he the

10:50:24   11    type of person that would go through with the fine-toothed comb

10:50:28   12    and read every single one of these documents that were part of

10:50:31   13    the real estate transaction?

10:50:32   14    A.    He did not.

10:50:33   15    Q.    Why not?

10:50:34   16    A.    He trusted me.

10:50:37   17    Q.    Did it appear to you that he understood the meaning of all

10:50:44   18    of the things associated with selling one of his homes, at least

10:50:46   19    from the financial aspect?

10:50:48   20    A.    Certainly from the financial aspect.         We have very lengthy,

10:50:53   21    24-paragraph contracts that we go over.         To my knowledge, I'm not

10:50:59   22    sure Jesse could read those legal documents and understand them.

10:51:03   23    I would paraphrase them for him.        Of course, we had a lot of

10:51:06   24    repeat similar contracts, and he really trusted me to whether

10:51:15   25    that was -- whether he should sign it or not.


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10:51:18    1    Q.    So you would -- he would rely on you heavily?

10:51:22    2    A.    Very much so.     Yes.

10:51:24    3    Q.    In terms of the financing, or anything else, does he

10:51:31    4    understand things like APR, and interest rates, and origination

10:51:36    5    fees, and what all of those things meant, in dealing with the

10:51:39    6    real estate transactions?

10:51:41    7    A.    I don't know what he understood.        But I know that he never

10:51:44    8    talked about those items too much other than dollars and cents.

10:51:48    9    Q.    Bottom line is what it all --

10:51:50   10    A.    Yeah.    And how we got to there.

10:51:57   11    Q.    Would he often come to you and ask you, hey, what's this for

10:52:02   12    or what's this for?      Did he ever do that in dealing with these

10:52:06   13    transactions?

10:52:06   14    A.    Not a lot.    On occasion, when there was an unexpected amount

10:52:10   15    of money being deducted or if it was a cost of his, he might ask,

10:52:15   16    and I would explain the situation the best I could.

10:52:18   17    Q.    Otherwise, he just left it in your hands.

10:52:20   18    A.    He pretty much left it in my hands, whether that would be

10:52:23   19    good or not.

10:52:24   20    Q.    Very capable hands, correct?

10:52:25   21    A.    I think so.     I think he thought so.      And I hope I gave -- I

10:52:29   22    did gain his trust.

10:52:31   23    Q.    Now, let's move away a little bit from the -- your dealings

10:52:36   24    with -- well, what sort of drew your dealings with Mr. Huitron to

10:52:42   25    a close?    Why don't you explain to the jury?


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10:52:44    1    A.      I've had four heart attacks, three of which before 2010 and

10:52:50    2    which compromised my ability to work as much as I do or did.           And

10:52:54    3    real estate is a demanding profession and a lot of stress

10:52:59    4    involved and not just with Jesse but I have other clients, too.

10:53:02    5    Q.      And so, if I could just interrupt.

10:53:04    6    A.      Yes.

10:53:04    7    Q.      So basically there were no bad dealings, or anything else,

10:53:08    8    that led you to cease selling homes?

10:53:11    9    A.      Oh, no.    It was a sad day.

10:53:12   10    Q.      Okay.

10:53:13   11    A.      In fact, I gave him a two-month notice, please find someone

10:53:15   12    else.    I've got to go.

10:53:18   13    Q.      All right.    Now, it's safe to say you have, however,

10:53:23   14    continued to maintain very close relationship with Mr. Huitron?

10:53:27   15    A.      I have.    He's my friend.

10:53:28   16    Q.      Okay.    In your personal interaction with him, have you seen

10:53:37   17    anything -- actually, strike that question.          Let's just talk

10:53:41   18    about the horses.

10:53:41   19                    You do know being his friend that he is involved with

10:53:44   20    horses; is that right?

10:53:45   21    A.      I had heard that.    Yes.

10:53:46   22    Q.      Have you, in all this time that you've known him, all the

10:53:51   23    time that you've been a friend, all those times you've been out

10:53:53   24    to his house here on Seeling, did you ever go out to the horse

10:53:56   25    ranch out in Dale, Texas?


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10:53:57    1    A.    Never.    I've never been to Dale, Texas.

10:53:59    2    Q.    How often would Jesse talk about the horses, or the

10:54:03    3    horse-racing business, or anything else like that?

10:54:05    4    A.    Very rarely.     I remember one day, he had his beat-up pickup

10:54:10    5    truck that he always drove and he had some hay in the back.           He

10:54:13    6    said, well, I've got to run some hay out to the ranch.            That's

10:54:15    7    about the only time I've -- he never really talked about it to

10:54:19    8    me.

10:54:19    9    Q.    Fair enough.     I'm going to ask you if you have an opinion as

10:54:24   10    to whether or not Mr. Huitron's, Jesse's primary focus in his

10:54:33   11    daily life was building homes or dealing with the horses.           Do you

10:54:37   12    have an opinion about that?

10:54:38   13    A.    I have -- yeah, I do.      His daily life was building homes.

10:54:47   14    Q.    I'll pass the witness, your Honor.

10:54:56   15                 MS. WILLIAMS:    No questions.

10:54:58   16                 MR. WOMACK:    No questions.

10:55:03   17                 MR. SANCHEZ:    No questions.

10:55:03   18                 THE COURT:    Mr. Esper.

10:55:05   19                 MR. ESPER:    None, your Honor.

10:55:06   20                 MS. FERNALD:    The government doesn't have any

10:55:07   21    questions.

10:55:07   22                 THE COURT:    May Mr. Casler be excused?      You could be

10:55:10   23    excused.    Thank you, sir.

10:55:11   24                 THE WITNESS:    Thank you, sir.

10:55:13   25                 THE COURT:    Call your next witness.


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10:55:15    1                   MR. MAYR:    Thank you, your Honor.   I would call Ruby

10:55:17    2    Segura to the stand.

10:55:41    3                   THE COURT:    This is Mrs. Sims.   She's going to

10:55:43    4    administer an oath to you.

10:55:44    5                   (Witness sworn.)

10:55:59    6                   THE COURT:    Tell me your full name and your last name,

10:56:13    7    spell.

10:56:14    8                   THE WITNESS:    My full name is Ruby Ann Segura.

10:56:17    9                   THE COURT:    Would you spell your last name?

10:56:18   10                   THE WITNESS:    My last name is S-E-G-U-R-A.

10:56:20   11                   THE COURT:    You may proceed.

10:56:22   12           RUBY A. SEGURA, called by the Defendant, duly sworn.

10:56:22   13                                DIRECT EXAMINATION

10:56:22   14    BY MR. MAYR:

10:56:22   15    Q.     Thank you, your Honor.

10:56:23   16                   Ms. Segura, would you turn to the jury and introduce

10:56:25   17    yourself and just tell them just a little bit about yourself and

10:56:27   18    your background?

10:56:28   19    A.     Sure.    Good morning.     My name is Ruby Segura.    I was born in

10:56:31   20    San Antonio, Texas.         We moved to Austin when I was four years

10:56:35   21    old.     Been a resident of Austin for the past 50 years.         I never

10:56:39   22    left Austin.      I'm a graduate of St. Edwards University with a

10:56:42   23    degree in bilingual education.         I worked for the Austin

10:56:45   24    Independent School District for a brief period of time as a

10:56:48   25    consultant and, also, as a first-grade bilingual teacher.            And I


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10:56:54    1    had numerous sales jobs in -- after I left the district.

10:56:58    2                 Then went to work in a family business for many years.

10:57:03    3    And in 2005, I went to -- I went into real estate.           I got my real

10:57:08    4    estate license and went to work for Caldwell Banker, United

10:57:13    5    Realtors as an agent out of the office.         I've been the top agent

10:57:18    6    in the south market for the past six of almost eight years and

10:57:24    7    have had a very -- a very rewarding experience as a realtor in

10:57:27    8    the Austin community.

10:57:28    9                 I'm also a volunteer.     I'm a reading tutor at -- this

10:57:34   10    year, at Patton Elementary School.         I've volunteered at numerous

10:57:37   11    schools and that's always been a passion of mine is to help

10:57:40   12    children in the earlier years of their educational experience

10:57:44   13    learn to read.     So I work, I volunteer with struggling elementary

10:57:48   14    school students.

10:57:48   15    Q.      Ms. Segura, tell the ladies and gentlemen of the jury how

10:57:51   16    you know Jesus Huitron.

10:57:53   17    A.      I know Jesus Huitron as I was his realtor from September of

10:58:00   18    2010.    He worked with -- Harry Casler was his agent for many

10:58:06   19    years.    I represented numerous buyers that built -- that bought

10:58:12   20    homes that Huitron Homes built, that Jesse built.           And as a

10:58:18   21    result of the relationship with Harry, got to know Jesse, of

10:58:23   22    course, because he was the builder and he's very hands-on.             So I

10:58:26   23    worked with very closely with him in transaction.

10:58:30   24    Q.      And, Ms. Segura, let me just ask you really quick just to

10:58:33   25    follow up on something.       You said that you would represent buyers


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10:58:36    1    buying homes that he built.       Would you also represent him in

10:58:40    2    homes that he built selling them to other buyers?

10:58:42    3    A.    I did.    I did and that was after -- that was after Harry

10:58:47    4    Casler retired as his realtor of about twelve years.              He had an

10:58:51    5    agent by the name of Lexy Graham with -- I believe it was Member

10:58:57    6    & Associates out of Elgin.

10:58:58    7    Q.    And that's actually Tyler Graham's wife, correct?

10:59:01    8    A.    Yes.     That is.

10:59:01    9    Q.    So then, after her, he came to you, correct?

10:59:04   10    A.    Correct.

10:59:05   11    Q.    All right.

10:59:05   12    A.    Yes.     For whatever reason, he decided to change brokerages

10:59:11   13    and he contacted me, and those listings were terminated; and

10:59:17   14    then, as a result of that, I became his listing agent.

10:59:21   15    Q.    In total, how many homes would you say -- first of all, to

10:59:25   16    your knowledge, how long has Jesse Huitron -- and you know him as

10:59:29   17    Jesse, right?

10:59:29   18    A.    Yes.     I know him as Jesse.

10:59:31   19    Q.    How -- in all the time that you've known him or to your

10:59:34   20    knowledge, how many homes has he built in the Austin area?

10:59:36   21    A.    Gosh, I don't know that number because I wasn't in real

10:59:43   22    estate as long as he's been a builder in Austin.           I know for a

10:59:47   23    fact in the Woodlands Park area in Kyle and in Four Seasons in

10:59:52   24    Kyle, I would say a minimum of at least 20 homes just in those

10:59:58   25    two communities.


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10:59:59    1    Q.      Okay.   And the homes that he built, where does he normally

11:00:05    2    build his homes?

11:00:05    3    A.      Normally his original business plan was to find and fill

11:00:10    4    lots in Austin, in the Austin area, so he would find lots in

11:00:15    5    Austin in existing neighborhoods, and he did that.           He also did

11:00:19    6    custom built homes for people wherever they owned a lot already,

11:00:23    7    he would build on their lot.        And he purchased several lots in

11:00:27    8    the Woodlands Park -- I'm sorry, Woodland Hill neighborhood in

11:00:34    9    Kyle, off of 150, and, also, in the Four Seasons neighborhood in

11:00:37   10    Kyle.

11:00:38   11    Q.      What types of homes are these that he would build?

11:00:41   12    A.      Any characteristic of the product that Jesse built was a

11:00:44   13    very -- it was an affordable home, but it had the finishes of a

11:00:48   14    custom home.      He put crown molding, higher ceilings, upgraded

11:00:53   15    fixtures, solid good cabinetry.        So it was not a spec home.     They

11:00:59   16    were built on speculation, for the most part, but they weren't

11:01:03   17    your typical spec home.

11:01:07   18    Q.      What was your involvement in the home-building process?         In

11:01:13   19    other words, would you see him actually building these homes?

11:01:15   20    A.      Yes.    I would.

11:01:16   21    Q.      And what would you see when he was out there working on

11:01:19   22    these homes?

11:01:20   23    A.      Well, I would go by in the mornings at when the homes are

11:01:27   24    under construction, Jesse would be there in the mornings,

11:01:29   25    depending on what stage the house was in construction.            From the


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11:01:34    1    beginning when they're putting the forms up, Jesse was there.              He

11:01:37    2    was always there for the pour.        He would -- during framing, he

11:01:41    3    was there making sure that materials were delivered.              He was

11:01:45    4    always onsite.

11:01:47    5    Q.    Now --

11:01:48    6    A.    From the beginning to the end.

11:01:49    7    Q.    Now, you know that he had an office over on Highway 183 by

11:01:52    8    the airport; is that correct?

11:01:54    9    A.    Yes.     I do know that.

11:01:55   10    Q.    And how often -- first of all, how often would you go there

11:01:59   11    to meet with him to discuss financial aspects of selling or

11:02:02   12    buying one of his homes?

11:02:05   13    A.    To his office?

11:02:06   14    Q.    Yes.

11:02:07   15    A.    I went to his office maybe twice in the years that I've

11:02:11   16    worked for him.

11:02:12   17    Q.    All those other times that you've interacted with him, where

11:02:15   18    has it been?

11:02:15   19    A.    We always would meet at the homes, at the construction

11:02:18   20    sites, and we would meet at restaurants in Kyle.           Those were like

11:02:25   21    where we would have all of our build meetings.

11:02:27   22    Q.    And are we talking maybe just like a couple of times a

11:02:30   23    month?    Or what's the frequency?

11:02:31   24    A.    Oh, no.

11:02:32   25    Q.    How often?


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11:02:32    1    A.    The joke was that I had to blame Jesse for my weight gain

11:02:38    2    because we both had very busy schedules, and what we would do is

11:02:41    3    we would oftentimes have to meet for breakfast, or we would meet

11:02:43    4    at lunch, or sometimes it would be an early dinner, because we

11:02:47    5    worked very closely together in the construction of the homes.

11:02:50    6    Q.    I may not have asked this, but I just want to be clear.         How

11:02:54    7    often, to your knowledge, was he in his office?

11:02:55    8    A.    Was he in his office?      Never.    I mean, whenever I spoke to

11:03:01    9    him, he was calling me from -- he was either picking up

11:03:06   10    materials, ordering materials, or he was actually at the homes.

11:03:09   11    Q.    In total, Ms. Segura, how many homes have you been involved

11:03:15   12    with Mr. Huitron, either representing a seller buying one of his

11:03:19   13    homes or representing him selling his homes to customers?

11:03:22   14    A.    I would say about over the years, about 15.

11:03:26   15    Q.    Fifteen?

11:03:27   16    A.    Yes.    I think that's a very good estimate.

11:03:30   17    Q.    Okay.    Now, we've already heard a little bit about the steps

11:03:34   18    that would be involved in the real estate transaction process.

11:03:37   19    But just briefly describe what your involvement was with Jesse as

11:03:43   20    far as selling one of his homes.

11:03:45   21    A.    My role changed when I became his agent, as a female, I

11:03:52   22    thought there were certain changes that would help to better sell

11:03:55   23    his product.     And Jesse allowed me to -- he gave me the

11:04:01   24    opportunity to help him kind of tweak the houses and do some

11:04:05   25    things and changing some of the floor plans.          So I was involved


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11:04:08    1   from the very beginning to the very end.       I selected paint

11:04:13    2   colors, granite, stains of cabinets, the type of wood we were

11:04:18    3   going to use, tile, the direction the tile was going to be laid,

11:04:22    4   carpet, everything.     So that's why we met on a daily basis.

11:04:28    5   Q.      Was he the type of person who would micromanage everything

11:04:32    6   at one of these job sites?

11:04:33    7   A.      He micromanaged only in the sense -- no.     I wouldn't say.      I

11:04:39    8   take that back.     I don't think he was a micromanager.        He was

11:04:42    9   always there, but he wasn't telling his contractors.            He had -- I

11:04:47   10   would see the same faces every time the houses were being framed

11:04:50   11   or there was sheetrock or whatever stuff we were in.            He was

11:04:53   12   always there.     He was there working alongside them and overseeing

11:04:58   13   things.    But he allowed those people that worked for him in his

11:05:03   14   home construction.     We all did what we did best, and so, he let

11:05:07   15   us run with that.

11:05:08   16   Q.      In other words, just as he sort of placed his trust in you

11:05:10   17   to help with the design process, he put his trust in a lot of his

11:05:13   18   other employees?

11:05:14   19   A.      Yes.   If a plumber was going to show up, an electrician, he

11:05:18   20   was there to make sure that everyone was there on time and

11:05:20   21   everything was going according to schedule.        But he was not

11:05:23   22   telling them, you know, you have to hang a door a certain way or

11:05:27   23   I want something done.     He had very all, like, skilled workers.

11:05:33   24   Q.      I want to just kind of step aside for a second and just ask

11:05:35   25   this.    As far as your ability to communicate with him, do you


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11:05:39    1   speak Spanish?

11:05:40    2   A.   Yes.   I am bilingual.

11:05:41    3   Q.   And would you communicate with him in Spanish or in English?

11:05:44    4   A.   I would communicate with him in Spanish.        I felt that was

11:05:48    5   his -- I know that that's his dominant language.        And having the

11:05:52    6   background as a bilingual educator, I just would make sure we

11:05:57    7   never missed anything in getting the houses built.

11:05:59    8   Q.   As far as his ability to speak and communicate in English,

11:06:02    9   what can you tell the jury about that?

11:06:04   10   A.   About Jesse?

11:06:05   11   Q.   His ability to speak and communicate in the English

11:06:08   12   language?

11:06:09   13   A.   Jesse's able to communicate in English, but what we did was

11:06:13   14   as far as towards the end -- during construction, you have

11:06:19   15   walk-throughs and if the home is already under contract with

11:06:21   16   buyers, any builder does that.     And I would always be present

11:06:25   17   during the walk-throughs to make sure there was no

11:06:27   18   miscommunication to make sure the buyer's getting what they

11:06:30   19   wanted, and what their expectations were, and that we were

11:06:32   20   delivering the finished product according to what we were all in

11:06:36   21   agreement to at the beginning.

11:06:37   22               And when we would do a final walk-through and/or after

11:06:41   23   inspection, I would get the inspection report.        I would meet

11:06:46   24   Jesse at the house.    I would go over everything with him in

11:06:49   25   Spanish because I want to make sure that there was not an issue


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11:06:52    1   because he did warranty his homes.

11:06:55    2   Q.   That leads to a good question.      When you would go over

11:06:57    3   something like an inspection report with him, was he the type of

11:07:00    4   person that would go through it with a fine-toothed comb, or did

11:07:03    5   he rely upon you to kind of explain it to him to make sure

11:07:07    6   everything --

11:07:08    7   A.   No.    Actually, that's why he asked the inspection report to

11:07:11    8   come to me.     All of his homes were inspected before we would

11:07:16    9   close on them so that if there was any outstanding issues, he

11:07:19   10   would take care of it.    So he did not get the inspection report.

11:07:23   11   I got it, I would go over it with him.       I would make notes on it.

11:07:27   12   A lot of my notes would be in Spanish.       That way when he got with

11:07:30   13   the contractors, he was very clear on what it was that we needed

11:07:35   14   to have done to the house.

11:07:39   15   Q.   In terms of his spending in these homes, did you ever -- was

11:07:45   16   he making -- would he make extravagant purchases or unnecessary

11:07:50   17   expenses?    Expenses that you questioned when he was building

11:07:54   18   these homes?

11:07:55   19   A.   No.    I actually learned a lot by working for Jesse Huitron

11:07:58   20   because he ran a very, very lean, very well-thought-out

11:08:05   21   home-building business.

11:08:05   22   Q.   Okay.     Now, let's move on and let's talk about the actual

11:08:11   23   sale when an offer was made.     Fair to say that you're heavily

11:08:16   24   involved in guiding him through that process?

11:08:18   25   A.   Correct.


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11:08:19    1   Q.    In dealing with him, did he seem like -- he'd been doing

11:08:21    2   this for a while.    Did it seem that he understood and was

11:08:23    3   familiar with every single intricate detail of the real estate

11:08:27    4   transaction?

11:08:29    5   A.    I wouldn't say that he understood every single detail with

11:08:32    6   the real estate transaction because he relies so heavily on the

11:08:36    7   agents that he was in the relationship with to represent him in

11:08:41    8   the sale.

11:08:42    9   Q.    Would he sit and would he read through his contracts and

11:08:46   10   look over them with any degree of caution or anything like that?

11:08:50   11   A.    No.    That was my job that I took on in working with him as

11:08:55   12   his realtor.    I would go over all the points and give an

11:09:00   13   estimated net sheet, and he never would get the contract to read

11:09:05   14   it.   He would ask me, like, if we get an offer and I would call

11:09:10   15   him and tell him we got an offer, he would call me on the phone,

11:09:12   16   well, what's the meaning to the offer?       And I would give him just

11:09:17   17   the high points and then, go over the details with him in person.

11:09:21   18   Q.    And when you get to that closing, it's basically sign here,

11:09:25   19   sign here, sign here, and he would just do that because he

11:09:27   20   trusted you; is that right?

11:09:28   21   A.    Yes.    And he also has a very -- a longstanding relationship

11:09:32   22   with Gracy Title, and has closed every transaction that I ever

11:09:37   23   worked for him with with a very highly respected escrow officer

11:09:42   24   by the name of Enriqueta Reyes with Gracy Title out of Buda, and

11:09:47   25   she was also bilingual.    So his closings were in Spanish if we


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11:09:52    1   were closing along without the buyer present.

11:09:55    2   Q.      And the documents would be in English --

11:09:56    3   A.      Of course.

11:09:57    4   Q.      -- so you would have to explain to him --

11:09:59    5   A.      Everything has to be done in English.

11:10:02    6   Q.      All right.    Let's talk a little bit about his horses.   You

11:10:06    7   know that he has some interest in horses; is that right?

11:10:08    8   A.      Yes.

11:10:08    9   Q.      Tell the jury what your understanding is of -- or what do

11:10:11   10   you know about Jesse and his horses?

11:10:13   11   A.      Actually, very little.    He didn't -- we never really talked

11:10:17   12   about horses.       He was so into his home-building business that I

11:10:23   13   knew that they had horses, but I had no idea.        I knew very little

11:10:30   14   about it.       We just -- we didn't have that in common.

11:10:34   15   Q.      That's okay.    But you did actually help him or assisted him

11:10:39   16   in the purchase of some land to expand the ranch that they have

11:10:43   17   out there in Dale; is that right?

11:10:44   18   A.      Yes.    There was -- it was a neighbor.   It was an adjacent

11:10:48   19   property.       It was across the street, primarily in a flood plane.

11:10:51   20   And this property had been on the market for quite some time, off

11:10:55   21   and on.       And yes, I was his buyer's agent on that.

11:10:58   22   Q.      Is this some multi-million-dollar ritzy listing of property

11:11:02   23   here?

11:11:02   24   A.      No.    If I remember correctly, I think it was like $52,000

11:11:06   25   that the family just couldn't unload it.       It was land that would


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11:11:11    1   be of little use to somebody unless they had property across the

11:11:16    2   street.   And that that's very common in what I call in Spanish

11:11:20    3   are like ranchitos.    They're like small little ranches families

11:11:25    4   gather at on weekends.

11:11:26    5   Q.   And going out and being a part of this transaction, buying

11:11:29    6   the neighboring lot, you got to see the ranchito that they

11:11:33    7   already had?

11:11:34    8   A.   Yes.     I did.

11:11:35    9   Q.   And you know the jury's already seen photos of it, so we're

11:11:38   10   not going to show photos.     But just what is your impression of

11:11:42   11   that property out there?

11:11:44   12   A.   It's -- I've never been to a property where people have

11:11:50   13   horses.   I've sold many ranches, but the ranches that I've sold

11:11:56   14   have been like 500 acres, 200 acres.      They've been much nicer

11:12:02   15   properties.    This would -- this is kind of what I would describe

11:12:06   16   as a very rough -- a rough property.      I had never -- I'd never

11:12:12   17   been involved in a transaction with that type of construction on

11:12:16   18   it and the facilities, the sheds, and all that that are on it had

11:12:21   19   been more like finished and everything's manicured, trimmed,

11:12:25   20   large house, guest house.

11:12:27   21   Q.   Just the basics?

11:12:28   22   A.   Right.

11:12:29   23   Q.   When you were out there, did you see any evidence of any

11:12:34   24   extravagant purchases, any expensive shiny equipment, fancy

11:12:39   25   vehicles, now construction?     Did you see anything like that out


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11:12:41    1   there?

11:12:41    2   A.     No.   There's old -- there's an old mobile home on it.        Maybe

11:12:45    3   two.     Maybe I saw two.      I remember seeing one when we first came

11:12:50    4   up on it.      There was a two-story house.     It looks like it had

11:12:56    5   HardiePlank siding.         It was nothing fancy.   Then there was the

11:13:02    6   stables for the horses that were just, you know, good siding and

11:13:06    7   typical pitched roof.

11:13:09    8   Q.     And, again, they've already seen the picture.          I just want

11:13:11    9   to make sure, but there's nothing that's not shown in the

11:13:15   10   pictures.      You didn't see anything else out there?

11:13:16   11   A.     No.   I did not.

11:13:17   12   Q.     Okay.    Fair much.

11:13:18   13                  Ms. Segura, based on your knowledge and dealings with

11:13:23   14   Jesus Huitron, do you have an opinion as to whether or not his

11:13:27   15   primary focus was home building or horse racing?          Do you have an

11:13:30   16   opinion about that?

11:13:31   17   A.     He lived, breathed home building.       That's the Jesse that I

11:13:40   18   know that I worked with.

11:13:41   19   Q.     Thank you very much, Ms. Segura.

11:13:43   20   A.     Sure.

11:13:43   21   Q.     I have no further questions, your Honor.         Pass the witness.

11:13:45   22                  THE COURT:    Mr. Esper.

11:13:47   23                  MR. ESPER:    I have none, your Honor.

11:13:48   24                  THE COURT:    Ms. William.

11:13:50   25                  MR. FINN:    No, your Honor.   No questions.


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11:13:51    1              MS. FERNALD:    None from the government, your Honor.

11:13:52    2              THE COURT:   May the witness be excused?

11:13:54    3              MR. MAYR:    Yes, sir.

11:13:56    4              THE COURT:   Thank you, ma'am.

11:13:57    5              THE WITNESS:    Thank you.

11:14:01    6              MR. MAYR:    May we approach, your Honor?

11:14:03    7              THE COURT:   Yes.

11:14:08    8              (At the bench, on the record.)

11:14:16    9              MR. MAYR:    Your Honor, based on the discussions that we

11:14:24   10   had earlier, I've been trying to get Ms. Huitron and her attorney

11:14:27   11   down here so that we can establish -- it is what it is -- that we

11:14:31   12   talked about earlier.     She's not down here.     That's Natalie.

11:14:38   13   That's his daughter Natalie.     Yeah.   Who I'm not calling to

11:14:44   14   testify.

11:14:46   15              I don't know if we can just have an agreement to a

11:14:51   16   limine instruction that you won't comment on the fact that I have

11:14:54   17   not called her to testify.      Or if I need to actually bring her

11:14:58   18   down here and have her go through all of this --

11:15:01   19              THE COURT:   Let the record reflect that the lawyer is

11:15:03   20   not talking to a judge and asking the judge for an agreement.

11:15:10   21   And you've just brought everybody up here so that you could try

11:15:14   22   to get an agreement with the government, you're wasting

11:15:16   23   everybody's time.   If you have a witness, call them.           If not,

11:15:19   24   move on.

11:15:20   25              MR. MAYR:    Okay.


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11:15:20    1               THE COURT:   All right.

11:15:21    2               MR. MAYR:    Thank you, Judge.

11:15:37    3               Your Honor, I have no further questions and the

11:15:39    4   Defendant Jesus Huitron would rest.

11:15:43    5               MR. GARDNER:   Your Honor, the government has no case in

11:15:44    6   rebuttal.   Rest and close.

11:15:49    7               THE COURT:   That means, ladies and gentlemen, that

11:15:53    8   you've heard all of the evidence that you're going to hear in the

11:15:56    9   trial.   You've got some exhibits, other boxes coming, as you

11:16:07   10   heard.   We will get all of that done for you.       I'm going to

11:16:11   11   release you until next Wednesday morning at 9:00.         Please be

11:16:20   12   careful and follow the instructions.

11:16:24   13               Let me give you a prelude.    The lawyers have asked for

11:16:28   14   a lot of time, and I've decided that I'm going to limit their

11:16:35   15   time, but it's still going to be a while.       Each party will have

11:16:39   16   up to 45 minutes.   So Wednesday, you'll be in a listening mode.

11:16:45   17   But the notes that you take have been important to you for

11:16:55   18   memory, but the lawyers will tell you in their closing arguments

11:17:00   19   specific things that they think are important.        So the notes can

11:17:03   20   also be very important during the closing arguments.

11:17:08   21               You are instructed to remember that the lawyers just

11:17:12   22   represent a point of view.     They are retained and employed to

11:17:18   23   express that point to you.     They're not required to be objective.

11:17:22   24   They're not required to be evenhanded.       They are advocates.      But

11:17:30   25   what they say in closing arguments can be influential to you.          So


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11:17:34    1   I want you to listen.     So come prepared to listen.      Follow the

11:17:40    2   same procedures that you have been following next Wednesday.

11:17:44    3               It's going to be difficult for several days not to talk

11:17:48    4   about the case, but I will be asking those questions.           It's very

11:17:52    5   important that you will decide this case based only what you've

11:17:56    6   heard in this courtroom, sitting here together.        So I've got

11:18:01    7   confidence you can follow that instruction.

11:18:38    8               (Jury not present.)

11:18:50    9               MR. ESPER:    Your Honor, for the record, since all

11:18:52   10   parties have closed, the Defendant Eusevio Huitron would renew

11:18:56   11   his Rule 29(a) motion for judgment of acquittal on the same

11:18:59   12   grounds previously raised.

11:19:01   13               THE COURT:    We'll start with Mr. Finn, first, but

11:19:06   14   that's all right.

11:19:07   15               MS. WILLIAMS:    Your Honor, now that all the evidence is

11:19:09   16   closed, Mr. Trevino renews his motion pursuant to Rule 29.

11:19:15   17               MR. DEGEURIN:    Your Honor, we do the same with Mr.

11:19:16   18   Colorado.   We renew the Rule 29 motion.

11:19:20   19               MR. WOMACK:    Your Honor, on behalf of Fernando Garcia,

11:19:22   20   we'd renew all our Rule 29 motion at this time.

11:19:27   21               MR. MAYR:    And finally, your Honor, on behalf of Mr.

11:19:29   22   Jesus Huitron, I would, once again, ask this court to consider

11:19:33   23   granting a Rule 29 motion for judgment of acquittal and that no

11:19:37   24   rational juror could find, beyond a reasonable doubt, all the

11:19:40   25   elements presented in this case.      Thank you, your Honor.


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11:19:43    1               THE COURT:   It's the Court's intention to submit all

11:19:47    2   five defendants to the jury for determination.

11:19:53    3               I'm going to have my law clerk hand to you, in just a

11:19:56    4   few minutes, the proposed instructions and verdict form.         Please

11:20:02    5   review them during the noon hour and be back here at 2:00.        2:00

11:20:09    6   this afternoon.

11:20:10    7               All right.   You're excused and we are in recess.

11:20:21    8               MR. MAYR:    Your Honor, just so we're clear, are our

11:20:23    9   clients excused at this time?

11:20:24   10               THE COURT:   I don't understand.

11:20:25   11               MR. MAYR:    Can our clients be back here at 2:00?

11:20:28   12               THE COURT:   Well, of course.    The clients have to be

11:20:31   13   here in the courtroom when we're having any procedures unless

11:20:34   14   they --

11:20:34   15               MR. MAYR:    Oh, we're going over jury instructions at

11:20:37   16   2:00.    I understand.   I apologize, Judge.    Thank you.

11:20:38   17               THE COURT:   That's all right.

13:53:24   18               (Recess.)

14:01:44   19               THE COURT:   All right.   The first item of interest,

14:01:49   20   Juror No. 13, says, Tyler Graham's wife Lexy Graham is an

14:01:57   21   accountant for the realtor board that I am part of.         Of course,

14:02:08   22   nobody inquired of Lexy Graham, so there wasn't any voir dire one

14:02:12   23   way or the other.

14:02:12   24               MR. MAYR:    Actually, your Honor, just so the record's

14:02:14   25   clear, Ms. Segura testified that she -- that Ms. Lexy Graham was


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14:02:21    1   the real estate broker for my client immediately prior to her.

14:02:24    2   But I don't have any objection with that.       I just want the

14:02:27    3   record --

14:02:27    4               THE COURT:   I'm just telling you.

14:02:29    5               MR. MAYR:    Okay.

14:02:29    6               THE COURT:   The good news is that that's an alternate

14:02:32    7   juror right now.

14:02:34    8               MR. FINN:    Good.

14:02:35    9               THE COURT:   Juror 13.    And I won't ask you for any

14:02:38   10   guidance unless Juror 13 is going to be seated, and then, I'll

14:02:45   11   give you an opportunity to tell me what you want to do.

14:02:49   12               All right.   I have two verdicts.    I don't understand

14:02:59   13   how he does it, but he said that he e-mailed y'all a second

14:03:02   14   verdict that really tracks more specifically the theories of the

14:03:09   15   money laundering.   It's the government's case, so the government

14:03:13   16   suggested that.    I didn't put that in my originals.       I instructed

14:03:17   17   on it, but I didn't put it on.       So that's where we are.

14:03:23   18   Everybody's had plenty of time to review the proposed

14:03:25   19   instructions.

14:03:27   20               So, Ms. Fernald, now you have the lectern.

14:03:30   21               MS. FERNALD:   Yes, sir.

14:03:32   22               Your Honor, direct your attention to page 16 of the

14:03:37   23   proposed instructions.     The first full paragraph.      Your Honor,

14:03:54   24   we're just asking for some clarification on that first sentence,

14:03:58   25   It says, I have previously instructed you the indictment in this


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14:04:01    1   case charges two means by which the defendants conspired to

14:04:04    2   violate this law.    It goes on to separate the two substantive

14:04:10    3   ways that the government could prove money laundering.            We're

14:04:14    4   requesting that instead of it saying this law, that the words,

14:04:20    5   Title 18 United States Code 1956 --

14:04:25    6                THE COURT:    Where are we?

14:04:27    7                MS. FERNALD:    The first sentence.

14:04:29    8                THE COURT:    The first full sentence or the first --

14:04:32    9                MS. FERNALD:    First paragraph, first full sentence.

14:04:34   10                THE COURT:    Okay.   The term "transaction"?

14:04:36   11                MS. FERNALD:    This law.

14:04:41   12                THE COURT:    On page 16?

14:04:44   13                MR. ESPER:    First full paragraph.

14:04:45   14                MS. FERNALD:    First full paragraph.

14:04:49   15                MR. ESPER:    First sentence.

14:04:54   16                MS. FERNALD:    We've got different copies?     My

14:04:57   17   apologies.

14:05:05   18                THE COURT:    Okay.   For some reason, I have -- the

14:05:12   19   computers do not like me.

14:05:15   20                MS. FERNALD:    I don't either.

14:05:17   21                THE COURT:    But they've given me one that does not

14:05:19   22   correspond -- okay.       As I previously instructed you, the

14:05:21   23   indictment in this case charges two means by which defendants

14:05:27   24   conspired to violate the law.       Okay.

14:05:30   25                MS. FERNALD:    And the government just for clarification


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14:05:32    1   is requesting that instead of it saying this law, that it says,

14:05:36    2   Title 18, United States Code, Section 1956(a)(1)(B).

14:05:48    3              THE COURT:   Okay.

14:05:50    4              MS. FERNALD:   The reason why is if you turn --

14:05:52    5              THE COURT:   Give me again.    Title 18.

14:05:55    6              MS. FERNALD:   United States Code.

14:05:57    7              THE COURT:   Yeah.

14:05:58    8              MS. FERNALD:   1956(a)(i)(B).

14:06:07    9              MS. FREEL:   One.

14:06:10   10              MS. FERNALD:   Oh, it is 1.    (a)(1)(B).     Excuse me, your

14:06:15   11   Honor.

14:06:17   12              THE COURT:   I've always felt that the jurors pass over

14:06:25   13   the statutes.

14:06:26   14              MS. FERNALD:   I know it.

14:06:26   15              THE COURT:   But it's your charge.      All right.   I don't

14:06:30   16   see any harm in switching that.

14:06:33   17              MS. FERNALD:   If you go down to the next paragraph, it

14:06:36   18   says, the elements of this.     If we could have first substantive

14:06:40   19   offense.   Because on page 19, it will go to the second theory of

14:06:45   20   the government's case and just so that we can distinguish those

14:06:48   21   two out.

14:06:51   22              THE COURT:   So you want the elements of the.

14:06:56   23              MS. FERNALD:   The first substantive offense.

14:07:02   24              THE COURT:   Okay.

14:07:03   25              MS. FERNALD:   On the second element has alleged


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14:07:06    1   extortion -- I'm sorry, delivery of a controlled substance,

14:07:10    2   extortion, and it says, and bribery.      The government requests or

14:07:15    3   bribery.

14:07:15    4              THE COURT:    The government requests what?

14:07:17    5              MS. FERNALD:   "Or."   It's not "and."     It's not

14:07:20    6   conjunctively.   It's disjunctively.

14:07:25    7              THE COURT:    All right.   Okay.

14:07:32    8              MS. FERNALD:   So on page 19, something very similar is

14:07:36    9   what we're requesting.    The first full sentence on page 19, this

14:07:42   10   crime is also known as money laundering -- I'm sorry.           The first

14:07:44   11   full paragraph, instead of it saying, this law, replacing that

14:07:48   12   with Title 18, United States Code, Section 1956(a)(2)(B).

14:08:05   13              THE COURT:    Okay.

14:08:06   14              MS. FERNALD:   On the elements of this substantive

14:08:08   15   offense, if we could have instead of this, of this second

14:08:14   16   substantive offense.

14:08:19   17              THE COURT:    All right.

14:08:20   18              MS. FERNALD:   And then, finally, the second element on

14:08:22   19   that page, instead of the "and," the "or," prior to bribery.

14:08:34   20              THE COURT:    Okay.

14:08:35   21              MS. FERNALD:   The only other request that the

14:08:36   22   government is making as it did in its proposed jury instructions

14:08:41   23   is the commingling instruction on the SUA.       Your Honor, we did

14:08:47   24   that on page 15 and we're requesting that with respect --

14:09:01   25              THE COURT:    Karson, let me see that question.        She's


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14:09:22    1   going to hand it to you.

14:09:23    2              LAW CLERK:   Thank you.

14:09:24    3              MS. FERNALD:    This is what we had requested.

14:10:32    4              THE COURT:   Where did you take this instruction from?

14:10:34    5              MS. FERNALD:    This instruction has been taken from the

14:10:37    6   cases that are cited at the bottom.

14:10:41    7              THE COURT:   Combination.

14:10:42    8              MS. FERNALD:    Yes, your Honor.

14:10:43    9              THE COURT:   I have no trouble with the first three

14:10:46   10   paragraphs -- I mean, first three --

14:10:48   11              MS. FERNALD:    First three sentences?

14:10:52   12              THE COURT:   Are y'all looking at anything?          The request

14:10:54   13   is with respect to the fourth element, the commingling of illegal

14:10:59   14   proceeds with legitimate business funds is evidence of an intent

14:11:03   15   to conceal or disguise; therefore, it would not be a defense that

14:11:07   16   legitimate funds were also involved in the transaction.           I don't

14:11:13   17   have any trouble with that.     In addition, the government would

14:11:15   18   not have to prove that a particular transaction was itself highly

14:11:20   19   unusual.   A transaction would not have -- would not have to be

14:11:26   20   examined wholly in isolation if the evidence tended to show it

14:11:30   21   was part of a larger scheme designed to conceal illegal proceeds.

14:11:37   22              MR. FINN:    Judge, I'm going to object to that on behalf

14:11:40   23   of my client.   I don't think that's appropriate.

14:11:45   24              THE COURT:   Okay.   Counsel, I will give you plenty of

14:11:48   25   time to object.


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14:12:12    1             All right.     What else?   Is that it.

14:12:13    2             MS. FERNALD:     That's it.

14:12:14    3             THE COURT:     All right.   Mr. Finn, or, Ms. Williams,

14:12:19    4   you're next.

14:12:19    5             MR. FINN:     Thank you, your Honor.     May it please the

14:12:21    6   Court.

14:12:21    7             Judge, as I just indicated, Ms. Williams and I object

14:12:24    8   to that fourth prong of the instruction.       We think it's a --

14:12:29    9   could potentially be a comment on the weight of the evidence.           We

14:12:32   10   don't think it fairly --

14:12:33   11             THE COURT:     Actually, I can comment on the weight of

14:12:35   12   the evidence.    I mean, you're in federal court.      I can comment on

14:12:38   13   anything I want to.    All I have to do is tell the jury that it's

14:12:41   14   my comment.     They've got to make an independent decision.        I

14:12:44   15   don't intend to comment on the weight of the evidence, but better

14:12:48   16   get a better objection than that.

14:12:50   17             MR. FINN:     I don't think it accurately states the law,

14:12:52   18   your Honor, and I'm going to object on those grounds.

14:12:54   19             THE COURT:     Okay.

14:12:55   20             MR. FINN:     To the entire commingling instruction.

14:12:58   21             THE COURT:     Oh, no, I'm going to give commingling.

14:13:00   22   I'll give a commingling instruction, and you can object to it.

14:13:03   23             MR. FINN:     Okay.    I am objecting to it.    Number two --

14:13:06   24             THE COURT:     Don't even know what it is yet.

14:13:07   25             MR. FINN:     Well, I got a pretty good idea.         I've read


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14:13:10    1   it.    Secondly, and, more importantly, Judge, this deliberate

14:13:13    2   ignorance, willful blindness instruction, we are vigorously

14:13:18    3   opposed to that.    We've had a pretty clean slate so far in this

14:13:20    4   trial.    I think if this jury gets that instruction, it's going to

14:13:24    5   create some problems potentially down the road.         There's no --

14:13:28    6   for two reasons, Judge.

14:13:29    7                One, there's no evidence that my client did what your

14:13:33    8   three monkeys in your office, hear no evil, see no evil --

14:13:38    9   there's no evidence that Jose willfully blinded himself, number

14:13:41   10   one.     Number two, it relieves the government in a conspiracy case

14:13:47   11   -- I understand if it's a substantive count.         In a conspiracy, it

14:13:51   12   relieves the government of having to prove beyond a reasonable

14:13:55   13   doubt that my client intentionally, knowingly, willfully joined a

14:13:59   14   conspiracy.    So for that -- those two reasons, one, it's not

14:14:03   15   supported by the evidence and, two, it's completely inappropriate

14:14:08   16   in a conspiracy case.      I'm going to object.

14:14:11   17                Over the break, I went to my hotel and tried to get on

14:14:14   18   West Law because I believe that Justice Patrick Higginbotham at

14:14:19   19   the Fifth Circuit, about five years ago, addressed this issue.           I

14:14:23   20   was not able to pull up the case.       But I think I'm on solid

14:14:28   21   ground in making that objection.       Thank you.

14:14:30   22                THE COURT:   All right.   Is that the only objection that

14:14:32   23   you make?

14:14:33   24                MR. FINN:    To the willful blinding?

14:14:35   25                THE COURT:   No.   I've got that down.    I just want to


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14:14:38    1   find out to the proposed charge.

14:14:42    2                MR. FINN:    I'm objecting to any comments, any

14:14:46    3   instructions regarding commingling of funds.         That's number one.

14:14:49    4   Number two is I am objecting to the willful blinding, deliberate

14:14:55    5   ignorance instruction.       That's all I've got by way of objection,

14:15:00    6   your Honor.

14:15:00    7                THE COURT:    Okay.    That's what I -- Mr. Sanchez, Mr.

14:15:09    8   DeGeurin.

14:15:11    9                MR. DEGEURIN:    Mr. Parras is going to.

14:15:13   10                MR. PARRAS:    Good afternoon, Judge.

14:15:17   11                THE COURT:    I wondered what you were up there for.

14:15:17   12                MR. FINN:    He got the short straw, your Honor.

14:15:19   13                MR. PARRAS:    I got the stapler and the laser pointer

14:15:22   14   and things like that.

14:15:23   15                Judge, we adopt the objections that Mr. Finn has made.

14:15:25   16   I'm not going to reargue points he already has argued.          I do want

14:15:30   17   the opportunity, however, to present law on the commingling

14:15:34   18   issue.   And if you could at least before giving us what your

14:15:37   19   instruction is going to be, give us a chance to do that.

14:15:41   20   Twenty-four hours would probably be great.

14:15:45   21                THE COURT:    I'm going to give it to you now.

14:15:48   22                MR. PARRAS:    Okay.

14:15:48   23                THE COURT:    Give me your best shot now.

14:15:51   24                MR. PARRAS:    Well, I have the same objections that Mr.

14:15:54   25   Finn made.    I do think, you know, the Court's original


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14:15:58    1   instruction, it didn't contain a commingling definition as best.

14:16:05    2   I know you can comment on the weight of the evidence.           Throughout

14:16:08    3   this trial, you've been -- you've not done so and I think to do

14:16:11    4   so at this point --

14:16:12    5             THE COURT:    I'm not about to comment on the weight of

14:16:14    6   the evidence, one way or the other.      I can phrase an instruction

14:16:19    7   without commenting.    But go ahead and tell me why you don't think

14:16:24    8   commingling is in this case.

14:16:27    9             MR. PARRAS:    With respect to Mr. Cessa, there has been

14:16:32   10   no evidence, Judge, that there has been any inflow of illegal

14:16:39   11   proceeds into any of his accounts.      No direct evidence.      There

14:16:46   12   have been -- there was some testimony from that they believe that

14:16:53   13   that's what happened.    They were told that that's what happened,

14:16:55   14   but there's been no evidence whatsoever of any commingling on Mr.

14:16:59   15   Cessa's -- Mr. Colorado's part at all.       And I don't think that

14:17:02   16   that has been an issue with respect to any of the other

14:17:06   17   defendants, as well, the idea that there was commingling and that

14:17:12   18   there was an effort to commingle for the purpose of concealing.

14:17:16   19             THE COURT:    Okay.

14:17:20   20             MR. PARRAS:    Getting to other points.      On page 8, the

14:17:35   21   Court's instruction regarding expert testimony.

14:17:38   22             THE COURT:    Yes, sir.

14:17:39   23             MR. PARRAS:    It's always been a preference of mine,

14:17:42   24   Judge, to use opinion testimony, instead of expert testimony.            I

14:17:46   25   think that using the word "expert" gives more weight than is


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14:17:50    1   necessary to the testimony and to the person -- to the witness.

14:17:55    2   And so, if in the title, we could switch that to opinion

14:18:00    3   testimony.    And also at relevant places in the paragraph, for

14:18:10    4   example, at the second sentence, we would propose that it read,

14:18:18    5   you also heard opinion testimony of others, comma, including Joe

14:18:22    6   Garza, and going forward.      And I think those are the only changes

14:18:33    7   that would need to be made to that paragraph.

14:18:36    8                THE COURT:    All right.

14:18:48    9                MR. PARRAS:    Page 12, the Court defines the mental

14:18:58   10   state knowingly.    We'd request that the mental state of willfully

14:19:03   11   also be included.    I'm aware of what the Fifth Circuit Pattern

14:19:07   12   Instructions say regarding the use of willfully.        However, the

14:19:11   13   grand jury in this case did find that the -- in the indictment

14:19:16   14   the mental state willfully.      So we would ask that it be included.

14:19:22   15                THE COURT:    You've asked.   Go ahead, sir.

14:19:35   16                MR. PARRAS:    In that same regard, Judge, on page 14,

14:19:40   17   the last paragraph, second sentence, if a defendant understands

14:19:51   18   the unlawful nature of a plan or scheme and willfully, comma,

14:19:56   19   knowingly, and go on, we'd request that the word "willfully" be

14:20:01   20   inserted there before "knowingly."

14:20:10   21                THE COURT:    I can certainly see a factual scenario

14:20:14   22   where willfully could be injected into that instruction.        But I

14:20:20   23   know of no evidence that would require it in this particular case

14:20:30   24   other than the indictment, but the indictment doesn't control on

14:20:34   25   the appropriate instruction.      I'm always a little reluctant, even


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14:20:39    1   in a conspiracy instruction, to change the approved one.           But

14:20:45    2   I'll think about it.

14:20:46    3                MR. PARRAS:    Okay.    And just to -- it would be the

14:20:51    4   right to a grand jury indictment, that that's the reason why we

14:20:55    5   would be requesting the willfully within that particular portion.

14:21:18    6                One more point, Judge, and I need to find it, forgive

14:21:22    7   me.   It's going to be on page 19, where the Court --

14:21:36    8                THE COURT:    You're going to object because it's too

14:21:38    9   long?

14:21:39   10                MR. PARRAS:    No.    I'm going to make it longer.    It's

14:21:41   11   too short.

14:21:42   12                THE COURT:    Oh, you're going to try to make it longer.

14:21:45   13                MR. PARRAS:    We believe that there should be another

14:21:49   14   element added, and we think it should be added as the second

14:21:52   15   element, and it would relate specifically to the specific

14:22:00   16   unlawful activity that's been alleged in the indictment.           And the

14:22:03   17   second element would read, Judge, that the monetary instrument or

14:22:09   18   funds transported, comma, transmitted, or transferred from the

14:22:15   19   United States to Mexico or from Mexico to the United States

14:22:20   20   involved the proceeds of specified unlawful activity, namely,

14:22:25   21   conspiracy to distribute controlled substance, extortion, or

14:22:30   22   bribery in sporting contests.        And then, the next two elements

14:22:36   23   would be renumbered.

14:22:49   24                THE COURT:    Okay.    Let's start that over again.

14:22:52   25                MR. PARRAS:    Okay.


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14:22:53    1               THE COURT:    Read it entirely the way you want No. 2 to

14:22:58    2   be because I'm having trouble seeing any distinction.           You're

14:23:02    3   just talking about sale and distribution of controlled substance

14:23:06    4   and.

14:23:16    5               MR. PARRAS:    If we go to -- okay.    Maybe I'm trying to

14:23:25    6   figure out -- the point, Judge, is that we are working to have

14:23:30    7   the specified unlawful activity applied to what is being

14:23:37    8   transported, transmitted or transferred in element No. 1, and I

14:23:45    9   see your point, and I'm trying to think through it here.

14:24:00   10               So element one goes to the defendant's mental state.

14:24:05   11   And then, element two as we're proposing would be that the

14:24:09   12   monetary instrument or the funds are themselves proceeds of

14:24:14   13   specified unlawful activity.     That's why we're proposing.         If you

14:24:17   14   look at the first -- page 16, which gives us the first manner in

14:24:24   15   which substantive offense is committed, there's a -- the second

14:24:33   16   element of that particular offense on page 16 is what we're

14:24:36   17   looking to import into the definition on page 19.

14:25:10   18               THE COURT:    What's the comment on the government on

14:25:13   19   that?

14:25:13   20               MS. FERNALD:   Well, obviously there's not a Fifth

14:25:15   21   Circuit on that -- pattern jury instruction on this.            I don't

14:25:20   22   have any objection -- I don't think it's required, but I also

14:25:24   23   don't have any objection.     I think that we have sufficient

14:25:26   24   evidence to prove all of this on the specified unlawful activity.

14:25:31   25   And so --


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14:25:50    1              THE COURT:    So we just have the same -- all right.

14:26:20    2   Well, I'll look at that.    But I want to look at it in writing.

14:26:25    3              MS. FERNALD:    Again, I would also refer the Court to

14:26:27    4   the statute itself because it will say --

14:26:29    5              THE COURT:    The statute says that.

14:26:31    6              MS. FERNALD:    It does.    And so --

14:26:32    7              THE COURT:    But I still want to look at it in writing.

14:26:35    8              MR. PARRAS:    Do you mind if I handwrite it out, sir?

14:26:38    9              THE COURT:    No, sir.   As long as I can read it.

14:26:40   10              MR. PARRAS:    I will do so.

14:26:41   11              THE COURT:    In fact, if you had a poor hand, you might

14:26:44   12   print.   I learned that in elementary school.

14:26:47   13              Okay.   Anything further?

14:26:48   14              MR. PARRAS:    Nothing further.

14:26:51   15              THE COURT:    All right.    Mr. Womack.

14:26:53   16              MR. WOMACK:    Your Honor, on behalf of Fernando Garcia,

14:26:55   17   we would also adopt the objections of counsel for --

14:27:00   18              THE COURT:    Okay.   We're not objecting at this time.

14:27:04   19   You're just making suggestions.       I'm going to go back.

14:27:07   20              MR. WOMACK:    Yes, sir.

14:27:08   21              THE COURT:    I'm going to get you a clean sheet and

14:27:10   22   then, you're going to do your objection.

14:27:11   23              MR. WOMACK:    I gotcha.    Sir, I have two of them.   First

14:27:13   24   one is we ask that you add charge -- this is from the Fifth

14:27:18   25   Circuit Pattern Jury Instructions 2.99 on page 243, and that is


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14:27:24    1   the instruction on the elements of structuring under Title 31,

14:27:29    2   U.S. Code, Section 5324.     There's been a lot of talk in this case

14:27:33    3   about structuring, over and over again.        And during the

14:27:37    4   cross-examination of Special Agent Billy Williams, I had

14:27:41    5   attempted to elicit from him the elements of structuring.       There

14:27:44    6   was an objection from the government.       We had a bench conference

14:27:47    7   and your Honor said, well, I'll give the jury instructions on

14:27:51    8   that.    The instruction is on page 243 of the Pattern Jury

14:27:54    9   Instructions.    We ask for that.

14:27:56   10               Second thing, sir, is on page 6 of your suggested

14:28:00   11   instructions, the proposed instructions where it says, similar

14:28:04   12   acts.    We'd ask that you add after you discuss --

14:28:09   13               THE COURT:    I thought about that.    I started to, but

14:28:12   14   then, the fact that your client doesn't show up until the 10th.

14:28:18   15               MR. WOMACK:    Yes, sir.

14:28:18   16               THE COURT:    The allegation is that the conspiracy

14:28:21   17   itself was going on since the 8th and I'm not so sure that --

14:28:28   18   actually thought it might be even more detrimental to your client

14:28:35   19   to put that instruction and call the jury's attention to it.

14:28:41   20               MR. WOMACK:    Well, I'm afraid the government's going to

14:28:43   21   be calling their attention to it.

14:28:43   22               THE COURT:    Well, they may be.

14:28:45   23               MR. WOMACK:    And it looks look such a classic example

14:28:48   24   of structuring going to these nine or ten different locations.

14:28:51   25               THE COURT:    Well, there's no question it was that.


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14:28:52    1              MR. WOMACK:    I mean, it looks terrible.      But I'd like

14:28:55    2   for the jury not to be confused that because my client might have

14:28:59    3   done an act by himself that was a conspiracy.

14:29:02    4              THE COURT:    What says the government on that?

14:29:05    5              MR. GARDNER:   Your Honor, I recall the testimony as

14:29:07    6   being the agents didn't observe Fernando Garcia till March 2010.

14:29:13    7   The allegation he's involved in this conspiracy.

14:29:16    8              THE COURT:    Well, it seems to me that all of Mr.

14:29:19    9   Womack's cross-examination made the point nobody observed him

14:29:24   10   until that point in time.

14:29:27   11              MR. GARDNER:   Your Honor, I believe what he did with

14:29:29   12   that funds once structured into the horse business supports the

14:29:34   13   conspiracy charge.

14:29:34   14              THE COURT:    Well, you should have taken the stand and

14:29:38   15   testified he did that.

14:29:41   16              MR. GARDNER:   Request to reopen the evidence, your

14:29:43   17   Honor.   So we believe that it is an act.

14:29:45   18              THE COURT:    Well, it's counsel's issue.      If he wants it

14:29:48   19   in there, I'll put it in there.

14:29:50   20              MR. WOMACK:    Sir, I'd like it in there and just add it

14:29:52   21   right after you talk about that that involved Mr. Cessa.

14:29:55   22              THE COURT:    Well, we'll do it two ways.

14:29:57   23              MR. WOMACK:    Yes, sir.

14:29:58   24              THE COURT:    Point it out and then, say it's evidence of

14:30:01   25   ability and all that stuff.


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14:30:02    1                MR. WOMACK:    Yes, sir.   Those are the only two

14:30:05    2   additions.    And I have one question.     Is it in evidence that

14:30:09    3   Carlos Nayen has pled guilty?

14:30:11    4                THE COURT:    Not to my notice.

14:30:12    5                MR. WOMACK:    I don't think, but I wasn't sure.    Okay.

14:30:14    6                THE COURT:    It's not in evidence that anybody that

14:30:17    7   didn't testify.

14:30:19    8                MR. GARDNER:   I didn't put it in evidence, your Honor.

14:30:22    9   It's under seal.

14:30:24   10                THE COURT:    Well, I mean, Aguilar, Aguirre -- I have no

14:30:31   11   evidence in the record of all of the people that have pled guilty

14:30:34   12   other than the ones who testified in the case.        That's the only

14:30:37   13   ones that I know of.

14:30:37   14                MR. WOMACK:    Yes, sir.   I know that was the intent of

14:30:39   15   the parties.    For some reason, I had in my mind that I thought

14:30:42   16   something had been said about Nayen doing that.        I just want to

14:30:45   17   make sure because that would trigger adding his name, but since

14:30:47   18   it's not, no addition there.      Those are the only two additions I

14:30:52   19   ask for.

14:30:53   20                THE COURT:    All right.

14:30:56   21                MR. ESPER:    Your Honor, other than what's already been

14:31:07   22   stated, the only other suggestion I have, comment with respect to

14:31:11   23   the Court accurately commented that the instruction -- the proper

14:31:16   24   instructions derive from the language in the indictment.         And I

14:31:19   25   don't recall seeing anything about the commingling allegation or


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14:31:23    1   conduct in the indictment.       So, therefore, I would suggest that

14:31:27    2   that is not a proper instruction because it wasn't suggested or

14:31:32    3   tracked in the indictment.       It's something that came up in the

14:31:35    4   course of testimony that the agents believed that there was

14:31:39    5   commingling going on, but that's not an allegation in the

14:31:41    6   indictment.

14:31:42    7             THE COURT:     Unless you were going to specifically

14:31:48    8   charge under another statute, you wouldn't have to have

14:31:50    9   commingling charged in a money-laundering case, do you?

14:31:56   10             MR. ESPER:     But that's not one of the allegations in

14:31:58   11   the indictment.   Nowhere in there.     And they describe all the

14:32:01   12   different theories, and none of them in the indictment suggests

14:32:07   13   commingling as a form of money laundering.

14:32:09   14             THE COURT:     Okay.

14:32:11   15             MR. ESPER:     And then, of course, the other -- it's

14:32:13   16   already been -- I suggested deliberate ignorance.         That

14:32:16   17   instruction's inconsistent with the elements of a conspiracy, at

14:32:23   18   least the culpable mental state.

14:32:26   19             MR. MAYR:    Your Honor, I will reserve my objections

14:32:28   20   till later.   I just have one very important recommend -- change

14:32:31   21   that needs to be made.    On the new verdict form that we just --

14:32:35   22   we're working off the new verdict form with the multiple options

14:32:39   23   for the unanimity of theories.

14:32:43   24             On page 9 for the verdict form for my client, Defendant

14:32:46   25   Jesus Maldonado-Huitron, Question No. 5.


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14:32:56    1              THE COURT:    Okay.

14:32:56    2              MR. MAYR:    Question No. 5, do you find beyond a

14:32:59    3   reasonable doubt that Defendant Eusevio Maldonado-Huitron

14:33:02    4   committed the offense of conspiracy?      That should obviously be

14:33:04    5   Jesus.

14:33:11    6              MS. FERNALD:    Thank you.

14:33:16    7              THE COURT:    On page 9?

14:33:17    8              MR. MAYR:    Page 9 of the verdict form.

14:33:19    9              THE COURT:    Oh, verdict form.

14:33:20   10              MR. MAYR:    Yes, Judge.   I'm sorry, I thought I made

14:33:22   11   that clear.

14:33:26   12              THE COURT:    Yeah.   Okay.   I see what you're talking

14:33:29   13   about.

14:33:30   14              MR. MAYR:    And I'll reserve my right to make my

14:33:31   15   objections once we get through with the verdict form.           Thank you,

14:33:34   16   Judge.

14:33:36   17              MR. FINN:    You've got to keep your eye on these U.T.

14:33:39   18   law grads, your Honor.

14:33:44   19              THE COURT:    Fortunately, that's not hard in this town.

14:34:23   20              All right.    Anything else?    We'll be back with you

14:34:28   21   shortly.

14:34:29   22              (Recess.)

16:14:52   23              THE COURT:    All right.   As I'm sure you've seen, I did

16:15:12   24   give a partial instruction on commingling.       I've taken out

16:15:16   25   deliberate ignorance.     I have changed the word "expert" to


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16:15:23    1   "opinion" as requested.     Make your objections on willfully, I'm

16:15:29    2   not changing that.    I have changed, at the request of the

16:15:35    3   defendant without objection from the government, the second area

16:15:43    4   of money laundering to be consistent with the first.            I have

16:15:52    5   defined structuring.     I've placed an instruction on Garcia.           And

16:16:01    6   made the change on the verdict form on Jesus Huitron.

16:16:16    7               So I'll take the objections from the government.

16:16:20    8               MR. GARDNER:   Your Honor, they're not really

16:16:22    9   objections.     Just a note on page 17, third line.     The elements of

16:16:34   10   this and the government requests that the word "first

16:16:41   11   substantive."    We would just request the insertion of the word

16:16:44   12   "first" between the words "this" and "substantive."

16:16:48   13               THE COURT:   Page 17 what now?

16:16:51   14               MR. GARDNER:   Third line from the top, your Honor,

16:16:53   15   starting with the word "elements."      The words the "elements."

16:16:56   16               THE COURT:   Okay.   That should be first.     You're right.

16:17:04   17   Okay.

16:17:04   18               MR. GARDNER:   And, your Honor, direct the Court's

16:17:08   19   attention to page 6 under similar acts.

16:17:11   20               THE COURT:   Okay.   Everybody write that down because

16:17:13   21   I'll make that change.     The elements of the first substantive

16:17:16   22   offense of money laundering are.      All right.    And what?

16:17:19   23               MR. GARDNER:   Page 6, your Honor, similar acts.

16:17:24   24               THE COURT:   Okay.

16:17:24   25               MR. GARDNER:   Your Honor, we would object to the


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16:17:26    1   inclusion of that instruction on Mr. Garcia.        We believe that

16:17:32    2   beginning of the indictment starts 2008, the nature of the

16:17:37    3   conspiracy, and my recollection of the evidence is that offense

16:17:39    4   and then, there was a series of other acts -- overt acts, if you

16:17:43    5   will, that occurred in other bank accounts leading up to Mr.

16:17:47    6   Mr. Piloto and Ramiro Villarreal.      So the government would

16:17:50    7   object.   They say it's -- our position would be it would be part

16:17:53    8   of the conspiracy.

16:17:54    9              THE COURT:   All right.    That objection is overruled.

16:17:56   10              MR. GARDNER:    Thank you, your Honor.     That all I have,

16:17:58   11   your Honor.

16:17:59   12              THE COURT:   Ms. Williams.

16:18:00   13              MS. WILLIAMS:    Your Honor, I would renew our objection

16:18:02   14   to the commingling instruction in that the Rodriguez case

16:18:09   15   concerns a different section of the money-laundering statute than

16:18:17   16   this case does; and, therefore, we believe it's not applicable.

16:18:22   17              THE COURT:   The commingling instruction is applicable

16:18:24   18   to this case.   Primary reason that I put it in is I did advise

16:18:32   19   counsel during the presentation, in front of the jury, that I

16:18:42   20   would instruct them on structuring.      And so, I instructed the

16:18:48   21   definition of structuring, not the statute but the definition.

16:18:51   22   Your objection is overruled.

16:18:53   23              MS. WILLIAMS:    Just so we're clear, your Honor, I'm not

16:18:55   24   objecting to the structuring definition.

16:18:56   25              THE COURT:   Oh.


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16:18:57    1                MS. WILLIAMS:    I'm objecting to the addition of the

16:19:00    2   commingling instruction at the bottom of page 17.

16:19:03    3                THE COURT:    That, too, is overruled.

16:19:05    4                MS. WILLIAMS:    Thank you, your Honor.

16:19:11    5                MR. PARRAS:    Judge, we join in the objection regarding

16:19:17    6   the commingling.    I understand the Court's ruling.

16:19:19    7                THE COURT:    Yes, sir.

16:19:20    8                MR. PARRAS:    I didn't hear the Court's ruling on the

16:19:22    9   request for a separate willfully instruction.         Looks like you've

16:19:26   10   denied it.

16:19:26   11                THE COURT:    I have denied it.

16:19:27   12                MR. PARRAS:    Okay.   We make that objection that it's

16:19:29   13   not included and based on the right to a grand jury indictment

16:19:33   14   and the idea that this lessens the burden that the grand jury

16:19:37   15   imposed on the prosecutors in this case.

16:19:39   16                THE COURT:    All right.   That objection is overruled.

16:19:42   17                MR. PARRAS:    And there is one typographical error that

16:19:46   18   was brought to my attention on page 14 under demonstrative

16:19:52   19   evidence in the second sentence, should read those charts or

16:20:00   20   summaries.

16:20:03   21                THE COURT:    Thank you.   You're right.

16:20:05   22                MR. PARRAS:    That's all, Judge.

16:20:06   23                THE COURT:    It's the trouble with spell check or

16:20:09   24   whatever.    All right.

16:20:12   25                MR. PARRAS:    I'm sure I've missed something else.


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16:20:16    1             THE COURT:    Mr. Womack.

16:20:17    2             MR. WOMACK:    Your Honor, again, we would join everyone

16:20:20    3   in objecting to the commingling and, also, not having the

16:20:27    4   separate willful instruction.     And so, the last one, on page 21

16:20:32    5   where you put in -- it says, on the second paragraph, line 3, it

16:20:44    6   says, for the purpose of evading reporting requirements described

16:20:47    7   earlier, I didn't see where that was.       I might have skipped it.

16:20:52    8   I'm trying to find out where it was described earlier.

16:20:54    9             And then, also, sir, the last line of that same

16:20:56   10   paragraph, it begins, it is sufficient that the person structured

16:21:00   11   currency transactions with knowledge of the reporting

16:21:03   12   requirements.   We also would require that they specifically

16:21:06   13   intended to avoid the reporting requirements.

16:21:11   14             THE COURT:    That's not the law.

16:21:13   15             MR. WOMACK:    I think it's straight out of the Fifth

16:21:15   16   Circuit instructions, sir.

16:21:15   17             THE COURT:    Well, that objection is --

16:21:17   18             MR. WOMACK:    You're correct insofar as they don't have

16:21:20   19   to know that it's illegal to do that, but they have to

16:21:23   20   specifically intend to avoid the reporting requirement.         Even if

16:21:27   21   they don't know it's illegal, it is, as long as they specifically

16:21:30   22   intend to avoid the reporting requirement.       So I think we need to

16:21:36   23   add just that phrase to make it complete, sir.        So it would be at

16:21:46   24   the very end of the second paragraph.       And specifically intended

16:21:50   25   to avoid the reporting requirement.


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16:21:53    1               THE COURT:    Well, I don't know how I could say it any

16:21:56    2   better.    You structure it with the knowledge of the reporting.

16:22:00    3   If you know the reporting.

16:22:02    4               MR. WOMACK:    Yes, sir.   But the real mental element is

16:22:05    5   that you know it and you specifically intend to avoid the

16:22:08    6   requirement.    Because like you say correctly, if you know there's

16:22:11    7   a requirement but you don't know it's illegal to do that, you're

16:22:16    8   still guilty.    The intent is that you intend to avoid that

16:22:19    9   reporting requirement that you're aware of.

16:22:21   10               And then, the other thing, like I said, sir, is in the

16:22:24   11   third line where it says, described earlier, I'm not sure where

16:22:29   12   it was described earlier.     I just need to be pointed to it.      I

16:22:32   13   didn't see it.

16:22:33   14               THE COURT:    Well, that objection's overruled.

16:23:04   15               All right.    I'm advised that we meant to eliminate the

16:23:10   16   two words in that sentence, described earlier, I will take that

16:23:14   17   one out.

16:23:15   18               MR. WOMACK:    I understand, sir.   And if I understood

16:23:19   19   you correctly, sir, you're not going to give a specific intent to

16:23:22   20   avoid?

16:23:23   21               THE COURT:    I'm tracking the statute and I'm not going

16:23:25   22   to change it.

16:23:26   23               MR. WOMACK:    Yes, sir.   I understand.   Thank you.   No

16:23:28   24   other objections.

16:23:29   25               MR. ESPER:    Ditto to Ms. Williams' and Mr. Parras'


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16:23:35    1   objections, your Honor.

16:23:36    2             MR. MAYR:    I won't be that brief, but I will just say

16:23:39    3   that I do impart and adopt the previous objections.

16:23:44    4   Specifically, I would object to the inclusion of the commingling

16:23:47    5   instruction.   Both as Ms. Williams stated, I feel it's an

16:23:51    6   improper statement of the law, but, more importantly, it violates

16:23:54    7   my client's Fifth Amendment right to be brought to trial on

16:23:58    8   what's charged in the indictment and the fact that there's no

16:24:01    9   mention in the indictment of commingling.       I believe that the

16:24:04   10   instruction is improper and that's it.       Thank you, your Honor.

16:24:11   11             THE COURT:    Objections are overruled.

16:24:15   12             MR. WOMACK:     Your Honor, if I can -- I hate to belabor

16:24:17   13   the point, you've already ruled on it, but if your Honor will

16:24:19   14   look at page 244 of the Fifth Circuit instructions, the very last

16:24:23   15   line does say that avoiding has to be with a specific intent to

16:24:28   16   avoid that reporting requirement.      That's straight out of the

16:24:32   17   Fifth Circuit instructions.     It's the very last line of that on

16:24:35   18   page 244 of the Pattern Jury Instructions from the Fifth Circuit.

16:24:41   19             THE COURT:    Well, you and I just disagree as to the

16:24:44   20   meaning of that sentence.

16:24:45   21             MR. WOMACK:     Oh, absolutely.    Yes, sir.    And they have,

16:24:48   22   your Honor, and the last sentence they also say, and it's

16:24:54   23   required that the defendant specifically intend to avoid that

16:24:58   24   requirement.   Thank you, sir.

16:25:03   25             THE COURT:    Yes, sir.


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16:25:05    1                MS. WILLIAMS:   Your Honor, do I get to join in

16:25:08    2   everybody's objection that came after me, since I had to go

16:25:11    3   first?

16:25:11    4                THE COURT:   Do you get to?

16:25:13    5                MS. WILLIAMS:   I would like to.

16:25:15    6                THE COURT:   Do it.

16:25:16    7                MS. WILLIAMS:   I would like to join all the objections

16:25:18    8   that came after me.

16:25:19    9                THE COURT:   All right.

16:25:20   10                MS. WILLIAMS:   Thank you, your Honor.

16:25:20   11                THE COURT:   Yes, ma'am.   And your joinder is overruled.

16:25:27   12                All right.   I have it down that y'all have requested

16:25:31   13   now an hour and a half for the government.       In my court, the

16:25:36   14   government has to make a full opening, approximately half.

16:25:42   15   Doesn't have to be exactly but -- and then, 45 each.            I'll advise

16:25:48   16   the jury that each of you have 45 minutes and that if you don't

16:25:56   17   use it, they ought to thank you.

16:26:01   18                MR. ESPER:   Does the Court give warnings before the 45,

16:26:05   19   like five-minute warnings in case it goes to 40?

16:26:08   20                THE COURT:   The Court assumes that everybody is

16:26:10   21   competent.

16:26:10   22                MR. ESPER:   Thank you.

16:26:13   23                THE COURT:   Simon also says I think it's a mistake to

16:26:29   24   argue more than 30 minutes, but that's your decision.           Or should

16:26:37   25   I say, you should make your best argument in 30 minutes.


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16:26:42    1              All right.   Anything else, counsel?      All right.   We

16:26:46    2   will see you -- let's come in at 8:15 on Wednesday, just in case

16:26:55    3   there's something else before we bring in the jury.

16:27:00    4              One other thing is before 8:15 Wednesday, I want

16:27:05    5   everybody to check with Mrs. Sims on the evidence, make sure all

16:27:11    6   of the evidence comports with what you think is in the evidence

16:27:17    7   and have a list available as to what evidence you're going to

16:27:21    8   want to take out to use so that Ms. Sims can accommodate you so

16:27:26    9   you don't flounder around and use the 15 minutes that you don't

16:27:31   10   need on your arguments looking for an exhibit.

16:27:33   11              MR. GARDNER:    Your Honor, one housekeeping matter.        The

16:27:37   12   government had submitted 405A, which is the search warrant index

16:27:43   13   that we've provided to defense counsel some time ago for their

16:27:46   14   comments, and we still would like to have that introduced and I

16:27:50   15   don't know --

16:27:50   16              THE COURT:   That's right.    Y'all wanted to review that.

16:27:52   17   Is there any objection to that?

16:27:55   18              MR. DEGEURIN:    Your Honor, it's my fault.      I have it.

16:27:58   19   I've reviewed it and I don't have an objection to it.

16:28:02   20              THE COURT:   All right.

16:28:03   21              MR. DEGEURIN:    Let me find it and I'll give it back to

16:28:04   22   you.

16:28:04   23              MR. GARDNER:    Okay.

16:28:06   24              THE COURT:   So make sure Ms. Sims gets it.

16:28:09   25              MR. GARDNER:    Yes, sir.


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16:28:10    1              MS. FERNALD:   I've got an extra copy.

16:28:13    2              THE COURT:   All right.    Counsel, I will see you

16:28:16    3   Wednesday morning at 8:15.     We're in recess until 9:00 in the

16:28:23    4   morning.

16:28:23    5              (Proceedings adjourned.)

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